     Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 1 of 21




                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )           CRIMINAL ACTION NO.
                          )
         Plaintiff,       )           1:21-CR-00119-CJN
                          )
v.                        )
                          )
GARRET MILLER,            )
                          )
                          )
         Defendant.       )
                          )

MOTION FOR DISCOVERY AND FOR AN EVIDENTIARY HEARING IN
SUPPORT OF DEFENDANT’S CLAIM OF SELECTIVE PROSECUTION
   AS IT RELATES TO COUNTS ONE, TWO AND FOUR OF THE
               SUPERSEDING INDICTMENT
           Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 2 of 21




                                          TABLE OF CONTENTS

                                                                                                                    Page

TABLE OF CONTENTS................................................................................................2

TABLE OF AUTHORITIES...........................................................................................3

I. BACKGROUND.........................................................................................................4

         A. Garret Miller....................................................................................................4

         B. Portland Riots..................................................................................................6

                  1. Portland Riot Cases Dismissed to Date.................................................8

                  2. Portland Riot Cases Headed for Dismissal.........................................13

                  3. Portland Riot Cases with Extremely Favorable Plea Agreements......15

II. DISCUSSION..........................................................................................................16

III. RELIEF REQUESTED...........................................................................................19

CERTIFICATE OF SERVICE......................................................................................21




                                                             2
            Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 3 of 21




                                         TABLE OF AUTHORITIES

                                                                                                                          Page

Attorney General v. Irish People, Inc., 684 F.2d 928 (D.C. Cir. 1982).......................18

Branch Ministries, Inc. v. Richardson, 970 F.Supp. 11 (D.D.C. 1997)................17, 18

United States v. Armstrong, 517 U.S. 456 (1996).................................................16, 19

United States v. Banks, 368 F.Supp. 1245 (D.S.D. 1973)............................................17

United States v. Crowthers, 456 F.2d 1074 (7th Cir. 1972)............................................4

United States v. Cyprian, 23 F.3d 1189, (3rd Cir.), cert. denied, 513 U.S. 879
(1994)............................................................................................................................17

United States v. Hastings, 126 F.3d 310 (4th Cir. 1997), cert. denied, 523 U.S. 1060
(1997)............................................................................................................................17


                                                           Statutes

18 U.S.C. § 111....................................................................................................5, 8, 18

18 U.S.C. § 231(a)(3)...........................................................................................5, 8, 18




                                                                 3
           Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 4 of 21




       The government “may not pick and choose for the purpose of selecting

expressions of viewpoint pleasing to it and suppressing those that are not favored.”

United States v. Crowthers, 456 F.2d 1074, 1078 (7th Cir. 1972).

                                    I. BACKGROUND

       A. Garret Miller

       Defendant Garrett Miller is charged in the Superseding Indictment with several

offenses, often in multiplicious counts, related to his entry into the United States

Capitol Building on January 6, 2021. It appears from the discovery provided by the

government that Mr. Miller entered the Capitol Building after the electoral

proceedings had been stopped. While in the Capitol Building, Mr. Miller remained

in the Rotunda. He did not damage any property, nor did he take any property. Mr.

Miller was not armed with weapons when he entered the Capitol. The government

has described, Mr. Miller’s assaultive conduct while in the Capitol Rotunda as

follows:

       Miller went to the police line, at the front of the crowd, and refused to
       move. When officers attempted to push him back Miller fell to the
       ground1 but quickly got up and again refused to move. He yelled,
       “Hooah! Hooah!” at the officers. He then got into a fighting stance with
       one of his legs in front of the other and yelled, “OOOH! OW! OW!


       1
         Video reveals that Mr. Miller was actually pushed to the ground with the assistance of a
night stick to his mid-section.

                                                4
           Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 5 of 21




      OW!” Officers eventually pushed him back.

Doc. 16 .2 Mr. Miller left the Capitol Building after learning that President Trump

told his supporters to go home.

      Mr. Miller is charged in Counts One and Two,3 with committing civil disorder,

in violation of 18 U.S.C. § 231(a)(3), in relation to his entry into the Rotunda. He is

charged in Count Four with assault on a federal officer, in violation of 18 U.S.C. §

111, presumably related to his alleged refusal to move and yelling “Hooah! Hooah!”

and “OOOH! OW! OW! OW!” while in a “fighting stance” in the Rotunda after being

pushed to the ground with an officer’s night stick.

      Mr. Miller has become familiar with how the Department of Justice has

handled the bulk of the 18 U.S.C. § 231(a)(3) and 18 U.S.C. § 111 charges arising out

of the Portland riots, which took place during the summer of 2020. Unlike simply

getting into an alleged “fighting stance” while yelling “Hooah! Hooah!” and “OOOH!

OW! OW! OW!” at officers, many of those Portland assault cases involved punching

officers, attempting to break bones of officers, putting officers in choke holds or head

locks, and alike. Moreover, often the assaults by rioters in Portland were committed

in order to prevent officers from arresting other rioters.

      2
        Government’s Opposition to Defendant’s Motion to Revoke Magistrate Judge’s
Detention Order.
      3
          Counts he submits are multiplicious

                                                5
        Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 6 of 21




      Based upon the handling of the Portland cases by the new Department of

Justice and the recent completely one-sided and draconian plea agreement offer

recently made to Mr. Miller, Mr. Miller submits he has a “colorable claim” of

selective prosecution. To be absolutely clear, Mr. Miller is not attempting to excuse

his actions on January 6, 2021. Indeed, Mr. Miller has previously stated that many

of his actions were completely wrong. Nevertheless, Mr. Miller should not be treated

differently based upon the political views he espoused viz-a-viz the political views

espoused by the Portland rioters.

      B. Portland Riots

      In May and June of 2020, the City of Portland was the scene of several riots.

Much of the rioting took place on a city block in Portland occupied by the Hatfield

federal courthouse. See Attachment 1. The federal government owns that entire

Portland City block. Id. According to the government:

      ...Portland protests have often been followed by nightly criminal activity
      in the form of vandalism, destruction of property, looting, arson and
      assault. As a result, the Hatfield Courthouse and ICE facility have
      experienced significant damage to the facade and building fixtures
      during the last year. Additionally, mounted building security cameras
      and access control devices have been vandalized or stolen. Other
      federal properties in Portland which have experienced heavy vandalism
      over the last 10 months include the historic Pioneer Federal Courthouse,
      the Gus Solomon Courthouse, the Edith Green Wendall Wyatt Federal
      Office Building and the Citizenship and Immigration Services Building.
      Federal officials estimate $2.3 million in damage has been inflicted on

                                          6
           Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 7 of 21




       federal buildings in Oregon during the year’s protests, including $1.6
       million in damage to the Hatfield US Courthouse. FPS law enforcement
       officials, Deputy U.S. Marshals, Boarder and Customs Enforcement
       Agents, and other federal law enforcement officers working to protect
       the Hatfield Courthouse have been subjected to threats, aerial fireworks
       (including mortars), high intensity lasers targeting officers’ eyes,4
       thrown rocks, bottles, and balloons filled with paint from demonstrators
       while preforming their duties.

Id.

       Undersigned Counsel has undertaken an extensive review of pleadings filed on

PACER, press releases issued by the United States Attorney’s Office for the District

of Oregon, and various news accounts as they relate to the Portland riots. From that

review, it appears that approximately 74 persons were charged with criminal offenses

arising out of the riots.5 Of those 74 persons, to date, approximately 30 persons have

had their cases dismissed (often with prejudice) upon motion of the government, 12

persons appear to have been offered dismissals upon completing a pre-trial diversion

program, and at least 3 persons have been allowed by the government to plead guilty

to significantly reduced charges.6


       4
        According to the government, such lasers “can temporarily blind an officer and may
cause significant and lasting eye damage to an officer.” See Attachment 2.
       5
        This analysis does not include 18 persons who were charged with simply failure to obey
an order.
       6
         The analysis by Undersigned Counsel appears consistent with one done by the news
media. “Almost Half of Federal Cases Against Portland Rioters Have Been Dismissed,” Wall
Street Journal (April 16, 2021)

                                               7
         Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 8 of 21




       Most of the Portland rioters were charged with a violation of 18 U.S.C. §

231(a)(3) (civil disorder) and/or a violation of 18 U.S.C. § 111 (assault on a federal

officer). These are the same charges brought against Mr. Miller in Counts One, Two

and Four of the Superseding Indictment based upon his participation in the

Washington, D.C. riots.

       Significantly, a large majority of the prosecutions arising out of the Portland

riots appear to have been initiated under former District of Oregon United States

Attorney Bill Jay Williams, who was appointed to that office by former President

Donald Trump. Meanwhile, most if not all of the dismissals, offers of pretrial

diversion, and pleas to significantly reduced charges in these cases came after

President Biden requested the resignation of various United States Attorneys,

including Williams.

              1. Portland Riot Cases Dismissed to Date

              United States v. Travis Williams, NO. 20-CR-296 (D. Or.)
              (Attachment 3)- After taunting law enforcement officials,
              the Defendant lunged toward the face and neck of a Deputy
              United States Marshal. When officers attempted to arrest
              the Defendant, he ripped the communication devices off
              two Marshals’ vests and partially ripped the ballistic vest
              off of one of the Marshals. Tasering the Defendant had no
              affect and he continued fighting the Marshals. He then


(https://www.wsj.com/articles/almost-half-of-federal-cases-against-portland-rioters-have-been-di
smissed-11618501979)

                                               8
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 9 of 21




    tried to break a Marshal’s arm. Following his arrest, the
    Defendant told a jailer, “I almost ripped your buddy’s arm
    off, I am a state wrestler.”

    United States v. Taylor Charles Lemons, NO. 20-CR-374
    (D. Or.) (Attachment 4)- Charged a Deputy United States
    Marshal and struck him with a shield while the Marshal
    was performing his official duties. When arrested,
    Defendant was found with a loaded pistol.

    United States v. Thomas Johnson, NO. 20-MJ-00170 (D.
    Or.) (Attachment 5)- Assaulted a Deputy United States
    Marshal in the face with a shield. Defendant was arrested
    in possession of an asp, OC spray, plated body armor,
    helmet, gas mask, and goggles.

    United States v. Nicholas Joseph Bantista, NO. 20-CR-431
    (D. Or.) (Attachment 6)- Defendant had a previous
    conviction for aggravated assault of a police officer in
    Illinois. During the Portland riots, he struck a federal law
    enforcement official in the head with a rock. Upon arrest,
    he was found in possession of a pellet gun and a nail gun
    power load cartridges.

    United States v. Caleb Willis, NO. 20-CR-296 (D. Or.)
    (Attachment 7)- Along with two other individuals, he
    began punching a Deputy United States Marshal and tried
    to steal the Marshal’s gas mask while the Marshal was
    performing his official duties.

    United States v. Joshua Webb, NO. 20-MJ-00169 (D. Or.)
    (Attachment 8)- Struck a Deputy United States Marshal in
    the face with a shield and then punched him in the face
    while the Marshal was performing his official duties.
    When arrested, the Defendant was found in possession of
    a tactical vest.



                                 9
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 10 of 21




     United States v. David Michael Bouchard, NO. 20-MJ-
     00165 (D. Or.) (Attachment 9)- Assaulted a federal law
     enforcement officer using a headlock maneuver while the
     officer was performing his official duties. When arrested,
     Defendant was found in possession of a shield and leaf
     blower.

     United States v. Rebecca Mota Gonzalez, NO. 20-MK-
     00168 (D. Or.) (Attachment 10 )- Punched a Deputy United
     States Marshal in the face while the Marshal was
     performing his official duties. When arrested, Defendant
     was found in possession of a gas mask and goggles.

     United States v. Evan Louis Kriechbaum, NO. 20-MJ-
     00178 (D. Or.) (Attachment 11 )- Elbowed a uniformed
     law enforcement officer in the face while the officer was
     performing his official duties.

     United States v. Giovanni Terrance Bondurant, NO. 20-
     CR-302 (D. Or.) (Attachment 12)- Forcibly assaulted a law
     enforcement officer from behind when the office was in the
     process of arresting another rioter. When arrested,
     Defendant was found in possession of a shield and gas
     mask.

     United States v. Patrick Stafford, NO. 20-CR-295 (D. Or.)
     (Attachment 13)- Slammed a Deputy United States Marshal
     with a shield allowing another rioter who the Marshal was
     attempting to arrest to escape.

     United States v. Taimane Jame Teo, NO. 20-CR-205 (D.
     Or.) (Attachment 14)- Shined laser into the eyes of a
     federal law enforcement officer while the officer was
     performing his official duties. The officer could still see
     spots 15 minutes after the assault.




                                 10
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 11 of 21




     United States v. Gretchen Margaret Blank, NO. 20-CR-224
     (D. Or.) (Attachment 15)- Assaulted a federal law
     enforcement officer using a shield while the officer was in
     the process of making an arrest.

     United States v. Christopher Fellini, NO. 20-CR-212 (D.
     Or.) (Attachment 16)- Assaulted a federal law enforcement
     officer with a laser while the officer was performing his
     official duties, resisted arrest, and was found with pepper
     gel and a knife upon his arrest.

     United States v. Stephen Edward Odonnell, NO. 20-MJ-
     00166 (D. Or.) (Attachment 17)- Threw a hard object that
     struck a federal law enforcement officer in the face while
     the officer was performing his official duties.

     United States v. Nathan Onderdonk-Snow, NO. 20-CR-293
     (D. Or.) (Attachment 18)- Shoved a Deputy United States
     Marshal from behind with a shield while the Marshal was
     performing his official duties and resisted arrest.

     United States v. Brodie Storey, NO. 20-CR-330 (D. Or.)
     (Attachment 19)- Lunged at and tackled a Deputy United
     States Marshal while the Marshal was performing his
     official duties.

     United States v. Jeffrie Cary, NO. 20-CR-329 (D. Or.)
     (Attachment 20)- Attacked a Deputy United States Marshal
     with a shield while the Marshal was performing his official
     duties.

     United States v. Jordan Matthew Johnson, NO. 20-MJ-
     00179 (D. Or.) (Attachment 21)- Attempted to grab a
     smoke grenade and struck a Deputy United States Marshal
     in the head while resisting arrest.




                                 11
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 12 of 21




     United States v. Jesse Herman Bates, NO. 20-CR-245 (D.
     Or.) (Attachment 22)- Shot medic in the chest with a metal
     ball bearing. Defendant was arrested with a crowbar.

     United States v. Michelle Peterson O’Connor, NO. 20-CR-
     00023 (D. Or.) (Attachment 23)- Struck a law enforcement
     officer in the head with a helmet and “rung his bell.”

     United States v. William Grant Reuland, NO. 20-CR-460
     (D. Or.) (Attachment 24)- Engaged in civil disorder by
     shining lasers at various law enforcement officials.

     United States v. Travis Hessel, NO. 20-CR-450 (D. Or.)-
     Arrested and later indicted for civil disorder by interfering
     with law enforcement officials engaged in their official
     duties. The details are unknown because the complaint
     was never unsealed.

     United States v. Richard Singlestad, NO. 20-MJ-00028 (D.
     Or.)- Arrested for civil disorder by interfering with law
     enforcement officials engaged in their official duties. The
     details are unknown because the complaint was never
     unsealed.

     United States v. Benjamin Wood-Pavich, NO. 20-CR-209
     (D. Or.)- Charged with assault of a federal official while
     the official was performing his official duties. The details
     are unknown because a complaint was not filed.

     United States v. Jerusalem Callahan, NO. 20-CR-247 (D.
     Or.)- Charged with destruction of federal property. The
     details are unknown because a complaint was not filed.

     United States v. Zachary Roy Duffly, NO. 20-CR-241 (D.
     Or.)- Charged with impeding and obstructing governmental
     employees in performance of their official duties. The
     details are unknown because a complaint was not filed.

                                  12
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 13 of 21




     United States v. Jennifer Lynne Kristiansen, NO. 20-CR-45
     (D. Or.)- Charged with assault of a federal official while
     the official was performing his official duties and failure to
     obey lawful orders. The details are unknown because a
     complaint was not filed.

     United States v. Douglas Robert Dean, NO. 20-CR-279 (D.
     Or.)- Charged with assault of a federal official while the
     official was performing his official duties. The details are
     unknown because a complaint was not filed.

     United States v. Pablo Avvacato, NO. 20-CR-278 (D. Or.)-
     Charged with assault of a federal official while the official
     was performing his official duties. The details are unknown
     because a complaint was not filed.

     2. Portland Riot Cases Headed for Dismissal

     United States v. Pedro Aldo Ramos, Jr., NO. 20-CR-290
     (D. Or.) (Attachment 25)- Punched a law enforcement
     officer in the face. Defendant was charged with civil
     disorder.

     United States v. Kristopher Michael Donnelly, NO. 20-CR-
     436 (D. Or.) (Attachment 26)- Destroyed a police station
     window with a hammer and forcefully elbowed an officer
     in the face who attempted to arrest him. Defendant also
     was throwing frozen eggs and other hard objects at
     officers. Defendant was charged with civil disorder.

     United States v. Lillith Etienne Grin, NO. 20-CR-290 (D.
     Or.) (Attachment 27)- Assaulted a Deputy United States
     Marshall with a laser, thereby affecting his vision “for 30
     minutes after the incident” that resulted in “blurry vision
     and ‘sunspots’” for the officer. Defendant also resisted
     arrest.



                                  13
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 14 of 21




     United States v. Joshua Warner, NO. 20-CR-442 (D. Or.)
     (Attachment 2)- Assaulted law enforcement officials by
     pointing a laser at their eyes and resisted arrest. Defendant
     was indicted for civil disorder.

     United States v. Charles Randolph Comfort, NO. 20-CR-
     290 (D. Or.) (Attachment 28)- Assaulted a law enforcement
     officer by repeatedly charging at him with a shield.
     Defendant was indicted for civil disorder.

     United States v. Alexandra Eutin, NO. 20-CR-459 (D. Or.)
     (Attachment 29)- Struck a law enforcement officer in the
     head with a wood sign/shield while officer was attempting
     to arrest another rioter. Defendant was indicted for civil
     disorder.

     United States v. Skyler Ward Rider, NO. 20-CR-496 (D.
     Or.)- Defendant was indicted for civil disorder in violation
     of 18 U.S.C. § 231(a)(3) and felony assault on a federal
     officer in violation of 18 U.S.C. § 111. The details are
     unknown because a complaint was not filed.

     United States v. Sebastián Dunbar, NO. 20-CR-289 (D.
     Or.)- Defendant was indicted for assault on a federal
     officer in violation of 18 U.S.C. § 111. The details are
     unknown because a complaint was not filed.

     United States v. Meganne Elizabeth Englich-Mills, NO. 20-
     CR-458 (D. Or.)- Defendant was indicted for civil disorder
     in violation of 18 U.S.C. § 231(a)(3). The details are
     unknown because a complaint was not filed.

     United States v. Phillip John Wenzel , NO. 20-CR-464 (D.
     Or.)- Defendant was indicted for civil disorder in violation
     of 18 U.S.C. § 231(a)(3). The details are unknown because
     a complaint was not filed.



                                  14
           Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 15 of 21




                United States v. Ty John Fox, NO. 20-CR-501 (D. Or.)-
                Defendant was indicted for civil disorder in violation of 18
                U.S.C. § 231(a)(3). The details are unknown because a
                complaint was not filed.

                United States v. Alexa Daron Graham, NO. 20-CR-449 (D.
                Or.)- Defendant was indicted for pointing a laser at an
                aircraft in violation of 18 U.S.C. § 39a.

                3. Portland Riot Cases with Extremely Favorable Plea Agreements

                United States v. Jeffrey Richard Singer, NO. 20-CR-218
                (D. Or.) (Attachment 30)- Defendant had a “reoccurring
                role” in the Portland riots and charged at an officer who
                was trying to arrest him and injured the officer’s thumb.
                Defendant also broke several windows at a private business
                and stole a United States flag. Although the defendant was
                charged with civil disorder and theft of government
                property, the civil disorder charge was dismissed, and
                Defendant was allowed to plead to simply stealing the flag.
                Because the government “appreciated” the Defendant not
                engaging in further rioting after his arrest, it recommended
                a sentence of “time served” and one year supervised
                release.

                United States v. Anthony Amoss, NO. 21-MJ-00113 (D.
                Or.) (Attachment 1)- Defendant broke a window of the
                federal courthouse with a rock. The cost to replace
                windows was over $1,000 a piece. Defendant was allowed
                to plead to a citation only.7


       7
        In the complaint against Amoss, the government noted: “Protest events in Portland are
primarily attended by people in ‘black bloc,” a term used to describe the all black, nondescript
clothing. ANTIFA and other groups have stated that the intent of wearing ‘black block’ is to
protect members of the group willing to take ‘direct action’ by making it difficult for law
enforcement to identify individuals and further anonymizing them (‘direct action’ is most often a
criminal act of vandalizing property or assaulting people).”

                                               15
       Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 16 of 21




              United States v. Carly Anne Ballard, NO. 20-MJ-000083
              (D. Or.) (Attachment 31)- Resisted arrest by kicking a
              United States Marshal. Defendant was allowed to plead to
              a citation only.

                                  II. DISCUSSION

      While the government has “broad discretion” in “enforc[ing] the Nation’s

criminal laws,” that discretion is, nevertheless, “subject to constitutional constraints.”

United States v. Armstrong, 517 U.S. 456, 465 (1996) (citations omitted). “One of

these constraints, imposed by the equal protection component of the Due Process

Clause of the Fifth Amendment” is that the government cannot pursue criminal

charges against a citizen that amounts to a “‘practical denial’ of equal protection of

law.” Id. (citations omitted). Such a pursuit would give rise to a claim of “selective

prosecution.” Id.

      While “selective prosecution” claims generally involve claims of disparate

treatment based upon race or religion, it is clear that a claim of selective prosecution

can be based upon the disparate treatment of those espousing different political

viewpoints.

      It is clear that discriminatory enforcement of the law, by either state or
      federal officials, constitutes a denial of equal protection. Yick Wo v.
      Hopkins, 118 U.S. 356, 6 S.Ct. 1064, 30 L.Ed. 220 (1886); Washington
      v. United States, 130 U.S.App.D.C. 374, 401 F.2d 915 (1968). The
      primary way in which discriminatory law enforcement can be exhibited
      is by the use of the prosecutorial prerogative itself to discriminate

                                           16
           Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 17 of 21




       against those whose constitutionally protected views or activities are not
       popular with the government (selective prosecution).

United States v. Banks, 368 F.Supp. 1245, 1251 (D.S.D. 1973).8 Moreover, while the

government will argue that Mr. Miller was not engaged in constitutionally protected

activities when he entered the Capitol on January 6, 2021, neither were the Portland

rioters engaged in constitutionally protected activities when they attacked federal

officers in Portland and assaulted various federal buildings. Thus, it appears at first

blush that Mr. Miller has been treated differently by the government than the Portland

rioters based upon the politics involved. Indeed, the fact that most, if not, all of the

Portland dismissals, offers of pretrial diversion, and pleas to significantly reduced

charges came after a change in the Department of Justice is strong evidence of Mr.

Miller’s claim of potential selective prosecution.

       Mr. Miller acknowledges that a person asserting a “selective prosecution”

claim has a “heavy burden.” Branch Ministries, 970 F.Supp. at 15. He likewise

acknowledges that, to show selective prosecution, he must show that (1) he was

treated differently from others similarly situated with regard to his criminal

       8
         See also, United States v. Hastings, 126 F.3d 310, 311 (4th Cir. 1997), cert. denied, 523
U.S. 1060 (1997) (“A prosecution also cannot be motivated by a suspect's exercise of
constitutional rights through participation in political activity.”); United States v. Cyprian, 23
F.3d 1189, 1195 n. 10 (3rd Cir.), cert. denied, 513 U.S. 879 (1994) (““Selective prosecution is
grounds for acquittal only if the basis of selection is a forbidden ground, such as race, religion or
political opinion.”); Branch Ministries, Inc. v. Richardson, 970 F.Supp. 11 (D. D.C. 1997)
(similar).

                                                 17
       Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 18 of 21




prosecution and (2) charges were improperly motivated based on his political beliefs.

See Attorney General v. Irish People, Inc., 684 F.2d 928, 947 (D.C. Cir. 1982).

Finally, he acknowledges that, to obtain discovery or an evidentiary hearing, he “must

offer at least a colorable claim’” as to these two prongs. Branch Ministries, 970

F.Supp. at 16.

      Still, Mr. Miller “is not required to produce direct evidence of intent; indeed,

direct evidence of motive or intent is rarely available. As in any equal protection case,

evidence concerning the unequal application of the law, statistical disparities and

other indirect evidence of intent may be used to show bias or discriminatory motive.”

Branch Ministries, 970 F.Supp. at 17.

      Here, Mr. Miller submits that he has made “a colorable claim” that, at least

with regard to Counts One, Two, and Four, he is the subject of selective prosecution

when compared with those arrested for violations of 18 U.S.C. § 231(a)(3) and 18

U.S.C. § 111 in relation to the Portland riots. First, as noted above, a large majority

of the Portland rioters charged with identical offenses arising out of a “political riot”

had their cases dismissed, were offered pretrial diversion, or plead to significantly

reduced charges. And, unlike Mr. Miller, many of the Portland rioters engaged in

serious assaultive conduct such as punching officers, attempting to break bones of

officers, putting officers in choke holds or head locks, and alike. Second, as noted

                                           18
       Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 19 of 21




above, it can easily be established that most, if not all, of the Portland dismissals,

offers of pretrial diversion, and pleas to significantly reduced charges came after a

change from the Republican administration to the Democratic administration running

the Department of Justice.

                             III. RELIEF REQUESTED

      Based upon the above showing of a “colorable claim” of selective prosecution,

Mr. Miller respectfully requests this Court order discovery in which the “Government

must assemble from its own files documents which might corroborate or refute his

selective prosecution] claim.” See Armstrong, 517 U.S. at 468. In addition, Mr.

Miller respectfully requests this Court hold an evidentiary hearing to which Mr.

Miller can subpoena those officials overseeing the prosecutions of the Portland

arrestees and those overseeing the officials in charge of Mr. Miller’s case in order to

“corroborate or refute” his selective prosecution claim.




                                          19
Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 20 of 21




                                   Respectfully submitted,



                                   /s/ F. Clinton Broden
                                   F. Clinton Broden
                                   TX Bar No. 24001495
                                   Broden & Mickelsen
                                   2600 State Street
                                   Dallas, Texas 75204
                                   214-720-9552
                                   214-720-9594 (facsimile)
                                   clint@texascrimlaw.com

                                   Attorney for Defendant
                                   Garret Miller




                              20
       Case 1:21-cr-00119-CJN Document 32 Filed 06/24/21 Page 21 of 21




                         CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that, on June 24, 2021 I caused a copy of the above

document to be served by electronic means on:

      Elizabeth C. Kelley
      United States Attorney's Office
      555 4th Street, N.W.
      Washington, DC 20350


                                                     /s/ F. Clinton Broden
                                                     F. Clinton Broden




                                          21
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 1 of 248




            ATTACHMENT 1
                  CaseCase
                       1:21-cr-00119-CJN
                           3:21-mj-00113 Document
                                         Document 32-1
                                                  1 Filed
                                                       Filed
                                                           05/28/21
                                                             06/24/21 Page
                                                                       Page12
                                                                            ofof
                                                                               1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Oregon
                                                              District of __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 3:21-mj-00113
                                                                    )
                   ANTHONY A. AMOSS                                 )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              (As provided in Attachment 1)      in the county of             Multnomah        in the
                       District of             Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S. Code § 1361                              Destruction of Government Property, as more fuly set forth in Attachment 1




         This criminal complaint is based on these facts:
See attached affidavit of Special Agent Micah D. Coring, US Department of Homeland Security,
Federal Protective Service




         ✔ Continued on the attached sheet.
         u


                                                                                               Complainant’s signature

                                                                                      MICAH D. CORING, Special Agent
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
              12:56     xxxx

Date:             05/28/2021
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                        Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                                Printed name and title
       Case
         Case
            1:21-cr-00119-CJN
               3:21-mj-00113 Document
                              Document1-2
                                       32-1Filed
                                             Filed
                                                 05/28/21
                                                   06/24/21 Page
                                                             Page1 3ofof12248

     3:21-mj-00113


STATE OF OREGON                       )
                                      ) ss:                  AFFIDAVIT OF MICAH CORING
County of Multnomah                   )

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Micah Coring, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Senior Special Agent with the Federal Protective Service (FPS) and have

been since 2009. My current assignment is the Federal Protective Service Field Office in

Portland, Oregon, where I am assigned to investigate general crimes. I am also a liaison for the

Federal Bureau of Investigation’s Joint Terrorism Task Force (JTTF) and the FPS agency

representative for the Titan Fusion Center. I graduated from the Federal Law Enforcement

Training Center’s Criminal Investigator Training Program in August 2009. I have experience

investigating crimes against federal employees and federal property, including threats and

assaults on federal government employees, and damage to federal buildings and property.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Anthony AMOSS. As set forth below, I have probable cause to believe that on three occasions

AMOSS committed or attempted to commit Destruction of Government Property of a federal

building, specifically the Mark O. Hatfield United States Courthouse and the Portland Field

Office of the Immigration and Custom Enforcement (ICE), in violation of 18 U.S. Code § 1361.

       3.      The facts set forth in this affidavit are based on my own personal knowledge,

knowledge obtained from other individuals during my participation in this investigation,

including other law enforcement officers, interviews of witnesses, my review of records related

to this investigation, communication with others who have knowledge of the events and


 Page 1 – Affidavit of Micah Coring
       Case
         Case
            1:21-cr-00119-CJN
               3:21-mj-00113 Document
                              Document1-2
                                       32-1Filed
                                             Filed
                                                 05/28/21
                                                   06/24/21 Page
                                                             Page2 4ofof12248




circumstances described herein, and information gained through my training and experience.

Because this affidavit is submitted for the limited purpose of establishing probable cause in

support of the application for an arrest warrant, it does not set forth each fact that I or others have

learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. ௗ1361 makes it an offense to willfully injure or commit any

depredation against any property of the United States, or of any department or agency thereof, or

any property which has been or is being manufactured or constructed for the United States, or

any department or agency thereof, or attempts to commit any of the foregoing offenses.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered regularly in Portland

public areas including Elizabeth Caruthers Park, Lownsdale Square, Chapman Square, and Terry

Schrunk Plaza among others. The Multnomah County Justice Center, which contains Portland

Police Bureau’s (PPB) Central Precinct and the Multnomah County Detention Center (MCDC),

the Mark O. Hatfield United States Courthouse (Hatfield Courthouse), and the Edith Green-

Wendell Wyatt Federal Building are across the street from three of these public areas.

       6       The federal government owns the entire city block (Block #24) occupied by the

Hatfield Courthouse. Easements have been granted for the sidewalks surrounding the Hatfield

Courthouse, but the property boundary extends past the sidewalks and into the streets

surrounding the courthouse, as shown below:




 Page 2 – Affidavit of Micah Coring
      Case
        Case
           1:21-cr-00119-CJN
              3:21-mj-00113 Document
                             Document1-2
                                      32-1Filed
                                            Filed
                                                05/28/21
                                                  06/24/21 Page
                                                            Page3 5ofof12248




      7.     The federal government leases the entire facility occupied by ICE, located at

ICE facility located at 4310 S Macadam Ave in Portland, OR., as depicted below.




Page 3 – Affidavit of Micah Coring
        Case
          Case
             1:21-cr-00119-CJN
                3:21-mj-00113 Document
                               Document1-2
                                        32-1Filed
                                              Filed
                                                  05/28/21
                                                    06/24/21 Page
                                                              Page4 6ofof12248




        8.      When they have occurred, Portland protests have often been followed by nightly

criminal activity in the form of vandalism, destruction of property, looting, arson, and assault.

As a result, the Hatfield Courthouse and the ICE facility have experienced significant damage to

the façade and building fixtures during the last year. Additionally, mounted building security

cameras and access control devices have been vandalized or stolen. Other federal properties in

Portland which have experienced heavy vandalism over the last 10 months include the historic

Pioneer Federal Courthouse, the Gus Solomon Courthouse, the Edith Green Wendall Wyatt

Federal Office Building, and the Citizenship and Immigration Service Building. Federal officials

estimate $2.3 million in damage has been inflicted on federal buildings in Oregon during the

year’s protests, including $1.6 million in damage to the Hatfield US Courthouse. FPS law

enforcement officers, Deputy U.S. Marshals, Boarder and Customs Enforcement Agents, and

other federal law enforcement officers working to protect the Hatfield Courthouse have been

subjected to threats, aerial fireworks (including mortars), high intensity lasers targeting officers’

eyes, thrown rocks, bottles, and balloons filled with paint from demonstrators while preforming

their duties.

        Hatfield Courthouse Damage – March 13-14, 2021

        9.      Beginning March 10, 2021, the General Services Administration and the FPS

began the process of removing the fence surrounding the Hatfield Courthouse. These barriers

had been erected during the summer of 2020 to protect the facility from nightly vandalism. By

the afternoon of March 13, 2021 all fencing, concrete barriers and plywood had been removed

from the facility. Later that evening, a number of windows were broken on the west side of the

courthouse.


 Page 4 – Affidavit of Micah Coring
        Case
          Case
             1:21-cr-00119-CJN
                3:21-mj-00113 Document
                               Document1-2
                                        32-1Filed
                                              Filed
                                                  05/28/21
                                                    06/24/21 Page
                                                              Page5 7ofof12248




       10.     A Multnomah County Sheriff’s Deputy operates exterior Closed-Circuit Video

(CCV) cameras at the Multnomah County Justice Center which borders the Hatfield Courthouse

to the south. The cameras cover the area between the two buildings, some of the main entry to

the courthouse and views to the front of both buildings. The deputy provided footage recorded

the night of March 13, 2021, and the early morning of March 14, 2021. I reviewed the footage

and saw an individual later identified as AMOSS throw 9 objects in the direction of the Hatfield

Courthouse windows. Below are photos of the security video taken on March 13 – 14, 2021

showing AMOSS.




       11.     On April 22, 2021, I received damage costs from a General Services

administration (GSA) Project Manager. The documents included photos of windows broken from

March 11-March 14, 2021 at the Hatfield Courthouse and an itemized bill for window

replacement and labor. The GSA Project Manager noted that the windows at this location require

a special film for impact, graffiti, and tint, causing the price to be higher than glass. The bill for

window replacement totaled $143,513.50. Photos of some of the damaged windows are below.

 Page 5 – Affidavit of Micah Coring
      Case
        Case
           1:21-cr-00119-CJN
              3:21-mj-00113 Document
                             Document1-2
                                      32-1Filed
                                            Filed
                                                05/28/21
                                                  06/24/21 Page
                                                            Page6 8ofof12248




///

///

///




 Page 6 – Affidavit of Micah Coring
       Case
         Case
            1:21-cr-00119-CJN
               3:21-mj-00113 Document
                              Document1-2
                                       32-1Filed
                                             Filed
                                                 05/28/21
                                                   06/24/21 Page
                                                             Page7 9ofof12248




       ICE Facility Damage – March 20, 2021

       12.     I reviewed video retrieved from the CCV system located at the ICE facility for

March 20, 2021 between April 14-20, 2021. In the videos, I observed AMOSS throw 4 objects at

the facility on March 20, 2021. Based on my observations, and using still images from the

security video, I created a flier for law enforcement circulation asking for assistance in

identifying AMOSS. Several photographs used in that flier appear below.

///

///

///

///

 Page 7 – Affidavit of Micah Coring
      Case
        Case
           1:21-cr-00119-CJN
              3:21-mj-00113 Document
                             Document1-2
                                      32-1 Filed
                                            Filed05/28/21
                                                  06/24/21 Page
                                                            Page810
                                                                  of of
                                                                     12248




      13.    Photos of collected rocks and damaged windows found at the scene on March 20,

2021 appear below:




 Page 8 – Affidavit of Micah Coring
      Case
        Case
           1:21-cr-00119-CJN
              3:21-mj-00113 Document
                             Document1-2
                                      32-1 Filed
                                            Filed05/28/21
                                                  06/24/21 Page
                                                            Page911
                                                                  of of
                                                                     12248




       ICE Facility Damage – April 1, 2021

       14.    Additionally, I reviewed video retrieved from the CCV system located at the ICE

facility for April 1, 2021 from April 14-20, 2021. In the videos, I observed AMOSS throw 36

objects at the facility on April 1, 2021. Photos of AMOSS in the April 1, 2021 video are below.




       15.    On April 1, 2021, AMOSS was arrested by FPS at the ICE facility for Failure to

Comply with Lawful Directions of Federal Law Enforcement (Title 41 CFR 102-74.385) for

remaining on property after the Long Range Acoustic Device (LRAD) warning had been given

and for Preservation of Property (Title 41 CFR 102-74.380) for uprooting and burning a

landscaping plant. Photos taken during AMOSS’ booking process are below.




 Page 9 – Affidavit of Micah Coring
      Case
        Case
           1:21-cr-00119-CJN
              3:21-mj-00113 Document
                             Document1-2
                                      32-1Filed
                                            Filed
                                                05/28/21
                                                  06/24/21 Page
                                                            Page10
                                                                 12ofof12
                                                                        248




       16.     Protest events in Portland are primarily attended by people in “black block,” a

term used to describe the all black, nondescript clothing. ANTIFA and other groups have stated

that the intent of wearing “black block” is to protect members of the group willing to take “direct

action” by making it difficult for law enforcement to identify individuals and further

anonymizing them (“direct action” is most often a criminal act of vandalizing property or

assaulting people).

       17.     During my viewing of security footage taken of the Hatfield Courthouse

surroundings and the ICE facility, both live and recorded, I was able to readily identify AMOSS

by his distinctive attire. In the video footage of March 13 - 14, and again on March 20, I

observed that AMOSS was attired in a red hat, dark rimmed glasses, and a black and white

sweatshirt with a black fist on the chest. Additionally, AMOSS wore a distinct blue

UnderArmor brand backpack on March 20. Prior to AMOSS’s arrest on April 1, FPS officers

recognized AMOSS from the flyer I issued the week prior. Nearly all people seen in the March



 Page 10 – Affidavit of Micah Coring
       Case
         Case
            1:21-cr-00119-CJN
               3:21-mj-00113 Document
                              Document1-2
                                       32-1Filed
                                             Filed
                                                 05/28/21
                                                   06/24/21 Page
                                                             Page11
                                                                  13ofof12
                                                                         248




13 - 14, March 20, and April 1 videos are attired in black block with very little variations in

shade or style. AMOSS’s appearance in contrast was a marked difference and easy to follow in

video. Additionally, On April 1, AMOSS was in possession of a blue UnderArmor backpack

matching the one seen in the March 20, 2021 video.

       18.      On April 29, 2021, I received a repair quote from the owner of the ICE facility.

The repair estimate is for two line items. The first is the replacement of 7 broken insulated

windows at a cost of $9,152.00. The second is for the replacement of 9 broken insulated

windows at a cost of $11,925.00. The owner stated, to the best of his knowledge the first 7

windows were broken by vandals on March 20, 2021 and the additional 9 windows were

broken on April 1, 2021.

                                            Conclusion

       19.      Based on the foregoing, I have probable cause to believe the following:

       A.       That on March 13, 2021, Anthony AMOSS willfully damaged and destroyed, and

attempted to damage or destroy, property owned by the United States, that is, glass windows of

the Mark O. Hatfield United States Courthouse, which damage exceeds $1000, in violation of 18

U.S.C § 1361;

       B.       That on March 20, 2021, Anthony AMOSS willfully damaged and destroyed , and

attempted to damage or destroy, property leased by the United States, that is, glass windows of

the Portland Field Office of Immigration Customs Enforcement, which damage exceeds $1000,

in violation of 18 U.S.C § 1361; and

       C.       That on April 1, 2021, Anthony AMOSS willfully damaged and destroyed, and

attempted to damage or destroy, property owned by the United States, that is, glass windows of


 Page 11 – Affidavit of Micah Coring
      Case
        Case
           1:21-cr-00119-CJN
              3:21-mj-00113 Document
                             Document1-2
                                      32-1Filed
                                            Filed
                                                05/28/21
                                                  06/24/21 Page
                                                            Page12
                                                                 14ofof12
                                                                        248




the Mark O. Hatfield United States Courthouse, which damage exceeds $1000, in violation of 18

U.S.C § 1361.

       And I therefore request that the Court issue a criminal complaint and arrest warrant

charging AMOSS with these offenses.

       19.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Greg

Nyhus. AUSA Nyhus informed me that in his opinion, the affidavit is legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                                      (By telephone)
                                                     Micah CORING
                                                     Senior Special Agent
                                                     Federal Protective Service

       Sworn to by telephone or other reliable means in accordance with Fed. R. Crim. P. 4.1 at

___________
  12:56 pm am/pm
            xxxxxx on May ________,
                             28     2021.



                                                     ____________________________________
                                                     HONORABLE YOULEE YIM YOU
                                                     United States Magistrate Judge




 Page 12 – Affidavit of Micah Coring
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 15 of 248




             ATTACHMENT 2
                  Case
                    Case
                       1:21-cr-00119-CJN
                          3:20-cr-00442-HZDocument
                                            Document
                                                   32-1
                                                     1 Filed 08/27/20
                                                             06/24/21 Page
                                                                      Page 16
                                                                           1 ofof1248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District
                                                   __________     of Oregon
                                                              District of __________

                  United States of America                            )
                             v.                                       )
                                                                      )      Case No.
                                                                      )                 3:20-mj- 00219
                                                                      )
     JOSHUA M. WARNER, AKA EVA WARNER                                 )
                                                                      )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   August 8, 2020                  in the county of            Multnomah             in the
                       District of            Oregon             , the defendant(s) violated:

            Code Section                                                        Offense Description


18 U.S.C. § 231(a)(3)                             Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                  Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Joseph Youngblood




         ✔ Continued on the attached sheet.
         ’

                                                                                    Joseph O. Youngblood
                                                                                                Complainant’s signature

                                                                                    FBI Special Agent Joseph O. Youngblood
                                                                                                 Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone at ________
               3:41     a.m./p.m.
                       xxx

Date:             08/27/2020
                                                                                                   Judge’s signature

City and state:                         Portland, Oregon                           Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
      Case
        Case
           1:21-cr-00119-CJN
             3:20-cr-00442-HZ Document
                               Document32-1
                                        1-1 Filed
                                             Filed06/24/21
                                                   08/27/20 Page
                                                             Page171 of
                                                                     of 248
                                                                        5
    3:20-mj-00219


DISTRICT OF OREGON, ss:               AFFIDAVIT OF JOSEPH O. YOUNGBLOOD

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Joseph O. Youngblood, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation and have been

employed as such since July of 2019. I successfully completed 21 weeks of training at the FBI

Academy located in Quantico, Virginia. During that time, I was taught the use and practical

application of various investigative techniques that federal law enforcement officers are allowed

to employ. Since December of 2019, I have been assigned to the Portland Division Violent Crime

Squad. My training and experience include my time in the FBI as well as four years of previous

federal law enforcement experience as a Military Police Officer in the United States Marine Corps.

I have been empowered under Title 18, United States Code, Sections 3052 and 3053, and Rule 4

of the Federal Rules of Criminal Procedure, to conduct investigations and make arrests for federal

criminal offenses, including violations of 18 U.S.C. § 231(a)(3) (civil disorder – obstruction of

law enforcement); 18 U.S.C. § 231(a)(1) (civil disorder - incendiary device); 18 U.S.C. § 844(f)(1)

(arson); 18 U.S.C. § 2101 (riot); and 18 U.S.C. § 371 (conspiracy).

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Joshua “Eva” WARNER, for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set forth

below, there is probable cause to believe, and I do believe, that WARNER shined a green laser in

the eyes of multiple law enforcement officers for the intended purpose of obstructing, impeding,

or interfering in a violent manner with such law enforcement officers; that WARNER intentionally

participated in blocking traffic on a public street; that WARNER did so knowingly and willfully,

and that WARNER did so during a civil disorder that adversely affected interstate commerce.
       Case
         Case
            1:21-cr-00119-CJN
              3:20-cr-00442-HZ Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    08/27/20 Page
                                                              Page182 of
                                                                      of 248
                                                                         5




                                          Applicable Law

       3.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to commit

any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully

engaged in the lawful performance of his official duties incident to an during the commission of a

civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or the

movement of any article or commodity in commerce . . . shall be fined under this title or imprisoned

not more than five years or both.” The term “civil disorder” means any public disturbance

involving acts of violence by assemblages of three or more persons, which causes an immediate

danger of or results in damage or injury to the property or person of any other individual.”

                                   Statement of Probable Cause

       4.      The information stated herein is based on my own personal involvement in this

investigation, as well as my discussions with other law enforcement officers involved in this

investigation, and information I have read that is contained in written reports pertaining to this

investigation. This affidavit does not include all facts known to me regarding this investigation

but contains only those facts which I believe are sufficient to establish the requisite probable cause.

       5.      On May 25, 2020, George Floyd died during his arrest by law enforcement officers

in Minneapolis, Minnesota, sparking nationwide protests that eventually extended to Portland,

Oregon. The protests have, at times, included violence, civil disorder, arson, and looting. On

August 8, 2020, at 11:35 p.m. a riot was declared at the Portland Police Association office, located

at 1868 N Lombard Street, Portland, Oregon. This was due to individuals in the crowd breaking

a window to the office, entering and starting a fire inside. According to a Portland Police Bureau




 Page 2 – Affidavit of Joseph O Youngblood                        USAO Version Rev. April 2018
         Case
           Case
              1:21-cr-00119-CJN
                3:20-cr-00442-HZ Document
                                  Document32-1
                                           1-1 Filed
                                                Filed06/24/21
                                                      08/27/20 Page
                                                                Page193 of
                                                                        of 248
                                                                           5




press release, during this activity the crowd utilized vehicles and dumpsters to illegally block

vehicular traffic on North Lombard Street.

         6.      Portland Police Bureau officers, assigned to a Rapid Response Team and working

the ongoing riot, were engaging in the targeted arrests of individuals for whom probable cause

existed to arrest. They were notified by multiple Oregon State Police troopers that troopers had

identified WARNER as an individual who had directed a green laser pointer into the eyes of law

enforcement officers attempting to disperse the riot. Since the beginning of the demonstrations,

officers have repeatedly encountered individuals who direct laser pointers into the eyes of law

enforcement officers. Based on my training and experience, and the training and experience of

other law enforcement officers with whom I have communicated, I know these lasers can

temporarily blind an officer and may cause significant and lasting eye damage to an officer.

Furthermore, according to the National Institute of Standards and Technology, an “inexpensive”

($15) green laser pointer produces enough infrared light to pose a serious hazard to human eyesight

and may result in significant eye damage. 1

         7.      When PPB officers moved in to arrest WARNER, he initially resisted arrest,

causing officers to use force. Upon searching WARNER, officers seized a black, pen-style, green

laser pointer. WARNER was readily identifiable due to his attire differing significantly from the

people around them. Individuals involved in the riots typically dress in “black bloc” attire to

prevent identification; WARNER was wearing a distinctive red plaid jacket while shining the laser

in officer’s eyes and when arrested.




1
   Galang et al. “A Green Laser Pointer Hazard.” National Institute of Standards and Technology, July, 2010,
https://tsapps.nist.gov/publication/get_pdf.cfm?pub_id=906138, accessed August 26, 2020.
    Page 3 – Affidavit of Joseph O Youngblood                             USAO Version Rev. April 2018
       Case
         Case
            1:21-cr-00119-CJN
              3:20-cr-00442-HZ Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    08/27/20 Page
                                                              Page204 of
                                                                      of 248
                                                                         5




                                            Conclusion

       8.      Based on the foregoing, I have probable cause to believe, and I do believe, that

WARNER intentionally obstructed, impeded, and interfered with law enforcement officers who

were engaged in the lawful performance of their duties when WARNER shined a green laser into

their eyes; furthermore, WARNER participated in blocking traffic on a public street. All of these

actions took place during a civil disorder that adversely affected interstate commerce in violation

of 18 U.S.C. § 231(a)(3). I therefore request that the Court issue a criminal complaint and arrest

warrant for WARNER.

       9.      Prior to being submitted to the Court, this affidavit was reviewed by Assistant

United States Attorneys (AUSAs) Kelly A. Zusman and Thomas S. Ratcliffe. AUSAs Zusman

and Ratcliffe advised me that, in their opinions, the affidavit is legally and factually sufficient to

establish probable cause to support the issuance of the requested criminal complaint and arrest

warrant.

///

///

///

///

///

///

///

///

///


 Page 4 – Affidavit of Joseph O Youngblood                        USAO Version Rev. April 2018
      Case
        Case
           1:21-cr-00119-CJN
             3:20-cr-00442-HZ Document
                               Document32-1
                                        1-1 Filed
                                             Filed06/24/21
                                                   08/27/20 Page
                                                             Page215 of
                                                                     of 248
                                                                        5




                                       Request for Sealing

       10.     I respectfully request that the Court issue an order sealing, until further order of the

Court, all papers submitted in support of the requested criminal complaint and arrest warrant. I

believe that sealing these documents is necessary because any disclosure of the information at

this time may endanger the life or physical safety of an individual, cause flight from prosecution,

or otherwise seriously jeopardize an investigation, including the planned arrest of the defendant.




                                                      Joseph O. Youngblood
                                                    ____________________________________
                                                    Joseph Youngblood
                                                    Special Agent, Federal Bureau of Investigation



                                                                                      3:40 p.m.
      Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone _____
on August 27, 2020.



                                                       ________________________________
                                                       THE HONORABLE YOULEE YIM YOU
                                                       United States Magistrate Judge




 Page 5 – Affidavit of Joseph O Youngblood                        USAO Version Rev. April 2018
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 22 of 248




             ATTACHMENT 3
                  Case
                    Case
                       1:21-cr-00119-CJN
                          3:20-cr-00331-MODocument
                                            Document
                                                   32-1
                                                     1 Filed 06/24/21
                                                             07/27/20 Page
                                                                       Page23
                                                                            1 of
                                                                              of 1248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-00172
                                                                   )
                       Travis Williams                             )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/27/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Kyle Cozart attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                          USMS DUSM Kyle Cozart
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
               12:10

Date:              July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
       Case1:21-cr-00119-CJN
             3:20-cr-00331-MO Document
                               Document32-1
                                        1-1 Filed
                                             Filed06/24/21
                                                   07/27/20 Page
                                                             Page241of
                                                                    of248
                                                                       6

                                                                                  3:20-mj-00172

STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF KYLE COZART
County of Multnomah                   )



             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Kyle Cozart, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since August of 2017. I am assigned to the

District of Oregon where I am responsible for conducting fugitive and sex offender

investigations that result in arrest and prosecutions of individuals who are facing criminal

charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I am

authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States. My

training and experience includes completion of the Federal Criminal Investigator Training

Program and the U.S. Marshals Service Basic Academy at the Federal Law Enforcement

Training Center in Glynco, Georgia. I have also attended additional training provided by other

law enforcement entities relating to fugitive investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Travis WILLIAMS. As set forth below, I have probable cause to believe that Travis

WILLIAMS committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of


 Page 1 – Affidavit of Kyle Cozart
         Case
          Case1:21-cr-00119-CJN
                3:20-cr-00331-MO Document
                                  Document32-1
                                           1-1 Filed
                                                Filed06/24/21
                                                      07/27/20 Page
                                                                Page252of
                                                                       of248
                                                                          6




records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                           Applicable Law

         4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                    Statement of Probable Cause

         5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,

are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1


1
    As part of my duties, I am familiar with the property boundaries for federal facilities in the

    Page 2 – Affidavit of Kyle Cozart
      Case
       Case1:21-cr-00119-CJN
             3:20-cr-00331-MO Document
                               Document32-1
                                        1-1 Filed
                                             Filed06/24/21
                                                   07/27/20 Page
                                                             Page263of
                                                                    of248
                                                                       6




       6.      Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer

Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,


Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

 Page 3 – Affidavit of Kyle Cozart
       Case
        Case1:21-cr-00119-CJN
              3:20-cr-00331-MO Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                              Page274of
                                                                     of248
                                                                        6




aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while performing

their duties.

        7.      Specifically, on July 27, 2020, federal law enforcement officers attempted to

disperse a crowd on 3rd Avenue between Main and Salmon streets in Portland, OR after the

Federal Protective Service (FPS) declared an unlawful assembly multiple times. This occurred

after violent opportunists attempted to destroy the security fence in front of the Mark Hatfield

Federal Courthouse with power tools. Additionally, violent opportunists attacked law

enforcement officers by throwing hard objects, throwing explosive devices, and physically

attacking them. During the dispersal Deputy United States Marshal (DUSM) Victim 1 was

dressed in a clearly marked police tactical uniform and was wearing protective equipment to

include a gas mask, helmet, and body armor.

        8.      At approximately 01:30 hours, DUSM Victim 1 was lined up with fellow officers

along 3rd Avenue. Officers began giving the crowd lawful commands to disperse from the area.

An individual, later identified as Travis WILLIAMS, was yelling “Take your mask off! Let’s

go.” Law enforcement officers began moving in a line west towards the crowd into Lownsdale

Park to disperse. As deputies moved forward, WILLIAMS lunged forward with both hands

towards the neck and face area of DUSM Victim 2. DUSM Victim 1 attempted to restrain

WILLIAMS and place him under arrest. WILLIAMS immediately began violently resisting and

pulled DUSM Victims 1 and 2 over a park bench. WILLIAMS was able to rip communication

sets off both officers’ vests and ripped part of DUSM Victim 1’s ballistic vest partially off his

body. DUSM’s 1 and 2 were giving lawful commands to stop resisting arrest, but WILLIAMS


 Page 4 – Affidavit of Kyle Cozart
       Case
        Case1:21-cr-00119-CJN
              3:20-cr-00331-MO Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                              Page285of
                                                                     of248
                                                                        6




refused to comply. DUSM Victim 1 removed his taser and utilized it on WILLIAMS. The Taser

had no effect and WILLIAMS continued to fight deputies. WILLIAMS continued to stop

deputies from placing restraints on him. DUSM Victims 1 and 2 were unable to place restraints

on WILLIAMS hands. A third officer from the Federal Protective Service (FPS) assisted DUSM

victims 1 and 2 in restraining WILLIAMS. WILLIAMS was finally placed in handcuffs by

DUSM victim 1 with the assistance of DUSM victim 2 and the FPS officer.

       9.      As the victims walked WILLIAMS away, he suddenly stopped walking and went

limp. WILLIAMS began to scream that deputies would need to carry him if they were going to

arrest him. DUSM Victim 1 was able to radio for a transport vehicle to move WILLIAMS to the

courthouse. When the transport arrived, WILLIAMS went into the vehicle. However, he refused

to place his legs inside the vehicle and continued to violently resist. The FPS transporting officer

was forced to go to the other side of the vehicle and pull WILLIAMS into the vehicle as DUSM

Victims 1 and 2 pushed from the other side. The FPS officer transported WILLIAMS

approximately 1 block to the Hatfield courthouse.

       10.     When WILLIAMS arrived at the courthouse, he was still actively resisting

officers. Deputies removed him from the vehicle and moved him to a wall. WILLIAMS

continuously attempted to turn around to confront deputies and made repeated attempts to whip

deputies with his hair. He continued to actively resist and required 2 deputies to move him to an

elevator. While deputies were moving him to an elevator, WILLIAMS squeezed his elbow into

the deputy’s arm and placed all his body weight on it. The deputy began to yell “he’s trying to

break my arm!” Responding deputies told WILLIAMS to release the arm. The deputy was able




 Page 5 – Affidavit of Kyle Cozart
      Case
       Case1:21-cr-00119-CJN
             3:20-cr-00331-MO Document
                               Document32-1
                                        1-1 Filed
                                             Filed06/24/21
                                                   07/27/20 Page
                                                             Page296of
                                                                    of248
                                                                       6




to remove his arm with the help of responding deputies. Once placed in a cell, WILLIAMS

stated to deputies “I almost ripped your buddy’s arm off. I’m a state wrestler.”


                                           Conclusion

       11.     Based on the foregoing, I have probable cause to believe, and I do believe, that

WILLIAMS assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111. I

therefore request that the Court issue a criminal complaint and arrest warrant charging

WILLIAMS with that offense.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Kyle Cozart
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
    12:10 am/pm on July ________,
                           27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Kyle Cozart
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 30 of 248




             ATTACHMENT 4
                 Case
                   Case
                      1:21-cr-00119-CJN
                         3:20-cr-00374-BRDocument
                                           Document
                                                  32-1
                                                    1 Filed 07/22/20
                                                            06/24/21 Page
                                                                     Page31
                                                                          1 of
                                                                             of7248

   .
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Oregon

                  United States of America                           )
                                V.                                   )
                                                                     )      Case No. 3:20-mj-159
                TAYLOR CHARLES LEMONS                                )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)
                             CRIMINAL COMPLAINT
               BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 22, 2020                 in the county of             Multnomah         in the
                       District of            Oremm              , the defendant(s) violated:

               Code Section                                                     Offense Description
18 U.S.C. § 111(a)(1)                           Felony Assault on a Federal Officer




          This criminal complaint is based on these facts:
See attached Affidavit of Senior Inspector William Boldin, U.S. Marshals Service




          ivf Continued on the attached sheet.
                                                                                /s/ Signed by telephone IAW Fed. R. Crim. P. 4.
                                                                                                Complainant's signature

                                                                              William Boldin, Sr. Inspector, U.S. Marshals Service
                                                                                                 Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Cri
      t
teleph~-        J?.·,SS @lp.m.
Date     · ,        yj=d--J, cJ..a>.,:2-i)
City and state:                         Portland, Oregon                                        Hon. John V. Acosta
                                                                                                 Printed name and title
     Case
       Case
          1:21-cr-00119-CJN
             3:20-cr-00374-BRDocument
                               Document
                                      32-1
                                        1 Filed 07/22/20
                                                06/24/21 Page
                                                         Page32
                                                              2 of
                                                                 of7248




DISTRICT OF OREGON                      )
                                        ) ss: AFFIDAVIT OF Senior Inspector
County of Multnomah                     )     William Boldin

              Affidavit in Support of a Criminal Complaint and Arrest Warrant

        I, William Boldin, being duly sworn, do hereby depose and state as follows:

                               Introduction and Agent Background

        1.      I am employed as a Sr. Inspector with the U.S. Marshals Service and have been

so employed since July 2003. I have completed the Basic Deputy U.S. Marshal Academy and

the Federal Crin1inal Investigators Training Program. My duties include conducting

investigations into violations of federal law and have conducted numerous investigations

involving assaults and threats on federal officers and employees.

        2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Taylor CHARLES LEMONS. As set forth below, there is probable cause to believe, and I do

believe, that LEMONS committed the felony offense of Assaulting a Federal Officer, in

violation of 18 U.S.C. §§ 11 l(a)(l).

        3.     The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.
       Case
         Case
            1:21-cr-00119-CJN
               3:20-cr-00374-BRDocument
                                 Document
                                        32-1
                                          1 Filed 07/22/20
                                                  06/24/21 Page
                                                           Page33
                                                                3 of
                                                                   of7248




                                                 Applicable Law

          4.      18 U.S.C. § 11 l(a)(l) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in§ 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under§ 11 l(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                         Statement of Probable Cause

          5.      Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau's (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the

Mark O.Hatfield United States Federal Courthouse 1• The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland Oregon area.
The federal government owns the entire city block occupied by the Mark 0. Federal Courthouse. Easements have
been granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks and into
the streets surrounding the courthouse.
    Page 2 - Affidavit of Sr. Inspector                                      USAO Version Rev. April 2018
    William Boldin
    Case
      Case
         1:21-cr-00119-CJN
            3:20-cr-00374-BRDocument
                              Document
                                     32-1
                                       1 Filed 07/22/20
                                               06/24/21 Page
                                                        Page34
                                                             4 of
                                                                of7248




                                       ~Af"'"4r
                                       "-M ,:,:.W. UTrS, Ji£6M' ,1-,.




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, and assault. Most violent of these impacting

federal property occurred on May 28, 2020, when the Portland Field Office for the Immigration

and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Mark 0. Hatfield

Courthouse has experienced significant damage to the fa<;ade, glass, and building fixtures during

the weeks following this incident, and was targeted by a Molotov Cocktail on the night of July

22, 2020. Additionally, mounted building security cameras and access control devices have been

vandalized or stolen. The most recent repair estimate for the damage at the Mark 0. Hatfield

Courthouse is in excess of $50,000. Other federal properties in the area routinely being

vandalized include the historic Pioneer Federal Courthouse, the Gus Solomon Courthouse, and

the Edith Green Wendall Wyatt Federal Office Building. FPS law enforcement officers, U.S.

Marshal Service Deputies and other federal law enforcement officers working in the protection

of the Mark 0. Hatfield Courthouse have been subjected to assault, threats, aerial fireworks



 Page 3 - Affidavit of Sr. Inspector                                    USAO Version Rev. April 2018
 William Boldin
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00374-BRDocument
                                  Document
                                         32-1
                                           1 Filed 07/22/20
                                                   06/24/21 Page
                                                            Page35
                                                                 5 of
                                                                    of7248




including mortars, high intensity lasers targeting officer's eyes, thrown rocks, bottles and

balloons filled with paint, and vulgar language from demonstrators while performing their duties.

          6.     On multiple occasions on July 22, 2020, protesters attempted to set fire to, and

breach into, the Mark 0. Hatfield Federal United States Courthouse (USCH) setting fires against

the building, and by removing the wooden protective sheets used to board up windows and

entrances of the USCH. As protesters made a hole through a wooden sheet, U.S. Customs and

Border Protection (CBP), U.S. Marshals Service (USMS), and FPS tactical team deployed to the

affected area to prevent further damage and a possible breach into the USCH. Tactical teams

verbally and visually identified themselves as "POLICE" and ordered protesters to move away

from the USCH.

          7.     After tactical teams dispersed the crowd, the USMS tactical team established a

perimeter in front of the USCH to maintain security while other officers repaired and secured

doors that had been damaged in the attack.

          8.     At approximately 02: 15 a.m., an unknown male, later identified as LEMONS,

carrying a home-made shield, ran up to members of the USMS tactical team. LEMONS charged

towards U.S. Marshal Service Law Enforcement Officer 1 (USMS LEO 1) in an aggressive

manner, with his makeshift shield in front of him, and USMS LEO 1 pushed him back with his

left arm, while ordering him to stay back. LEMONS responded by charging at USMS LEO 1 a

second time, utilizing his shield to strike USMS LEO 1 in his left arm, pushing USMS LEO 1

backwards causing USMS LEO 1 to lose his balance. 2 At the time LEMONS approached, USMS

LEO 1 was standing on Third Street in front of the USCH building, up against the sidewalk when



2
 The identities of these U.S. Marshal Service Law Enforcement Officers (USMS LEOs) are personally known to
me. I know these USMS LEOs to be federal officers for the purposes of 18 U.S.C. § 1114. I have withheld their
names from this affidavit for their safety and security.
    Page 4 - Affidavit of Sr. Inspector                                 USAO Version Rev. April 2018
    William Boldin
       Case
         Case
            1:21-cr-00119-CJN
               3:20-cr-00374-BRDocument
                                 Document
                                        32-1
                                          1 Filed 07/22/20
                                                  06/24/21 Page
                                                           Page36
                                                                6 of
                                                                   of7248




LEMONS initially struck USMS LEO 1. USMS LEO 1 was wearing his tactical uniform, clearly

marked with patches identifying him as a law enforcement officer, and wearing protective gear

including a helmet, gas mask, and body armor.

          9.      USMS LEO 2 and USMS LEO 3 told LEMONS he was under arrest and took him

to the ground. LEMONS violently resisted arrest by twisting, turning, and fighting with the

officer. LEMONS continued to fight with officers and had to be forcefully carried into the

USCH.

          9.      While the arrest was occurring, numerous other violent protestors were present

and continued launchings fireworks, throwing objects, and yelling threats at law enforcement. At

the same time other officers were still attempting to secure the USCH. LEMONS actions caused

a severe risk of physical harm to law enforcement and federal property.

          10.     Subsequent to the arrest LEMONS was turned over to USMS deputies to be taken

to the cellblock. USMS LEO 4 searched LEMONS after arrest and located a Luger LCP pistol,

loaded with 6 rounds, in his right, front, pants pocket. Simultaneous to the weapon being found,

LEMONS stated that he had the weapon. Initial checks indicate that LEMONS has a valid CCW

permit. 3

          11.     Affiant personally observed the arrest and can attest to the information contained

in this affidavit.

          12.     While in the USMS cellblock affiant and USMS LEO 4 attempted to interview

LEMONS. LEMONS provided biographical information but invoked his right to remain silent




3
  There are potential crimes related to LEMONS possession of the firearm during this incident that are still under
investigation.


    Page 5 - Affidavit of Sr. Inspector                                     USAO Version Rev. April 2018
    William Boldin
     Case
       Case
          1:21-cr-00119-CJN
             3:20-cr-00374-BRDocument
                               Document
                                      32-1
                                        1 Filed 07/22/20
                                                06/24/21 Page
                                                         Page37
                                                              7 of
                                                                 of7248




and to have an attorney present during questioning. USMS investigators terminated all contact

with LEMONS, and he was not interviewed.

                                            Conclusion

       14.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Taylor Charles LEMONS committed a violation of 18 U.S.C. § 11 l(a)(l), and in so doing made

physical contact with USMS LEO 1.

       15.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Paul T.

Maloney, who advised that in his opinion the affidavit and complaint are legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                                       Isl Sworn to by telephone
                                                       In accordance with Fed. R. Crim. P. 4.1
                                                       William Boldin, Senior Inspector
                                                       U.S. Marshals Service

       Sworn to by telephone or other reliable means at 8..'S~.m. in accordance with

Fed. R. Crim. P. 4.1 this   c2cx 17~ay of July 2020.

                                                                   J.01--



 Page 6 - Affidavit of Sr. Inspector                             USAO Version Rev. April 2018
 William Boldin
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 38 of 248




             ATTACHMENT 5
                  CaseCase
                       1:21-cr-00119-CJN
                            3:20-mj-00170 Document
                                           Document32-1
                                                    1 Filed
                                                        Filed
                                                            07/27/20
                                                              06/24/21 Page
                                                                        Page139
                                                                              of of
                                                                                 7 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-170
                                                                   )
                    THOMAS JOHNSON                                 )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/26/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Christopher Tomayo attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                      USMS DUSM Christopher Tamayo
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
                8:03
Date:            July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      CaseCase
           1:21-cr-00119-CJN
                3:20-mj-00170 Document
                               Document32-1
                                        1 Filed
                                            Filed
                                                07/27/20
                                                  06/24/21 Page
                                                            Page240
                                                                  of of
                                                                     7 248




STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF CHRISTOPHER TAMAYO
County of Multnomah                   )



             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Christopher Tamayo, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since 2013. I am assigned to the Pacific

Northwest Violent Offender Task Force where I am responsible for conducting fugitive and sex

offender investigations that result in arrest and prosecutions of individuals who are facing

criminal charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I

am authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States.

My training and experience includes completion of a California Peace Officer Standard Training

Academy, the Federal Criminal Investigator Training Program and the U.S. Marshals Service

Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia. I have

also attended additional training provided by other law enforcement entities relating to fugitive

investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Thomas JOHNSON. As set forth below, I have probable cause to believe that JOHNSON

committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00170 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page341
                                                                   of of
                                                                      7 248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Christopher Tamayo
         CaseCase
              1:21-cr-00119-CJN
                   3:20-mj-00170 Document
                                  Document32-1
                                           1 Filed
                                               Filed
                                                   07/27/20
                                                     06/24/21 Page
                                                               Page442
                                                                     of of
                                                                        7 248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00170 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page543
                                                                   of of
                                                                      7 248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.      Specifically, on July 26, 2020, federal law enforcement officers attempted to

disperse a crowd in front of the U.S. Hatfield Courthouse in Portland, OR. The crowd was part

of a protest that was declared an unlawful assembly by the Federal Protective Service and a riot

by the Portland Police Bureau. This occurred after violent opportunists destroyed the security

fence in front of the Mark Hatfield Federal Courthouse, and attacked law enforcement officers

by throwing hard objects, throwing explosive devices, and physically attacking them. During the

dispersal Deputy United States Marshal (DUSM) Victim 1 was dressed in a clearly marked

police tactical uniform and was wearing protective equipment to include a gas mask, helmet, and

body armor.

        8.      At approximately 0130 hours DUSM Victim 1 was walking with a group of

officers attempting to clear the park across the street from the Hatfield Courthouse. A male, who

later identified himself as Thomas JOHNSON, was ordered to leave the park by DUSM Victim

1. As DUSM Victim 1 approached JOHNSON used a homemade shield to strike the officer in

the face. A second DUSM observed the assault and both officers restrained JOHNSON by

placing him on the ground while telling him he was under arrest. JOHNSON was placed under

arrest and taken to the U.S. Marshals Cellblock.


 Page 4 – Affidavit of Christopher Tamayo
      CaseCase
           1:21-cr-00119-CJN
                3:20-mj-00170 Document
                               Document32-1
                                        1 Filed
                                            Filed
                                                07/27/20
                                                  06/24/21 Page
                                                            Page644
                                                                  of of
                                                                     7 248




       9.      On July 26, 2020, I contacted JOHNSON in the United States Marshals Service

detention center at the Hatfield Courthouse. I identified myself as a Deputy with the U.S.

Marshals Service wearing my agency issued badge displayed on my duty belt, before I could

read JOHNSON his rights he informed me he would not want to speak with me. Therefore my

communication with JOHNSON ended.

       10.     On July 26, 2020, JOHNSON’s belongings were searched incident to arrest and

the following were found: asp extendable baton, OC spray, steel plated body armor, helmet,

individual first aid kit, shin guards, gas mask, goggles, phone, and miscellaneous clothing.




                                  Figures 1-3. Johnson’s possessions




 Page 5 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00170 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page745
                                                                   of of
                                                                      7 248




                                           Conclusion

       11.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Thomas JOHNSON assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111.

I therefore request that the Court issue a criminal complaint and arrest warrant charging

JOHNSON with that offense.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Chris Tamayo
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
     8:03 am/pm on July ________,
                           27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Christopher Tamayo
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 46 of 248




             ATTACHMENT 6
                  Case
                    Case
                       1:21-cr-00119-CJN
                          3:20-cr-00431-MODocument
                                            Document
                                                   32-1
                                                     1 Filed 06/24/21
                                                             09/20/20 Page
                                                                       Page47
                                                                            1 of
                                                                              of 7248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.            3:20-mj-239
                                                                  )
             NICHOLAS JOSEPH BANTISTA                             )
                                                                  )
                                                                  )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      9/18/2020                in the county of             Multnomah        in the
                       District of            Oregon          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer, Class A Misdemeanor




         This criminal complaint is based on these facts:
See Affidavit of DHS FPS SA Thomas McNutt attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                 via telephone
                                                                                             Complainant’s signature

                                                                                      DHS FPS SA Thomas McNutt
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
               4:35
WHOHSKRQHDWBBBBBBBBDPSP

Date:             09/20/2020
                                                                                                Judge’s signature

City and state:                         Portland, Oregon                        Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                              Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00431-MODocument
                                Document
                                       32-1
                                         1 Filed 06/24/21
                                                 09/20/20 Page
                                                           Page48
                                                                2 of
                                                                  of 7248




DISTRICT OF OREGON                     )
                                       ) ss: AFFIDAVIT OF SPECIAL AGENT
County of Multnomah                    )     Thomas McNutt


             Affidavit in Support of a Criminal Complaint and Arrest Warrant

I, Thomas McNutt, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

   1. I, Thomas McNutt, am a federal law enforcement officer within the meaning of Federal

       Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing

       the criminal laws of the United States and duly authorized by the Attorney General to

       request an arrest warrant. I am an investigative or law enforcement officer of the United

       States within the meaning of Section 2510(7) of Title 18 of the United States Code. I

       have been employed as a Special Agent with the United States Department of Homeland

       Security / Federal Protective Service (DHS/FPS) since March of 2013. I am currently

       assigned as a general crimes agent out of Baltimore, Maryland.

   2. As a Special Agent, I have participated in all the normal methods of investigation,

       including electronic surveillance, physical surveillance, interviews of witnesses,

       execution of search and arrest warrants, and the use of sources and cooperating witnesses.

       I have investigated and assisted other agents/inspectors in investigating, federal and state

       firearm violations, threats to federal government employees, bomb threats to federal

       facilities, suspicious packages, thefts, burglaries, assaults, narcotics, threats against

       federal facilities/employees and destruction of government property.




 Page 1 –Affidavit of SA Thomas McNutt
     Case
       Case
          1:21-cr-00119-CJN
             3:20-cr-00431-MODocument
                               Document
                                      32-1
                                        1 Filed 06/24/21
                                                09/20/20 Page
                                                          Page49
                                                               3 of
                                                                 of 7248




  3. I submit this affidavit in support of a complaint for Nicholas Joseph BANTISTA. As set

     forth below, there is probable cause to believe that BANTISTA committed the following

     offense: assault of a federal officer in violation of Title 18 United States &RGHௗ11

     (a)(1), as a Class A misdemeanor, when he threw an unidentified object at an agent of the

     Federal Protective Service, striking him on his helmet at the Immigration and Customs

     Enforcement (ICE) facility in Portland, Oregon.

  4. The facts set forth in this affidavit are based on the following: my own personal

     knowledge, knowledge obtained from other individuals during my participation in this

     investigation, including other law enforcement officers, interviews of witnesses, my

     review of records related to this investigation, communication with others who have

     knowledge of the events and circumstances described herein, and information gained

     through my training and experience. Because this affidavit is submitted for the limited

     purpose of establishing probable cause in support of the application for a criminal

     complaint and arrest warrant, it does not set forth each fact that I or others have learned

     during this investigation.

                                       Applicable Law

  5. 18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose, impede,

     intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

     or on account of the performance of official duties. Persons designated in § 1114 include

     any officer or employee of the United States or of any agency in any branch of the United

     States government while such officer or employee is engaged in or on account of the

     performance of official duties, and any person assisting such an officer or employee in


Page 2 –Affidavit of SA Thomas McNutt
     Case
       Case
          1:21-cr-00119-CJN
             3:20-cr-00431-MODocument
                               Document
                                      32-1
                                        1 Filed 06/24/21
                                                09/20/20 Page
                                                          Page50
                                                               4 of
                                                                 of 7248




     the performance of official duties. Under § 111(a), simple assault is a misdemeanor, but

     where the assaultive acts involve physical contact with the victim, the offense is a felony.

                               Statement of Probable Cause

  6. Starting on or about May 26, 2020, protesters have gathered in Portland, Oregon’s public

     areas to protest. Some of these public areas are Lownsdale Square, Chapman Square,

     Terry Schrunk Plaza, and the ICE facility located at 431 SW Macadam Avenue. Daily

     protests have regularly been followed by nightly criminal activity in the form of

     vandalism, destruction of property, looting, arson, and assault. One of the most violent of

     these incidents on federal property occurred on May 28, 2020, when the Portland Field

     Office for Immigration and Customs Enforcement was targeted by a Molotov Cocktail.

     Federal law enforcement officers have been subjected to physical assaults, verbal threats,

     aerial fireworks including mortars, high intensity lasers targeting officer’s eyes, hard

     projectiles (rocks, glass bottles and metal food cans), balloons filled with paint, bodily

     waste and vulgar language from demonstrators while preforming their duties. On July

     11, 2020, a protestor physically attacked a federal Officer, at the Mark O. Hatfield

     Courthouse, by striking the officer several times with a sledgehammer to the upper body

     and head.

  7. On September 18, 2020, at approximately 11:30 p.m., at the ICE facility, in Portland, OR,

     BANTISTA did forcibly assault an agent of the Federal Protective Service, (Agent

     Victim 1) who was engaged in the performance of his official duties, in violation of Title

     18, United States Code, Section 111(a)(1), as a Class A Misdemeanor.




Page 3 –Affidavit of SA Thomas McNutt
    Case
      Case
         1:21-cr-00119-CJN
            3:20-cr-00431-MODocument
                              Document
                                     32-1
                                       1 Filed 06/24/21
                                               09/20/20 Page
                                                         Page51
                                                              5 of
                                                                of 7248




  8. AV1 and I were positioned at the intersection of SW Bancroft Street and S Moody Street

     along with a multitude of FPS officers in order to address a large group of demonstrators.

     The demonstrators had been verbally warned multiple times that the gathering had been

     deemed unlawful and were ordered to disperse. A bulk of the demonstrators refused to

     disperse, remained in the area, and continued to throw objects at FPS officers.

  9. AVI and I observed a person, later identified as BANTISTA, throw an unidentified

     object, but was believed to be a small rock, that struck AV1 on his helmet. After

     throwing the object, BANTISTA fled on foot, North on Moody Ave. AVI and I, along

     with other FPS officers pursued BANTISTA on foot. BANTISTA was taken to the

     ground in order to effect an arrest. BANTISTA resisted arrest throughout the entire event

     by pulling his arms under his chest and refusing to comply with verbal orders from Law

     Enforcement. During the struggle, a gun (later found to be an air soft replica) was

     discovered wedged between BANTISTA’s chest and the ground. The gun was recovered

     on scene. BANTISTA was placed in flex cuffs and escorted to the ICE facility for

     processing.

  10. During an interview conducted at 3:13 a.m. on September 19, 2020, BANTISTA signed a

     waiver of rights form and discussed his past experience with law enforcement officers.

     BANTISTA admitted to throwing an object at the officer but claimed that it was a

     “bouncy ball” and that he did not intend any violence. Officers had witnessed bouncy

     balls thrown earlier in the evening. AV1 stated that the object felt denser than a “bouncy

     ball,” and the sound and impact of the object felt against AV1’s helmet was more

     consistent with a rock.


Page 4 –Affidavit of SA Thomas McNutt
    Case
      Case
         1:21-cr-00119-CJN
            3:20-cr-00431-MODocument
                              Document
                                     32-1
                                       1 Filed 06/24/21
                                               09/20/20 Page
                                                         Page52
                                                              6 of
                                                                of 7248




  11. BANTISTA also admitted to possessing a “pellet gun” and was found in the possession

     of nail gun powerload cartridges, as shown below:




Page 5 –Affidavit of SA Thomas McNutt
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00431-MODocument
                                Document
                                       32-1
                                         1 Filed 06/24/21
                                                 09/20/20 Page
                                                           Page53
                                                                7 of
                                                                  of 7248




   12. A review of law enforcement data bases indicate that BANTISTA was convicted of

      felony aggravated assault of a peace officer in Illinois (September 2019); and was

      arrested for criminal damage to state property in Illinois (June 2020).

                                           Conclusion

   13. Based on the foregoing, I have probable cause to believe, and I do believe, that Nicholas

      Joseph BANTISTA committed assault on a federal officer, in violation of Title 18 U.S.C

      § 111(a)(1), as a Class A misdemeanor. I therefore request the Court issue an arrest

      warrant and criminal complaint for BANTISTA.

   14. Prior to being submitted to the Court, this affidavit, the complaint and the arrest warrant

      were all reviewed by Assistant United States Attorney Natalie Wight. In her opinion the

      affidavit and complaint are legally and factually sufficient to establish probable cause to

      support the issuance of the requested criminal complaint and arrest warrant.

                                                     Sworn to by telephone pursuant to FRCP 4.1
                                                     Thomas McNutt
                                                     Special Agent, Federal Protective Service


                                                        4:35
      Sworn to by telephone or other reliable means at _____a.m./p.m. in accordance with

Fed. R. Crim. P. 4.1 this _______
                            20 day of September 2020.


                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 –Affidavit of SA Thomas McNutt
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 54 of 248




             ATTACHMENT 7
                  Case
                     Case
                       1:21-cr-00119-CJN
                          3:20-cr-00296-SI Document
                                            Document32-1
                                                      1 Filed
                                                         Filed07/27/20
                                                              06/24/21 Page 55
                                                                            1 ofof1248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.       3:20-mj-171
                                                                   )
                          Caleb Wills                              )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/27/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Kyle Cozart attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                          USMS DUSM Kyle Cozart
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              12:10
WHOHSKRQHDWBBBBBBBBDPSP

Date:          July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00296-SI Document
                                Document32-1
                                         1-1 Filed
                                             Filed 06/24/21
                                                   07/27/20 Page
                                                             Page56
                                                                  1 of 6248
                                                                         3:20-mj-171


STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF KYLE COZART
County of Multnomah                   )




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Kyle Cozart, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since August of 2017. I am assigned to the

District of Oregon where I am responsible for conducting fugitive and sex offender

investigations that result in arrest and prosecutions of individuals who are facing criminal

charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I am

authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States. My

training and experience includes completion of the Federal Criminal Investigator Training

Program and the U.S. Marshals Service Basic Academy at the Federal Law Enforcement

Training Center in Glynco, Georgia. I have also attended additional training provided by other

law enforcement entities relating to fugitive investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Caleb WILLS. As set forth below, I have probable cause to believe that Caleb WILLS

committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Kyle Cozart
       Case
         Case
            1:21-cr-00119-CJN
               3:20-cr-00296-SI Document
                                 Document32-1
                                          1-1 Filed
                                              Filed 06/24/21
                                                    07/27/20 Page
                                                              Page57
                                                                   2 of 6248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Kyle Cozart
         Case
           Case
              1:21-cr-00119-CJN
                 3:20-cr-00296-SI Document
                                   Document32-1
                                            1-1 Filed
                                                Filed 06/24/21
                                                      07/27/20 Page
                                                                Page58
                                                                     3 of 6248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Kyle Cozart
       Case
         Case
            1:21-cr-00119-CJN
               3:20-cr-00296-SI Document
                                 Document32-1
                                          1-1 Filed
                                              Filed 06/24/21
                                                    07/27/20 Page
                                                              Page59
                                                                   4 of 6248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while performing

their duties.

        7.      Specifically, on July 27, 2020, federal law enforcement officers attempted to

disperse a crowd on 3rd Avenue between Main and Salmon streets in Portland, OR after the

Federal Protective Service (FPS) declared an unlawful assembly multiple times. This occurred

after violent opportunists attempted to destroy the security fence in front of the Mark Hatfield

Federal Courthouse with power tools. Additionally, violent opportunists attacked law

enforcement officers by throwing hard objects, throwing explosive devices, and physically

attacking them. During the dispersal Deputy United States Marshal (DUSM) Victim 1 was

dressed in a clearly marked police tactical uniform and was wearing protective equipment to

include a gas mask, helmet, and body armor.

        8.      At approximately 01:30 hours, DUSM Victim 1 was walking with a group of

officers when a group of individuals formed a line in front of them. Officers were ordering the

subjects to disperse and they failed to comply with repeated lawful orders. As the United States

Marshals Service (USMS) line approached, DUSM Victim 1 was assisting another deputy with

an arrest. While assisting, DUSM Victim 1 was attacked by 3 individuals. The three assailants

grabbed DUSM Victim 1 and began punching him all over his body, and attempted to dislodge

his mask. DUSM Victim 1 began pushing the subjects off him to defend himself. As other


 Page 4 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00296-SI Document
                                Document32-1
                                         1-1 Filed
                                             Filed 06/24/21
                                                   07/27/20 Page
                                                             Page60
                                                                  5 of 6248




officers responded, 2 assailants ran. DUSM Victim 1 was able to grab the third assailant as he

began to run. This assailant was later identified as Caleb WILLS. WILLS actively resisted arrest

as DUSM 1 attempted to place handcuffs on him. Once he was handcuffed, WILLS began to

comply with lawful orders.

       9.      Upon his arrest, the USMS ran Caleb WILLS for active warrants. It was revealed

WILLS has two active warrants from High Point Police Department in Tennessee. The warrants

are for burglary and felony breaking and entering. However; these warrants are currently non-

extraditable. For the Court’s reference, WILLS has a criminal history to include absence without

leave (AWOL) from the Tennessee National Guard in 2011, probation violation in 2012, drug

manufacturing delivery and sale of a schedule IV controlled substance 2013, possession of drug

paraphernalia in 2014, and failure to appear in 2014.

                                           Conclusion

       10.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Wills assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111. I therefore

request that the Court issue a criminal complaint and arrest warrant charging WILLS with that

offense.

//



//



//




 Page 5 – Affidavit of Kyle Cozart
       Case
         Case
            1:21-cr-00119-CJN
               3:20-cr-00296-SI Document
                                 Document32-1
                                          1-1 Filed
                                              Filed 06/24/21
                                                    07/27/20 Page
                                                              Page61
                                                                   6 of 6248




       11.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Kyle Cozart
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
    12:10 am/pm on July ________,
                           27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Kyle Cozart
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 62 of 248




             ATTACHMENT 8
                  CaseCase
                       1:21-cr-00119-CJN
                            3:20-mj-00169 Document
                                           Document32-1
                                                    1 Filed
                                                        Filed
                                                            07/27/20
                                                              06/24/21 Page
                                                                        Page163
                                                                              of of
                                                                                 8 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:20-mj-00169
                                                                   )
                       JOSHUA WEBB                                 )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/26/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Christopher Tomayo attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                      USMS DUSM Christopher Tamayo
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
                8:03
WHOHSKRQHDWBBBBBBBBDPSP

Date:            July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      CaseCase
           1:21-cr-00119-CJN
                3:20-mj-00169 Document
                               Document32-1
                                        1 Filed
                                            Filed
                                                07/27/20
                                                  06/24/21 Page
                                                            Page264
                                                                  of of
                                                                     8 248




STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF CHRISTOPHER TAMAYO
County of Multnomah                   )



             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Christopher Tamayo, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since 2013. I am assigned to the Pacific

Northwest Violent Offender Task Force where I am responsible for conducting fugitive and sex

offender investigations that result in arrest and prosecutions of individuals who are facing

criminal charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I

am authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States.

My training and experience includes completion of a California Peace Officer Standard Training

Academy, the Federal Criminal Investigator Training Program and the U.S. Marshals Service

Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia. I have

also attended additional training provided by other law enforcement entities relating to fugitive

investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Joshua WEBB. As set forth below, I have probable cause to believe that WEBB committed an

assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00169 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page365
                                                                   of of
                                                                      8 248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Christopher Tamayo
         CaseCase
              1:21-cr-00119-CJN
                   3:20-mj-00169 Document
                                  Document32-1
                                           1 Filed
                                               Filed
                                                   07/27/20
                                                     06/24/21 Page
                                                               Page466
                                                                     of of
                                                                        8 248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00169 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page567
                                                                   of of
                                                                      8 248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.      Specifically, on July 26, 2020, federal law enforcement officers attempted to

disperse a crowd on SW Salmon Street between 4th and 5th streets in Portland, OR. The crowd

was part of a protest that was declared an unlawful assembly by the Federal Protective Service

and a riot by the Portland Police Bureau. This occurred after violent opportunists destroyed the

security fence in front of the Mark Hatfield Federal Courthouse, and attacked law enforcement

officers by throwing hard objects, throwing explosive devices, and physically attacking them.

During the dispersal Deputy United States Marshal (DUSM) Victim 1 was dressed in a clearly

marked police tactical uniform and was wearing protective equipment to include a gas mask,

helmet, and body armor.

        8.      At approximately 0130 hours DUSM Victim 1 was walking with a group of

officers and a group of subjects formed a line in front of them. Officers were ordering the

subjects to disperse, and they failed to comply with repeated orders. As the United States

Marshals Service (USMS) line approached, a subject later identified as Joshua WEBB struck

DUSM Victim 1 in the face with a shield and then punched DUSM Victim 1 in the face with a

closed fist. WEBB was taken to the ground with the assistance of a second DUSM and placed




 Page 4 – Affidavit of Christopher Tamayo
      CaseCase
           1:21-cr-00119-CJN
                3:20-mj-00169 Document
                               Document32-1
                                        1 Filed
                                            Filed
                                                07/27/20
                                                  06/24/21 Page
                                                            Page668
                                                                  of of
                                                                     8 248




under arrest. WEBB resisted arrest by pulling his arms away from the DUSMs in an attempt to

avoid being restrained. WEBB was eventually placed in handcuffs.

       9.      On July 26, 2020, I contacted WEBB in the United States Marshals Service

detention center at the Hatfield Courthouse. I identified myself as a Deputy with the U.S.

Marshals with my agency issued badge displayed and advised WEBB of his Miranda Rights.

WEBB stated that he understood his rights and was willing to waive his rights in order to make a

statement. WEBB’s waiver of rights was documented.

       10.     WEBB stated that he comes out often to the protests because he supports the

movement that the protest represents. During this protest he said was wearing a tactical vest that

held medical supplies and that he was hanging out in the park near 3rd Avenue and Salmon

Street when he saw the crowd start to get pushed north and west on 3rd. WEBB states he did not

hear any warnings given by both FPS and PPB to leave the area. As WEBB started to back up

and move towards 4th Avenue, he said a line of Marshals tackled and arrested him.



//




//




//




 Page 5 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00169 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page769
                                                                   of of
                                                                      8 248




       11.      On July 26, 2020, WEBB’s belongings were searched incident to arrest and the

following were found: black/green backpack, gray sweatshirt, black tactical vest, JBL speaker,

gloves, shin guards, passport, and wallet.




                                         Webb’s possessions


                                             Conclusion

       12.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Joshua WEBB assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111. I

therefore request that the Court issue a criminal complaint and arrest warrant charging WEBB

with that offense.

       13.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie


 Page 6 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00169 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page870
                                                                   of of
                                                                      8 248




Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Chris Tamayo
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1
    8:03 am/pm on July ________,
at _______                 27    2020.


                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 7 – Affidavit of Christopher Tamayo
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 71 of 248




             ATTACHMENT 9
           CaseCase
                1:21-cr-00119-CJN
                     3:20-mj-00165 Document
                                    Document32-1
                                             1 Filed
                                                 Filed
                                                     07/24/20
                                                       06/24/21 Page
                                                                 Page172
                                                                       of of
                                                                          1 248



AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Oregon

                  United States of America                          )
                               V.                                   )
                                                                    )       Case No.      3:20-mj-165
                                                                    )
              DAVID MICAHEL BOUCHARD                                )
                                                                    )
                                                                    )
                          Defendant(s)
                           CRIMINAL COMPLAINT
             BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/24/2020                  in the county of            Multnomah            in the
                       District of            Oregon            , the defendant(s) violated:

            Code Section                                                        Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of FPS Special Agent Steven Bingley, attached hereto and incorporated by reference.




         ,gf Continued on the attached sheet.




Date:


City and state:                         Portland, Oregon                          Hon. Jo·     V. Acosta, U.S. Magistrate Judge
                                                                                                 Printed name and title
 Case
    Case
      1:21-cr-00119-CJN
          3:20-mj-00165 Document 1-1
                                 32-1 Filed
                                       Filed07/24/20
                                             06/24/21 Page 1
                                                           73ofof6 248

                                                                    3:20-mj-165



DISTRICT OF OREGON                     )
                                       ) ss: AFFIDAVIT OF SPECIAL AGENT
County of Multnomah                    )     STEVEN BINGLEY

              Affidavit in Support of a Criminal Complaint and Arrest Warrant

        I, Steven Bingley, being duly sworn, do hereby depose and state as follows:

                               Introduction and Agent Background

        1.      I am employed as a Special Agent (SA) with the Federal Protective Service (FPS)

and have been employed by FPS since February 2009. I have participated in several

investigations relating to the protection of federal facilities and personnel. I am currently

assigned to Region 8 in Fort Collins, Colorado as a general crimes agent.

        2.     I submit this affidavit in support of a criminal complaint and arrest warrant for

David Michael BOUCHARD. As set forth below, there is probable cause to believe, and I do

believe, that BOUCHARD committed the offense of Assaulting a Federal Officer (Felony), in

violation of 18 U.S.C. § 11 l(a)(l).

        3.     The facts set forth in this affidavit are based on the following: my own personal

knowledge; information obtained from other individuals during my participation in this

investigation including other law enforcement officers; interviews of witnesses; my review of

records related to this investigation; communication with others who have knowledge of the

events and circumstances described herein; and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.




 Page 1 - Affidavit of Steven Bingley
  Case
     Case
       1:21-cr-00119-CJN
           3:20-mj-00165 Document 1-1
                                  32-1 Filed
                                        Filed07/24/20
                                              06/24/21 Page 2
                                                            74ofof6 248




                                                 Applicable Law

         4.       18 U.S.C. § 11 l(a)(l) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in§ 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under§ 11 l(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                         Statement of Probable Cause

         5.       Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau's (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the

Mark 0. Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




1 As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland Oregon area.

The federal government owns the entire city block occupied by the Mark 0. Federal Courthouse. Easements have
been granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks and into
the streets surrounding the courthouse.

 Page 2 - Affidavit of Steven Bingley
   Case
      Case
        1:21-cr-00119-CJN
            3:20-mj-00165 Document 1-1
                                   32-1 Filed
                                         Filed07/24/20
                                               06/24/21 Page 3
                                                             75ofof6 248




                              w
                              ~
                                               ~


                                               ~
                                                    $.M
                                                   rA,1.r
                                                                 $At.MON
                                                               e,..,,,.

                                                             ,;,sr-
                                                                                     ar:

                                                                                                1\1~
                             : ij1                                                              r~
                             ~~\  I
                                      #'

                                           l                                pf             i
                                                                                               ~1     $6'




                                ~1
                                !          ~
                                           ~
                                                            IJI..-Ot1'                     ~
                                                                                                ]~
                                                                                                i'~




                                ~·i                                                             ti~
                                               ~..,~a.r
                                               ;s...v.: C!Jit, wrs. htl.«.r tf4-

                                                              JM$T"l$S.00                            Iii
                                                                                                 I
                              ,,<lj
                                                                                        \ ":
                                                                                     ,'
                                                                                                                  .
                                                                                                            '-:~,; ::
                                                                                   $': '\ ':




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, and assault. One violent event impacting

federal property occurred on May 28, 2020, when the Portland Field Office for the Immigration

and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Mark 0. Hatfield

Courthouse has experienced significant damage to the fa9ade, glass, and building fixtures during

the weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Mark 0. Hatfield Courthouse is in excess of $50,000. Other federal properties in the area

routinely being vandalized include the historic Pioneer Federal Courthouse, the Gus Solomon

Courthouse, and the Edith Green Wendall Wyatt Federal Office Building. FPS law enforcement

officers, U.S. Marshal Service Deputies and other federal law enforcement officers working in

the protection of the Mark 0. Hatfield Courthouse have been subjected to assault, threats, aerial


 Page 3 - Affidavit of Steven Bingley
    Case
       Case
         1:21-cr-00119-CJN
             3:20-mj-00165 Document 1-1
                                    32-1 Filed
                                          Filed07/24/20
                                                06/24/21 Page 4
                                                              76ofof6 248




fireworks including mortars, high intensity lasers targeting officer's eyes, thrown rocks, bottles

and balloons filled with paint, and vulgar language from demonstrators while performing their

duties.

          6.       On July 24, 2020, at approximately 01 :35 a.m., protesters attempted to breach into

the Mark 0. Hatfield Federal United States Courthouse (USCH) by damaging and removing the

protective fencing around the west entrances of the USCH. As protesters cut open a section of

the fence, U.S. Customs and Border Protection (CBP), U.S. Marshals Service (USMS), and FPS

tactical teams deployed to the affected area to prevent further damage and a possible breach into

the USCH. Tactical teams verbally and visually identified themselves as "POLICE" and ordered

protesters to move away from the USCH.

          7.       While FPS and CBP tactical teams deployed to the intersection of SW Main

Street and SW Fourth Avenue near the USCH, CBP BORTAC OFFICER 1 (Officer 1) 2 and

CBP BORTAC Officer (Officer 2) observed a group of demonstrators not following the verbal

directives to move away from the USCH. CBP Officer 1 (Victim) moved closer to the group

while verbally telling them to "move back." The group was physically defiant and remained in

the area of USCH property as FPS and CBP tactical teams moved forward while using their

hands to direct the group away from the USCH.

          8.       At approximately 01 :37 a.m., an unknown male, later identified as David Michael

BOUCHARD, was given verbal commands to "move" and "move back" by CBP Officer 1, there

were numerous audio messages from a trailing FPS vehicle loudspeaker in the immediate area



2 Identification of the CBP BORTAC Agent(s) is known to me. For security reasons his/her name will not be
included in this affidavit, but is readily available for the court if needed.

 Page 4 - Affidavit of Steven Bingley
    Case
       Case
         1:21-cr-00119-CJN
             3:20-mj-00165 Document 1-1
                                    32-1 Filed
                                          Filed07/24/20
                                                06/24/21 Page 5
                                                              77ofof6 248




telling the crowd to leave as BOUCHARD stood near the intersection of SW Main Street and

SW Fourth Avenue. BOUCHARD was not moving away from the USCH, and stood in the path

of CBP Officer 1. CBP Officer 1 placed his right hand on BOUCHARD' s shoulder to remove

him from his path, BOUCHARD then placed his right arm around the neck of CBP Officer 1 in

headlock maneuver. CBP Officer 2 attempted to remove BOUCHARD's right arm from around

the neck of Officer 1 and as result all three individuals went to the ground. CBP Officer 1 was

able to remove the arm of BOUCHARD from around his neck and subsequently atTested him for

assault on a federal officer.

        9.      CBP Officers 1 and 2 were interviewed following the event, and provided a

written statement regarding what they observed. CBP Officer 1 added that BOUCHARD was

wearing shorts, a white t-shirt, and a mask with the Texas state flag on it. Additionally, CBP

Officer 1 stated BOUCHARD was carrying a leaf blower and a shield. BOUCHARD was

transferred to Deputy U.S. Marshals for processing.

        10.     Shortly after the arrest, FPS personnel confirmed CBP Officer 1 was wearing the

same clothing and gear that he had on earlier when he confronted BOUCHARD, which was

clearly identified as "POLICE." CBP Officer 1 did not display any visible bruising in the areas

where BOUCHARD grabbed him.

        11.    At approximately 03:38 a.m., law enforcement asked BOUCHARD for

biographical information and advised BOUCHARD of his legal rights. BOUCHARD waived his

right to remain silent and to have an attorney present during questioning. BOUCHARD

provided a verbal statement that he did place his right arm around the neck and shoulder area of

CBP Officer 1. BOUCHARD stated his intent was not to hurt anyone, but to "stand his ground."


 Page 5 - Affidavit of Steven Bingley
  Case
     Case
       1:21-cr-00119-CJN
           3:20-mj-00165 Document 1-1
                                  32-1 Filed
                                        Filed07/24/20
                                              06/24/21 Page 6
                                                            78ofof6 248




Law enforcement identified BOUCHARD through his Texas issued Driver's License which was

acquired during a search incident to arrest.

                                               Conclusion

       12.     Based on the foregoing, I have probable cause to believe, and I do believe, that

David Michael BOUCHARD committed a violation of 18 U.S.C. § 111 (a), and in so doing made

physical contact with CBP BORTAC Z-19.

       13.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the an-est wan-ant were all reviewed by Assistant United States Attorneys (AUSA) Kelly

Zusman and Natalie Wight, who advised that in their opinion the affidavit and complaint are

legally and factually sufficient to establish probable cause to support the issuance of the

requested criminal complaint and arrest warrant.

                                                       Isl Sworn to by telephone
                                                       In accordance with Fed. R. Crim. P. 4.1
                                                       Steven Bingley
                                                       Special Agent
                                                       Federal Protective Service

       Sworn to by telephone or other reliable means atlo/.~m:/p.;) in accordance with



                                                                  ti    ;/   ;/
Fed.R.Crim.P.4.1 this 2£/{yofJuly2020. .                    ~/-                ,,-,

                                                            ~
                                                                __J:! ll' " ~~~ - ./
                                                       HONO~'Iil,,E JOHN V. ACOSTA
                                                       United States Magistrate Judge




Page 6 - Affidavit of Steven Bingley
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 79 of 248




           ATTACHMENT 10
                  CaseCase
                       1:21-cr-00119-CJN
                            3:20-mj-00168 Document
                                           Document32-1
                                                    1 Filed
                                                        Filed
                                                            07/27/20
                                                              06/24/21 Page
                                                                        Page180
                                                                              of of
                                                                                 7 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:20-mj-00168
              REBECCA MOTA GONZALEZ                                )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/26/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Christopher Tomayo attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                      USMS DUSM Christopher Tamayo
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
                8:03
WHOHSKRQHDWBBBBBBBBDPSP

Date:         July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      CaseCase
           1:21-cr-00119-CJN
                3:20-mj-00168 Document
                               Document32-1
                                        1 Filed
                                            Filed
                                                07/27/20
                                                  06/24/21 Page
                                                            Page281
                                                                  of of
                                                                     7 248




STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF CHRISTOPHER TAMAYO
County of Multnomah                   )



             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Christopher Tamayo, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since 2013. I am assigned to the Pacific

Northwest Violent Offender Task Force where I am responsible for conducting fugitive and sex

offender investigations that result in arrest and prosecutions of individuals who are facing

criminal charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I

am authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States.

My training and experience includes completion of a California Peace Officer Standard Training

Academy, the Federal Criminal Investigator Training Program and the U.S. Marshals Service

Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia. I have

also attended additional training provided by other law enforcement entities relating to fugitive

investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Rebecca MOTA GONZALEZ. As set forth below, I have probable cause to believe that MOTA

GONZALEZ committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00168 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page382
                                                                   of of
                                                                      7 248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Christopher Tamayo
         CaseCase
              1:21-cr-00119-CJN
                   3:20-mj-00168 Document
                                  Document32-1
                                           1 Filed
                                               Filed
                                                   07/27/20
                                                     06/24/21 Page
                                                               Page483
                                                                     of of
                                                                        7 248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00168 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page584
                                                                   of of
                                                                      7 248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.      Specifically, on July 26, 2020, federal law enforcement officers attempted to

disperse a crowd in front of the U.S. Hatfield Courthouse in Portland, OR. The crowd was part

of a protest that was declared an unlawful assembly by the Federal Protective Service and a riot

by the Portland Police Bureau. This occurred after violent opportunists destroyed the security

fence in front of the Mark Hatfield Federal Courthouse, and attacked law enforcement officers

by throwing hard objects, throwing explosive devices, and physically attacking them. During the

dispersal Deputy United States Marshal (DUSM) Victim 1 was dressed in a clearly marked

police tactical uniform and was wearing protective equipment to include a gas mask, helmet, and

body armor.

        8.      At approximately 0130 hours DUSM Victim 1 was walking with a group of

officers attempting to clear the park. A female, later identified as Rebecca MOTA GONZALEZ,

and an unknown male, stood directly in front of the line of officers and failed to comply with

orders to disperse. MOTA GONZALEZ stood her ground and this forced officers to stop and

impeded them in their ability to perform their duties of clearing the park. In addition to

numerous general commands to disperse, DUSM Victim 1 gave MOTA GONZALEZ multiple

specific commands to disperse. DUSM Victim 1 told MOTA GONZALEZ to leave or be


 Page 4 – Affidavit of Christopher Tamayo
      CaseCase
           1:21-cr-00119-CJN
                3:20-mj-00168 Document
                               Document32-1
                                        1 Filed
                                            Filed
                                                07/27/20
                                                  06/24/21 Page
                                                            Page685
                                                                  of of
                                                                     7 248




arrested and reached out to remove her gas mask. As DUSM Victim 1 reached for MOTA

GONZALEZ she struck him in the face with a closed fist. A second DUSM observed the assault

and both officers restrained her by placing her on the ground while telling her she was under

arrest. MOTA GONZALEZ was handcuffed after minor resistance. DUSM 2 is also a medic

and asked MOTA GONZALEZ if she needed medical care and she refused.

       9.      On July 26, 2020, I contacted MOTA GONZALEZ in the United States Marshals

Service detention center at the Hatfield Courthouse. I identified myself as a Deputy with the

U.S. Marshals Service wearing my agency issued badge displayed on my duty belt and advised

MOTA GONZALEZ of her Miranda rights. MOTA GONZALEZ stated that she understood her

rights but wanted to speak to a lawyer before making a statement.

       10.     On July 26, 2020, MOTA GONZALEZ’ belongings were searched incident to

arrest and the following were found: a light blue helmet, gas mask, goggles, gloves, phone, and

miscellaneous other items.




                                     Mota Gonzalez’ possessions


 Page 5 – Affidavit of Christopher Tamayo
       CaseCase
            1:21-cr-00119-CJN
                 3:20-mj-00168 Document
                                Document32-1
                                         1 Filed
                                             Filed
                                                 07/27/20
                                                   06/24/21 Page
                                                             Page786
                                                                   of of
                                                                      7 248




                                           Conclusion

       11.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Rebecca MOTA GONZALEZ assaulted a federal employee or officer, in violation of Title 18

U.S.C § 111. I therefore request that the Court issue a criminal complaint and arrest warrant

charging MOTA GONZALEZ with that offense.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Chris Tamayo
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
     8:03 am/pm on July ________,
                           27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Christopher Tamayo
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 87 of 248




           ATTACHMENT 11
                  CaseCase
                       1:21-cr-00119-CJN
                            3:20-mj-00178 Document
                                           Document32-1
                                                    1 Filed
                                                        Filed
                                                            07/30/20
                                                              06/24/21 Page
                                                                        Page188
                                                                              of of
                                                                                 1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-178
                                                                   )
               EVAN LOUIS KRIECHBAUM                               )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/30/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of DHS FPS SA BRYAN TURK attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                         DHS FPS SA BRYAN TURK
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              8:17
WHOHSKRQHDWBBBBBBBBDPSP

Date:             07/30/2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
         Case
           1:21-cr-00119-CJN
               3:20-mj-00178 Document 1-1
                                      32-1 Filed
                                            Filed07/30/20
                                                  06/24/21 Page 1 89ofof6 248
                                                      3:20-mj-178


DISTRICT OF OREGON                    )
                                      ) ss: AFFIDAVIT OF SPECIAL AGENT
County of Multnomah                   )     BRYAN D. TURK




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Bryan D. Turk, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I, Bryan Turk, being duly sworn upon my oath depose and state that I am a

Special Agent for The United States Department of Homeland Security (DHS), Federal

Protective Service (FPS) assigned to the Portland, Oregon FPS office. My duties as an FPS

Special Agent are to conduct Federal investigations and law enforcement duties and enforce the

United States Codes as they relate to all Federal property and employees located in The District

of Oregon. I’ve been employed as a federal law enforcement officer for over 3.5 years with the

Federal Protective Service. My law enforcement history consists of employment with the

Houston Police Department and Federal Protective Service, as an Inspector and Special Agent.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

KRIECHBAUM, Evan Louis. As set forth below, there is probable cause to believe, and I do

believe, that KRIECHBAUM committed the offense of Assault on a Federal Officer, which is a

violation of 18 U.S.C. ௗ Assaulting, resisting, or impeding certain officers or employees.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and
       Case
          Case
            1:21-cr-00119-CJN
                3:20-mj-00178 Document 1-1
                                       32-1 Filed
                                             Filed07/30/20
                                                   06/24/21 Page 2
                                                                 90ofof6 248




experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under § 111(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years. 18 U.S.C. § 111(b) provides for an enhanced penalty; where the assaultive conduct

involves the use of a deadly or dangerous weapon, or causes bodily injury, the offense is

punishable by a term of imprisonment up to 20 years.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau’s (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the




 Page 2 – Affidavit of SA Bryan Turk
        Case
           Case
             1:21-cr-00119-CJN
                 3:20-mj-00178 Document 1-1
                                        32-1 Filed
                                              Filed07/30/20
                                                    06/24/21 Page 3
                                                                  91ofof6 248




Mark O.Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, and assault. The Mark O. Hatfield

Courthouse has experienced significant damage to the façade, glass, and building fixtures during

the weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Mark O. Hatfield Courthouse is in excess of $50,000. Other federal properties in the area

routinely being vandalized include the historic Pioneer Federal Courthouse, the Gus Solomon



         1
          As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland
Oregon area. The federal government owns the entire city block occupied by the Mark O. Federal Courthouse.
Easements have been granted for the sidewalks surrounding the facility. The property boundary extends past the
sidewalks and into the streets surrounding the courthouse.

 Page 3 – Affidavit of SA Bryan Turk
          Case
             Case
               1:21-cr-00119-CJN
                   3:20-mj-00178 Document 1-1
                                          32-1 Filed
                                                Filed07/30/20
                                                      06/24/21 Page 4
                                                                    92ofof6 248




Courthouse, and the Edith Green Wendall Wyatt Federal Office Building. FPS law enforcement

officers, U.S. Marshal Service Deputies and other federal law enforcement officers working in

the protection of the Mark O. Hatfield Courthouse have been subjected to assault, threats, aerial

fireworks including mortars, high intensity lasers targeting officer’s eyes, thrown rocks, bottles

and balloons filled with paint, and vulgar language from demonstrators while performing their

duties.

          6.    On July 30, 2020, at approximately 12:45 a.m., an unknown male, later identified

as Evan KRIECHBAUM, was observed picking up a newly expended tear gas canister thrown

by uniformed federal officers in order to disperse violent opportunists from damaging federal

property. The incident occurred across the street from Hatfield Federal Courthouse, at Lownsdale

Park, near the east sidewalk, near 3rd Ave and SW Salmon Street.      At that time, uniformed

federal law enforcement officers were staged in a linear formation, adjacent to Hatfield Federal

Courthouse to provide exterior security, and to direct violent opportunists away from federal

property. Immediately after the uniformed federal law enforcement officers deployed the canister

of tear gas (on the ground), the federal officers saw KRIECHBAUM pick up the smoking or

“hot” tear gas canister from the ground. They immediately attempted to temporarily detain

KRIECHBAUM for officer safety. The officers did not intend to arrest KRIECHBAUM,

because they did not witness KRIECHBAUM attempting to throw the tear gas canister at law

enforcement.

          7.    During the detention, KRIECHBAUM actively resisted uniformed federal law

enforcement officers, by swinging his left elbow in a rear motion, towards the head and face of

the uniformed law enforcement officer, making physical contact with the left side of the face of


 Page 4 – Affidavit of SA Bryan Turk
      Case
         Case
           1:21-cr-00119-CJN
               3:20-mj-00178 Document 1-1
                                      32-1 Filed
                                            Filed07/30/20
                                                  06/24/21 Page 5
                                                                93ofof6 248




U.S. Customs and Border Patrol Officer #1 (victim). The blow from KRIECHBAUM’S elbow

created enough force to break the airtight seal on Officer #1’s protective mask. In addition to the

protective mask, the Officer 1 was wearing a dark blue uniform marked with “POLICE” and a

helmet. Due to the protective gear, Officer 1 did not display any visible bruising in the areas

where KRIECHBAUM had struck him with his elbow. U.S. Customs and Border Patrol Officer

#2 witnessed KRIECHBAUM resisting, rapidly swing his hands and arms, and jerking away

from law enforcement control. Officer #2 observed KRIECHBAUM hit Officer #1 in the face

with an elbow while KRIECHBAUM actively resisted law enforcement detention. The officers

arrested KRIECHBAUM and transported him to the Hatfield Federal Courthouse for processing.

       8.       On July 30, 2020, at approximately 2:11 a.m., Federal Protective Service

conducted a custodial interview of KRIECHBAUM at the Hatfield USCH. I read

KRIECHBAUM his Miranda Rights, and KRIECHBAUM made voluntary to the officers.

KRIECHBAUM confirmed his name as Evan Louis KRIECHBAUM, and provided his date of

birth. KRIECHBAUM stated he is single man, from Portland, Oregon. I informed

KRIECHBAUM of the assault allegations brought against him. KRIECHBAUM stated that he

actively resisted law enforcement detention and that he “may have” hit a uniformed law

enforcement officer with his elbow. KRIECHBAUM also made that statement that he did not

realize the uniformed law enforcement officers were police officers at the time. KRIECHBAUM

later stated he complied with law enforcement once he realized they were police.

       9.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight, who advised that in his opinion the affidavit and complaint are legally and factually


 Page 5 – Affidavit of SA Bryan Turk
      Case
         Case
           1:21-cr-00119-CJN
               3:20-mj-00178 Document 1-1
                                      32-1 Filed
                                            Filed07/30/20
                                                  06/24/21 Page 6
                                                                94ofof6 248




sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.



                                                     ________________________________
                                                          Bryan Turk
                                                     BRYAN TURK
                                                     Special Agent
                                                     Federal Protective Service


Sworn to by telephone or other reliable means at 8:17
                                                 _____a.m./p.m. in accordance with
                            30
Fed. R. Crim. P. 4.1 this _______day of July 2020.


                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of SA Bryan Turk
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 95 of 248




           ATTACHMENT 12
                Case
                  Case
                     1:21-cr-00119-CJN
                        3:20-cr-00302-HZ Document
                                          Document32-1
                                                    1 Filed
                                                       Filed07/22/20
                                                             06/24/21 Page 196ofof12248


AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 3:20-mj-00160
         GIOVANNI TERRANCE BONDURANT                                )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 22, 2020                in the county of             Multnomah             in the
                       District of            Oregon            , the defendant(s) violated:

            Code Section                                                        Offense Description
18 U.S.C. § 111(a)(1)                           Felony Assault on a Federal Officer




         This criminal complaint is based on these facts:
See attached Affidavit of Federal Protective Services Special Agent Frank Pelligrini.




         Iilf Continued on the attached sheet.                                                                                       /!~
                                                                                                                          (/-~ '1 /
                                                                                       Isl Signed IAW Fed. R. Crim. P.   4.·1,,/4v /
                                                                                               Complainant's signature      t __   }(:;=,
                                                                                 SA Frank Pelligrini, Federal Protective Services
                                                                                                Printed name and title

                                  in accordance with the requirements of Fed. R.


Date:


City and state:                         Portland, Oregon                                              John V. Acosta
                                                                                               Printed name and title
     Case
       Case
          1:21-cr-00119-CJN
             3:20-cr-00302-HZ Document
                               Document32-1
                                         1 Filed
                                            Filed07/22/20
                                                  06/24/21 Page 297ofof12248




DISTRICT OF OREGON                   )
                                     ) ss: AFFIDAVIT OF SPECIAL AGENT
County of Multnomah                  )     FRANK PELLEGRINI


               Affidavit in Support of a Criminal Complaint and Arrest Warrant

I, Frank Pellegrini, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

   1. I, Frank A. Pellegrini have been a criminal investigator (Special Agent) with the Federal

       Protective Service (FPS) since September of 2017. I am currently assigned to the

       Sacramento California area ofresponsibly, investigating violations of federal law in the

       Eastern District of California. I am a sworn federal law enforcement officer and have

       authority to investigate federal offenses pursuant to Title 18 of the United States Code. I

       am certified to work as a criminal investigator with FPS after completing the Federal Law

       Enforcement Training Center's (FLETC) Criminal Investigator Training Program in

       Glynco Georgia. I am also certified to work as a part time Investigator for FPS' Office of

       Internal Investigations (OII) after completing the FLETC based FPS OII Basic Training

       Program. I was a uniformed police officer (Inspector) with FPS from February of 2009

       to September of ;w 17. I was cettified to work as an Inspector with FPS after completing

       FLETC's Uniformed Police Training Program in Glynco, Georgia. During my

       assignment as an Inspector, I was also employed as a K9 officer with FPS from 2011 to

       2017.

   2. I submit this affidavit in suppott of an information for Giovanni Terrance

       BONDURANT. As set fotth below, there is probable cause to believe, and I do believe,

       that BONDURANT committed the following offenses: Assault in violation of 18 U.S.
    Case
      Case
         1:21-cr-00119-CJN
            3:20-cr-00302-HZ Document
                              Document32-1
                                        1 Filed
                                           Filed07/22/20
                                                 06/24/21 Page 398ofof12248




     Code§ 111 (a)(l) when he tackled a Uniformed Federal Law Enforcement Officer

     attempting to affect an arrest in the course of his official duties.

  3. The facts set forth in this affidavit are based on the following: my own personal

     knowledge, knowledge obtained from other individuals during my participation in this

     investigation, including other law enforcement officers, interviews of witnesses, my

     review of records related to this investigation, communication with others who have

     knowledge of the events and circumstances described herein, and information gained

     through my training and experience. Because this affidavit is submitted for the limited

     purpose of establishing probable cause in support of the application for an arrest warrant,

     it does not set forth each fact that I or others have learned during this investigation.

                                        Applicable Law

  4. 18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

     intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

     or on account of the performance of official duties. Under§ 11 l(a), simple assault is a

     misdemeanor; an assault involving physical contact with a victim or an intent to commit

     another felony is a felony. Persons designated in§ 1114 include any officer or employee

     of the United States or of any other agency in any branch of the United States

     government while such officer or employee is engaged in or on account of the

     performance of official duties, and any person assisting such an officer or employee in

     the performance of official duties.




Page 2 -Affidavit of SA Frank A. Pellegrini                     USAO Version Rev. April 2018
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00302-HZ Document
                                Document32-1
                                          1 Filed
                                             Filed07/22/20
                                                   06/24/21 Page 499ofof12248




                                        Statement of Probable Cause

    5. Since on or about May 26, 2020, protesters have gathered in Portland, Oregon's public

         areas to protest. Three of these public areas are Lownsdale Square, Chapman Square and

         Terry Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau's

         (PPB) Central Precinct and the Multnomah County Detention Center (MCDC), border

         these parks, as does the Mark 0. Hatfield United States Federal Courthouse 1• The United

         States of America owns the entire city block (Block #24) occupied by the courthouse

         building depicted below:

                                                           MAP 1




         Daily protests have regularly been followed by nightly criminal activity in the form of

         vandalism, destruction of property, looting, arson, and assault. The most violent of these

         incidents impacting federal property occurred on May 28, 2020, when Portland Field


1 As part ofmy duties, I am familiar with the property boundaries for federal facilities in the Portland Oregon area.

The federal government owns the entire city block occupied by the Mark 0. Federal Courthouse. Easements have
been granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks.
 Page 3 -Affidavit of SA Frank A. Pellegrini                                 USAO Version Rev. April 2018
   Case
     Case
        1:21-cr-00119-CJN
           3:20-cr-00302-HZDocument
                             Document
                                    32-1
                                      1 Filed 07/22/20
                                              06/24/21 Page
                                                       Page 100
                                                            5 of of
                                                                 12248




     Office Immigration and Customs Enforcement (ICE) facility was targeted by a Molotov

     Cocktail. The Mark 0. Hatfield Courthouse has experienced significant damage to the

     fa<;ade and building fixtures during the weeks following this incident. Additionally,

     mounted building security cameras and access control devices have been vandalized

     and/or stolen. The most recent repair estimate for the damage at the Mark 0. Hatfield

     Courthouse is in excess of $50,000. Other federal properties in the area are routinely

     being vandalized to include the historic Pioneer Federal Courthouse, the Gus Solomon

     Courthouse, and the Edith Green Wendall Wyatt Federal Office Building. FPS law

     enforcement officers, U.S. Marshal Service Deputies and other federal law enforcement

     officers working in the protection of the Mark 0. Hatfield Courthouse have been

     subjected to physical assaults, verbal threats, aerial fireworks including mortars, high

     intensity lasers targeting officer's eyes, thrown hard projectiles (rocks, glass bottles and

     metal food cans), thrown balloons filled with paint, thrown bodily waste and vulgar

     language from demonstrators while preforming their duties. On July 11, 2020, a

     protestor physically attacked a US Federal Officer, at the Mark 0. Hatfield Courthouse,

     while carrying out his official duties. The protester struck the officer several times with a

     sledgehammer to the upper body and head.

  6. On July 22, 2020, at approximately 12:26 a.m., violent opportunists threw two Molotov

     cocktails at the southern entrance and started a fire at the front entrance of the Hatfield

     building (Protective Security Officer witnessed via security camera). When

     Agents/Officers attempted to utilize a po1ihole to put the fire out, violent opportunist

     shined laser inside the porthole and tried to throw objects inside the courthouse.


Page 4 -Affidavit of SA Frank A. Pellegrini                    USAO Version Rev. April 2018
       Case
         Case
            1:21-cr-00119-CJN
               3:20-cr-00302-HZDocument
                                 Document
                                        32-1
                                          1 Filed 07/22/20
                                                  06/24/21 Page
                                                           Page 101
                                                                6 of of
                                                                     12248




      7. On July 22, 2020, at approximately 12:30 a.m., at Chapman Park in the downtown

         Portland Oregon area (District of Oregon), Giovanni Terrance BONDURANT (date of

         birth: 12/1/2000) did forcibly assault the Agent Victim l(AV-1), a federal officer, while

         said officer was engaged in the performance of his official duties in violation of Title 18,

         United States Code, Section 111 (a)(2). 2 BONDURANT did forcibly assault the AV-1

         while said officer was engaged in the performance of his official duties in violation of

         Title 18, United States Code, Section 111 (a)(l ).

      8. A.V-1 made a written statement which states the following:

                 On July 22, 2020, I responded with my squad, BORTAC DELTA, to the comer of

                 3rd Street and Main Street to apprehend two rioters with shields who were

                 throwing rocks and bottles at officers and agents. As my team and I walked

                 through Chapman Square Park I could see the two rioters with shields, who had

                 been throwing rocks and bottles, walking in my direction. They were approaching

                 the northeast corner of the park near 3rd Street and Main Street. I announced

                 myself as a U.S. Border Patrol Agent and told both rioters to stop and drop their

                 shields. I approached one of the rioters wearing dark clothing, holding a black

                 shield. I told him to put down the shield, and he refused, and tried to abscond. I

                 grabbed the rioter's arm and began to remove his shield. At this time, I was struck

                 and grabbed from behind by the other rioter. The other rioter was wearing dark

                 clothing with a white backpack, and he was wearing a gas mask. This rioter pulled


2
  The identities of the Agent Victim and Agent Witnesses referenced herein are known to me, and I know them to be
law enforcement officers for the purposes of 18 U .S.C. § 1114. I have withheld their names from this affidavit for
their safety and security.

    Page 5 -Affidavit of SA Frank A. Pellegrini                           USAO Version Rev. April 2018
   Case
     Case
        1:21-cr-00119-CJN
           3:20-cr-00302-HZDocument
                             Document
                                    32-1
                                      1 Filed 07/22/20
                                              06/24/21 Page
                                                       Page 102
                                                            7 of of
                                                                 12248




            me to the ground and began striking my chest and head. I gained control of the

            rioter's hand and arm. I then restrained the rioter and applied flexible restraints to
                        I

             his hands. The rioter continued to try to fight while he was in restraints. At this

            time, Federal Protective Service arrived to assist me and my team and took

             possession of both of the rioters.

  9. Agent Witness 1 (A W-1) made a written statement which states the following:

             On July 22, 2020, I responded with my squad, BORTAC DELTA, to the corner of

             3rd Street and Main Street to apprehend rioters that were assaulting agents and

             officers at the intersection of SW 3rd Avenue and Main Street.



             As I approached the area from the south in Chapman Park, I observed several

             subjects throwing rocks, bottles, fireworks and other unknown objects at agents

             and officers. I focused my attention on two suspects that I observed throwing

             glass bottles and other unknown objects. Both suspects were retreating from

            assaulting agents. They attempted to move south away from agents and officers at

            the intersection of SW 3rd and Main, unbeknownst to them I was approaching

            from the flank with other Agents.



            The first subject, Nicholas YARNELL, was running in my direction, I called out

            Police, Federal Agent and attempted to apprehend the subject. I grabbed a hold of

            his shield. The subject immediately began to flail and attempt to evade arrest.

            AV-1 then approached and called out to the subject again and announced U.S.


Page 6 -Affidavit of SA Frank A. Pellegrini                    USAO Version Rev. April 2018
  Case
    Case
       1:21-cr-00119-CJN
          3:20-cr-00302-HZDocument
                            Document
                                   32-1
                                     1 Filed 07/22/20
                                             06/24/21 Page
                                                      Page 103
                                                           8 of of
                                                                12248




             Border Patrol before grabbing the subject. As AV-1 wrestled with the subject, a

             second suspect that I also observed throwing objects at agents and officers,

             stopped his retreat, and returned in an attempt to tackle AV-1 in an attempt to free

             YARNELL.



             The second subject, Giovanni BONDURANT, struck AV-1 from behind.

             BONDURANT then began to strike AV-1 in an effort to free YARNELL. I

             immediately focused 1ny attention on BONDURANT as A W-2 grabbed a hold of

             YARNELL and placed him under arrest as AV-1 focused on BONDURANT and

             placed him under arrest. At that time, Federal Protective Services Officers arrived

             on the scene to take control of the suspects and place them under arrest and

             transported them to the Hatfield Courthouse for processing.



             Both suspects were dressed in dark clothing, had shields and gas masks in their

             possession.


  10. Agent Witness 2 (A W-2) made a written statement which states the following:

             On July 22, 2020 I was assigned to BORTAC team Delta and responded to the

             corner of 3rd Street and Main Street in order to apprehend two rioters with shields

             who were throwing rocks and bottles at officers and agents. As we walked

             through Chapman Square Park, I turned around and observed AV-1 attempting to

             detain a subject who was actively resistant. I immediately moved to the AV-1 's

             location and gained control ofthe subject AV-I was attempting to detain. I

Page 7 -Affidavit of SA Ji'rank A. Pellegrini                 USAO Version Rev. April 2018
  Case
    Case
       1:21-cr-00119-CJN
          3:20-cr-00302-HZDocument
                            Document
                                   32-1
                                     1 Filed 07/22/20
                                             06/24/21 Page
                                                      Page 104
                                                           9 of of
                                                                12248




            maintained control of the subject until Federal Protective Officers arrived and

            assisted. A Federal Protection Officers then took custody of the subject I detained.


  11. On July 22, 2020, at approximately 5:30 a.m., I conducted an interview with FPS

     Inspector Tremaine MCMILLIAN .. MCMILLIAN stated he was the first FPS Inspector to

     arrive and help the BORTAC officers. MCMILLIAN stated he observed two BORTAC

     officers on the ground struggling to handcuff a subject. MCMILLIAN stated the officers

     were able to handcuff the subject and transferred custody to FPS. MCMILLIAN stated he

     did not see what lead to the detainment.

  12. On July 22, 2020, at approximately 6:00 a.m. I conducted an interview with

     BONDURANT. Below is a summary of the interview:

            I introduced himself as a Special Agent with the Federal Protective Service, began

            an audio recording and advised BONDURANT he would be recoding. I read

            BONDURANT his Miranda warning. I showed BONDURANT the FPS Miranda

            Waiver form and asked if BONDURANT wished to speak with him.

            BONDURANT appeared to read the form as I filled out his name. I asked if

            BONDURANT wished to speak with him. BONDURANT stated sure.



            I asked what happened. BONDURANT stated he was in the park with his friend

            Noah (known to me as Nicholas YARNELL). BONDURNAT stated some

            uniformed officers approached them, didn't speak to anyone and took them into

            custody. I asked where BONDURANT was in the park and used tiles on the wall

            to depict the Mark 0. Hatfield Federal Courthouse and the Chapman Park.

Page 8-Affidavit of SA Frank A. Pellegrini                   USAO Version Rev. April 2018
  Case
    Case
       1:21-cr-00119-CJN
          3:20-cr-00302-HZ Document
                            Document32-1
                                      1 Filed
                                         Filed07/22/20
                                               06/24/21 Page 10
                                                             105ofof12248




            BONDURANT showed I was in Chapman Park by physically pointing to the

            center of the tile I depicted as Chapman Park. I asked where the uniformed

            officers arrived. BONDURANT stated he didn't know. I referenced

            BONDURANT and his friend having homemade shields. BONDURANT stated

            they had picked up some shields from the ground and stated they did not make

            them.



            I stated BONDURANT's friend had informed the two were throwing rocks.

            BONDURANT stated he didn't throw anything as be had his shield in his hand.

            BONDURANT then stated his friend was getting arrested and they had gotten

            split up. I asked what happened when BONDURANT's friend was getting

            arrested. BONDURANT stated, he went to go pick him up and help him, when he

            was tackled. I asked if BONDURANT came into contact with the officers when

            he was trying to help his friend. BONDURANT stated officers came into contact

            with him, adding he didn't contact the officers.



            I re-stated how BONDURANT grabbed his friend and asked what had happened

            next. BONDURANT stated the officers then grabbed him and took his mask off. I

            asked if there was a struggle. BONDURANT stated, probably, because he was

            pissed as fuck because that they took his mask off. BONDURANT then clarified

            his answer with, most likely.




Page 9 -Affidavit of SA Frank A. Pellegrini                    USAO Version Rev. April 2018
  Case
    Case
       1:21-cr-00119-CJN
          3:20-cr-00302-HZ Document
                            Document32-1
                                      1 Filed
                                         Filed07/22/20
                                               06/24/21 Page 11
                                                             106ofof12248




            I asked BONDURANT to describe how the officers where dressed.

            BONDURANT stated the officers were dressed in desert camouflage. I asked if

            the BONDURANT exchanged strikes with the officer during his detainment.

            BONDURANT denied striking the officer stating he only tried to help his friend

            up.



            I warned BONDURANT about lying and asked if he had exchanged strikes with

            the officer, or if the officer had struck him. BONDURANT stated, he didn't get

            hit or anything. I asked about when BONDURANT ran towards his friend to help

            him up, if it was possible that BONDURANT contacted the officer at that point.

            BONDURANT stated it was possible, but if it happened it wasn't intentional.

            BONDURANT explained he ran towards his friend with his shield in one hand,

            tried to help his friend get up and was then detained. I asked BONDURANT to

            clarify whether he was struck, or if he struck officers. BONDURANT stated it

            was possible that when he was picking his friend up, he could have ran into the

            officer. BONDURANT clarified even though there were about five officers

            involved, he still tried to pick his friend up, was able to touch his friend, but was

            unsuccessful at getting his friend to his feet.



            SA MILLER asked BONDURANT what his shield looked like. BONDURANT

            stated the shield was a circular shield. SA MILLER asked if he was holding it

            with both hands. BONDURANT stated the shield was a one-handed shield. SA

Page 10 -Affidavit of SA Frank A.                             USAO Version Rev. April 2018
Pellegrini
  Case
    Case
       1:21-cr-00119-CJN
          3:20-cr-00302-HZ Document
                            Document32-1
                                      1 Filed
                                         Filed07/22/20
                                               06/24/21 Page 12
                                                             107ofof12248




             MILLER asked what BONDURANT's purpose was when trying to help him.

             BONDURANT stated he was trying to help him up. I then ended the interview.


                                         Conclusion

  13. Based on the foregoing, I have probable cause to believe, and I do believe, that Giovanni

     BONDURANT committed felony Assault on a Federal Officer, in violation of Title 18

     U.S.C § 111 (a)(l). I therefore request the Court issue an arrest warrant and complaint

     for Giovanni BONDURANT.



  14. Prior to being submitted to the Court, this affidavit, the accompanying complaint and the

     arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Paul

     Maloney. In his opinion the affidavit and complaint are legally and factually sufficient to

     establish probable cause to support the issuance of the requested criminal complaint and

     arrest warrant.

                                                                                            ~-""' (\\
                                                    Sworn to by telephone                  ( \ er-}
                                                    In accordance with Fed. R. Crim. P. 4. f't-V~f      '
                                                    Frank Pellegrini                         ,j
                                                    Special Agent
                                                    Federal Protective Service


     Sworn to by telephone or other reliable means at/v.'.S((Q\.fp.m. in accordance with

                                    of July 2020.



                                                    HONQMBLE JOHN V. ACOSTA
                                                    Unitedl~gltes Magistrate Judge

Page 11-Affidavit of SA Frank A.                             USAO Version Rev. April 2018
Pellegrini
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 108 of 248




            ATTACHMENT 13
                 Case
                    Case
                      1:21-cr-00119-CJN
                          3:20-cr-00295-HZDocument
                                            Document
                                                   32-1
                                                      1 Filed
                                                        Filed 06/24/21
                                                              07/27/20 Page
                                                                        Page109
                                                                             1 ofof1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-00175
                                                                   )
                       Patrick Stafford                            )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/27/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Kyle Cozart attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                          USMS DUSM Kyle Cozart
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
              12:40

Date:          July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00295-HZ Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page110
                                                                     1 of
                                                                       of 6248

                                                                         3:20-mj-00175

STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF KYLE COZART
County of Multnomah                   )




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Kyle Cozart, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since August of 2017. I am assigned to the

District of Oregon where I am responsible for conducting fugitive and sex offender

investigations that result in arrest and prosecutions of individuals who are facing criminal

charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I am

authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States. My

training and experience includes completion of the Federal Criminal Investigator Training

Program and the U.S. Marshals Service Basic Academy at the Federal Law Enforcement

Training Center in Glynco, Georgia. I have also attended additional training provided by other

law enforcement entities relating to fugitive investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Patrick STAFFORD. As set forth below, I have probable cause to believe that Patrick

STAFFORD committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00295-HZ Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page111
                                                                     2 of
                                                                       of 6248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Kyle Cozart
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00295-HZ Document
                                  Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       07/27/20 Page
                                                                 Page112
                                                                       3 of
                                                                         of 6248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00295-HZ Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page113
                                                                     4 of
                                                                       of 6248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while performing

their duties.

        7.      Specifically, on July 27, 2020, federal law enforcement officers attempted to

disperse a crowd on 3rd Avenue between Main and Salmon streets in Portland, OR after the

Federal Protective Service (FPS) declared an unlawful assembly multiple times. This occurred

after violent opportunists attempted to destroy the security fence in front of the Mark Hatfield

Federal Courthouse with power tools. Additionally, violent opportunists attacked law

enforcement officers by throwing hard objects, throwing explosive devices, and physically

attacking them. During the dispersal Deputy United States Marshal (DUSM) Victim 1 was

dressed in a clearly marked police tactical uniform and was wearing protective equipment to

include a gas mask, helmet, and body armor.

        8.      At approximately 01:30 hours, DUSM Victim 1 was walking with a group of

officers when a group of subjects formed a line in front of them. Officers were ordering the

subjects to disperse, and they failed to comply with repeated orders. As the United States

Marshals Service (USMS) line approached, individuals holding shields began to group in

Lownsdale park. As deputies approached, an individual later identified as Brodie Storey lurched

forward and attempted to tackle DUSM Victim 1. DUSM Victim 1 struggled and went to the

ground. Subsequently, DUSM Victim 1 attempted to place Brodie Storey under arrest, but Storey


 Page 4 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00295-HZ Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page114
                                                                     5 of
                                                                       of 6248




was violently resisting. DUSM Victim 1 instructed Storey to place his hands behind his back.

Storey continued to resist, refused to comply with orders, and squeezed his arms under his chest.

During this time, DUSM Victim 1 was getting hit with bottles and other projectiles from

members of the crowd. As DUSM Victim 1 was attempting to gain control of Storey’s arms,

another individual later to be known as Patrick STAFFORD, assaulted DUSM Victim 1 with a

shield. STAFFORD attempted to stop the arrest by slamming a shield into DUSM Victim 1 so

that Storey could escape. Subsequently, STAFFORD was restrained by another responding

DUSM and placed under arrest. Once on the ground, STAFFORD was compliant and obeyed all

commands. Storey continued to refuse to comply with orders and fought with officers, resulting

in DUSM Victim 1 utilizing his taser. DUSM Victim 1 was able to gain compliance after the

application of the taser and Brodie Storey was placed under arrest.


                                           Conclusion

       9.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Patrick STAFFORD assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111.

I therefore request that the Court issue a criminal complaint and arrest warrant charging Patrick

STAFFORD with that offense.

//



//



//



 Page 5 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00295-HZ Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page115
                                                                     6 of
                                                                       of 6248




       10.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Kyle Cozart
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
    12:40 am/pm on July ________,
                           27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Kyle Cozart
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 116 of 248




            ATTACHMENT 14
                 CaseCase
                      1:21-cr-00119-CJN
                          3:20-cr-00205-IMDocument
                                            Document
                                                   32-1
                                                      1 Filed
                                                        Filed 06/24/21
                                                              07/06/20 Page
                                                                        Page117
                                                                             1 ofof8 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 3:20-mj-00148
                   TAIMANE JAME TEO,                                )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     July 6, 2020                in the county of             Multnomah           in the
                       District of            Oregon            , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111                                 Assault on a federal officer




         This criminal complaint is based on these facts:
See Attached Affidavit of Federal Protective Service Senior Special Agent Micah Coring.




         ✔ Continued on the attached sheet.
         u

                                                                                      /s/ Signed IAW Fed. R. Crim. P. 4.1
                                                                                               Complainant’s signature

                                                                                   Micah Coring, Senior Special Agent, FPS
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              12:39. Xxx
WHOHSKRQHDWBBBBBBBBDPSP

Date:            July 6, 2020
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                        HON. JOLIE A RUSSO, U.S. Magistrate Judge
                                                                                                Printed name and title
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00205-IMDocument
                                 Document
                                        32-1
                                           1 Filed
                                             Filed 06/24/21
                                                   07/06/20 Page
                                                             Page118
                                                                  2 ofof8 248




DISTRICT OF OREGON                    )
                                      ) ss:          AFFIDAVIT OF MICAH CORING
County of Multnomah                   )

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Micah Coring, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Special Agent with the Federal Protective Service (FPS) and have been

since 2009. My current assignment is the Federal Protective Service Field Office in Portland,

Oregon assigned to investigate general crimes and in the capacity of a part time investigator for

the FPS Office of Internal Investigations (OII) and liaison for the Federal Bureau of Investigation

(FBI) Joint Terrorism Task Force (JTTF). My training and experience includes graduating

from the Federal Law Enforcement Training Center’s Criminal Investigator Training Program in

August 2009. I have experience investigating crimes against federal employees including threats

and assaults on federal government employees, to include law enforcement officers.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Taimane Jame TEO. As set forth below, there is probable cause to believe, and I do believe, that

TEO committed the following offenses: Assault in violation of 86&RGHௗ11.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable
        CaseCase
             1:21-cr-00119-CJN
                 3:20-cr-00205-IMDocument
                                   Document
                                          32-1
                                             1 Filed
                                               Filed 06/24/21
                                                     07/06/20 Page
                                                               Page119
                                                                    3 ofof8 248




cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                                Applicable Law

         4.       18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                        Statement of Probable Cause

         5.       Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau’s (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the

Mark O.Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland area. The
federal government owns the entire city block occupied by the Mark O. Federal Courthouse. Easements have been
granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks and into the
streets surrounding the courthouse.
    Page 2 – Affidavit of SA Micah Coring                                   USAO Version Rev. April 2018
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00205-IMDocument
                                 Document
                                        32-1
                                           1 Filed
                                             Filed 06/24/21
                                                   07/06/20 Page
                                                             Page120
                                                                  4 ofof8 248




       6.      Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. Most violent of these

impacting federal property occurred on May 28, 2020, when the Portland Field Office for the

Immigration and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Hatfield

Courthouse has experienced significant damage to the façade and building fixtures during the six

weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Mark O. Hatfield Courthouse is in excess of $50,000, and there has been additional

extensive damage since then. Other federal properties in the area routinely being vandalized

include the historic Pioneer Federal Courthouse, the Gus Solomon Courthouse, and the Edith

Green Wendall Wyatt Federal Office Building. FPS law enforcement officers, Deputy U.S.

Marshals, and other federal law enforcement officers working to protect the Hatfield Courthouse

have been subjected to threats, aerial fireworks (including mortars), high intensity lasers
 Page 3 – Affidavit of SA Micah Coring                          USAO Version Rev. April 2018
        CaseCase
             1:21-cr-00119-CJN
                 3:20-cr-00205-IMDocument
                                   Document
                                          32-1
                                             1 Filed
                                               Filed 06/24/21
                                                     07/06/20 Page
                                                               Page121
                                                                    5 ofof8 248




targeting officers’ eyes, thrown rocks, bottles, and balloons filled with paint, and vulgar language

from demonstrators while preforming their duties.

         7.      On July 6, 2020, TEO assaulted federal law enforcement officers by directing a

laser, a device that generates an intense beam of coherent monochromatic light (or other

electromagnetic radiation) by stimulated emission of photons from excited atoms or molecules,

towards officers during the performance of their duties on federal property, at the Mark O.

Hatfield Federal Courthouse.

         8.      On July 6, 2020, SA Coring interviewed United States Border Patrol (USBP)

Tactical (BORTAC) Agent Adult Victim 1 (AV1) 2. Agent AV1 related he was in an overlook

position on the 9th floor of the Hatfield USCH. Agent AV1 stated a green laser was shined into

his eyes from the park below by a white male demonstrator wearing a black hoodie and cross-

body satchel. Agent AV1 said he relayed the subject’s location and description to BORTAC

arrest teams and kept his eyes on the subject from the time the laser was shined into his eyes until

the subject was apprehended by fellow BORTAC Agent AUUHVWLQJ$JHQW1 $$ . Agent AV1

said he still could see spots in his vision since the laser was shined in his eyes 15 minutes earlier.

         9.      On July 6, 2020, SA David Miller interviewed Border Patrol Agent AA1 at the

Hatfield USCH. Border Patrol Agent AA1 related he was operating as a member of an arrest

team to locate a subject wearing black clothing, a cross-body satchel, overalls, a hoodie, and a

backpack. Agent AA1 said the subject was standing on the front steps on the Hatfield USCH

when Agent AA1 and his team exited the building. The subject ran across


2
  The identities of AV1 and AA1 are known to investigators in this case. Both are federal officers working to secure
the courthouse during the on-going civil unrest. Their identities are being withheld from this affidavit for their
safety.

    Page 4 – Affidavit of SA Micah Coring                                  USAO Version Rev. April 2018
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00205-IMDocument
                                 Document
                                        32-1
                                           1 Filed
                                             Filed 06/24/21
                                                   07/06/20 Page
                                                             Page122
                                                                  6 ofof8 248




the street into Lownsdale Square and Agent AA1 said he could see a green laser flickering in the

subject’s hand as his arms pumped back and forth while running. Agent AA1 was able to

apprehend the subject and search incident to arrest, Agent AA1 discovered a green laser on the

subject’s person.

       10.     On July 6, 2020, SA Coring and SA Desens interviewed TEO in the United States

Marshalls Service (USMS) detention center at Hatfield USCH. SA Coring introduced himself

and SA Desens presenting their credentials. SA Coring read Miranda Warning to TEO who

indicated he understood them and would like to speak without an attorney present. TEO said he

had never been down to the ongoing protests in front of the Justice Center before but came down

to observe and paint stuff. SA Coring asked TEO why he was arrested and TEO said he didn’t

know. SA Coring asked TEO why he had a laser. TEO said he had always wanted one because

he had seen them at The Oregon Fair, hadn’t tried it yet, and knows not to shine it in a person’s

face. TEO said he ordered the laser from Amazon. When asked if his Amazon account would

reflect this purchase, TEO said it wouldn’t because a friend bought it from him. SA Coring

asked who his friend was and how the laser came to be in TEO’s possession. TEO related that

he doesn’t know his friend’s real name and calls him “Elbow”. TEO said he has never been to

Elbows house and met him in the park. TEO said Elbow bought the lasers in bulk and sold him

one for $20 in the park earlier in the evening. SA Coring asked TEO what he intended to use the

laser for. TEO said he did internet research about what to bring to protests and a laser was an

item recommended. SA Coring asked again what TEO intended to do with the laser and TEO

said he thought it would be able to make shapes, but when he tried it, it was just a straight beam.

TEO again stated he knows he shouldn’t shine it in people’s faces. SA Coring reminded TEO of


 Page 5 – Affidavit of SA Micah Coring                          USAO Version Rev. April 2018
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00205-IMDocument
                                 Document
                                        32-1
                                           1 Filed
                                             Filed 06/24/21
                                                   07/06/20 Page
                                                             Page123
                                                                  7 ofof8 248




his earlier statement when he said he hadn’t tried the laser yet. TEO admitted to using the laser

but would not say where he had shined it. SA Coring asked if he was shining the laser at

buildings or trees and TEO said into the trees. SA Coring said he would be interviewing other

people who had been arrested and asked TEO what he thought they would say about what he did

with the laser. TEO said others will say I was shining it at trees. TEO then asked to speak with

an attorney before continuing questioning and the interview was concluded.

                                            Conclusion

       11.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Taimane Jame TEO committed Assault in violation of Title 18 U.S.C § 111. I therefore request

that the Court issue a criminal complaint and arrest warrant for Taimane Jame TEO.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Paul T.

Maloney, and AUSA Maloney advised me that in his opinion the affidavit and complaint are

legally and factually sufficient to establish probable cause to support the issuance of the

requested criminal complaint and arrest warrant.


                                                      /s/ Micah Coring signed by telephone
                                                      In accordance with Fed. R. Crim. P. 4.1
                                                      Micah CORING
                                                      Senior Special Agent
                                                      Federal Protective Service

       Sworn to by telephone or other reliable means at _____a.m./p.m.
                                                        12:39xxx       in accordance with

Fed. R. Crim. P. 4.1 this _______
                             6 day of July 2020.


                                                      ________________________________
                                                      HONORABLE JOLIE A. RUSSO

 Page 6 – Affidavit of SA Micah Coring                           USAO Version Rev. April 2018
    CaseCase
         1:21-cr-00119-CJN
             3:20-cr-00205-IMDocument
                               Document
                                      32-1
                                         1 Filed
                                           Filed 06/24/21
                                                 07/06/20 Page
                                                           Page124
                                                                8 ofof8 248




                                          United States Magistrate Judge




Page 7 – Affidavit of SA Micah Coring               USAO Version Rev. April 2018
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 125 of 248




            ATTACHMENT 15
                 CaseCase
                      1:21-cr-00119-CJN
                          3:20-cr-00224-IMDocument
                                            Document
                                                   32-1
                                                      1 Filed
                                                        Filed 06/24/21
                                                              07/06/20 Page
                                                                        Page126
                                                                             1 ofof1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
            GRETCHEN MARGARET BLANK
                                                                    )      Case No. 3:20-mj-00149
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 5, 2020,                in the county of             Multnomah        in the
                       District of            Oregon            , the defendant(s) violated:

            Code Section                                                      Offense Description
18 USC 111(a)(1)                                Assaulting, resisting, impeding, and interfeing with a federal officer




         This criminal complaint is based on these facts:
See the attached affidavit of Special Agent Brian Desens, Federal Protective Service.




         ✔ Continued on the attached sheet.
         u

                                                                                                  (By telephone)
                                                                                               Complainant’s signature

                                                                                      Brian Desens, Special Agent, FPS
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
             3:03. Xxx
Date:        July 6, 2020
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                        Honorable Jolie Russo, U.S. Magistrate Judge
                                                                                                Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page127
                                                                    1 of
                                                                       of9248

                                                                        3:20-mj-00149

STATE OF OREGON                        )
                                       ) ss:                  AFFIDAVIT OF BRIAN DESENS
County of Multnomah                    )

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Brian Desens, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am employed as a Special Agent (SA) with the Federal Protective Service (FPS)

and have been employed by FPS since October 2017. I have participated in several

investigations relating to the protection of federal facilities and personnel. I am currently

assigned to the FPS Headquarters Rapid Protection Force. I graduated from the Federal Law

Enforcement Training Academy (FLETC) Criminal Investigator Training Program in 2018, and

FLETC’s Uniformed Police Training Program in 2013. I received a bachelor’s degree in Law

and Justice from Central Washington University in 2015.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Gretchen Margaret BLANK. As set forth below, I have probable cause to believe that BLANK

forcibly assaulted, resisted, impeded, and interfered with federal officers, in violation of 18

U.S.C. § 111(a)(1).

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable


 Page 1 – Affidavit of SA Brian Desens
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00224-IM Document
                                  Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       07/06/20 Page
                                                                 Page128
                                                                      2 of
                                                                         of9248




cause in support of an application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

         4.     18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

         5.     Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O. Hatfield United States Courthouse, are

directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




1
  The federal government owns the entire city block occupied by the Mark O. Federal
Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 2 – Affidavit of SA Brian Desens
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page129
                                                                    3 of
                                                                       of9248




       6.      Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. Most violent of these

impacting federal property occurred on May 28, 2020, when the Portland Field Office for the

Immigration and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Hatfield

Courthouse has experienced significant damage to the façade and building fixtures during the six

weeks following that incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Hatfield Courthouse exceeds $50,000, and there has been additional and extensive damage

since then. Other federal properties in the area routinely being vandalized include the historic

Pioneer Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt

Federal Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal

law enforcement officers working to protect the Hatfield Courthouse have been subjected to


 Page 3 – Affidavit of SA Brian Desens
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page130
                                                                    4 of
                                                                       of9248




threats, aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown

rocks, bottles, and balloons filled with paint, and vulgar language from demonstrators while

preforming their duties.

       7.      On July 5, 2020, at approximately 2:38 a.m., Gretchen BLANK assaulted,

obstructed, resisted, impeded, and interfered with FPS and United States Border Patrol (USBP)

agents during the performance of their official duties. BLANK assaulted USBP Agent

Christopher Smilo with a shield and obstructed, impeded, and interfered with agents who were

trying to arrest another individual suspected of assaulting USBP Agent Michael Marino with a

laser. These actions contributed to USBP Agent Smilo being pushed off balance and diverted

USBP Agent Michael Newborn’s attention from the arrest of the original suspect.

       8.      On July 5, 2020, at approximately 3:00 a.m., Agent Marino told me he was at the

corner of SW Third Avenue and SW Salmon Street when he was hit in the chest by a green laser.

The laser moved up from his chest into his face, hitting him in the eyes for a moment. The laser

was moved to target other officers and agents in the area. Agent Marino saw the person who was

using the laser to target him and other officials standing across the street at SW Third and SW

Salmon, near a parking entrance garage. Agent Marino saw that person attempting to target

other officers with the laser. Agent Marino said the person was lit up by ambient light from

either a street lamp or exterior building lighting. Agent Marino pointed the subject out to other

agents and broadcast information about the suspect over his radio. Agent Marino saw the

suspect tuck back into the parking garage entrance, where he appeared to speak to a woman. The

suspect then came out of the garage entrance and walked north on SW Third Avenue towards

SW Taylor St. The suspect was taken into custody by an arrest team at SW Third Avenue and


 Page 4 – Affidavit of SA Brian Desens
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page131
                                                                    5 of
                                                                       of9248




SW Taylor St. During the arrest, Agent Marino saw a woman carrying a shield attempt to run

into the arrest team. Both the man and the woman were taken into custody by the arrest team.

Agent Marino said the female who attempted to run into the arrest team may have been the same

person the man was with at the parking garage entrance.

       9.      FPS Inspector Brad O’Neal told me that he was part of the team that went to

arrest the suspect who pointed the laser at Agent Marino. The suspect saw them coming and

began walking north on SW Third toward SW Taylor St. The suspect was taken to the ground at

Taylor. While they were arresting him, a woman interfered and was taken into custody as well.

       10.     USBP Agents Christopher Smilo and Michael Newburn were also part of the team

that arrested the suspect. Agent Newburn told me that their team saw the suspect walking north

on Third toward SW Taylor St. Agent Smilo attempted to take the suspect into custody. The

suspect resisted. Agent Smilo had the suspect’s right arm, while Agent Newburn was trying to

secure the suspect’s left arm, which the suspect tried to keep under his body. While they were

trying to secure the suspect, BLANK approached and tried to push Agent Smilo off the suspect

using a shield, causing Agent Smilo to lose his balance. BLANK and the suspect were both

taken into custody and were taken to the Hatfield Courthouse.

       11.     At about 3:48 a.m., Agent Miller and I attempted to interview BLANK in the

Marshals Service detention facility in the Hatfield Courthouse. BLANK provided basic

biographical information such as her name and date of birth, but, after being of her Miranda

rights, declined to make a statement.

       12.     During a follow-up interview on July 6, 2020, Agent Smilo told me BLANK hit

him in the back with some sort of shield while he was trying to arrest the male suspect, causing


 Page 5 – Affidavit of SA Brian Desens
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page132
                                                                    6 of
                                                                       of9248




Agent Smilo to lose his balance and collide with Agent Newborn. Agent Smilo described the

shield as white in color, shaped like a stop sign, and possibly made of plastic. Agent Smilo said

that the male was actively resisting arrest. He and Agent Newburn eventually secured the male.

Agent Smilo was not sure who took BLANK into custody.

       13.     During a follow-up interview on July 6, 2020, Agent Newburn told me that the

shield BLANK used to push Agent Smilo may have been diamond shaped and appeared

“flimsy.” BLANK hit Agent Smilo in the back with the shield, causing Agent Smilo to fall into

Agent Newburn and knock Agent Newburn backwards. The male suspect continued to resist,

and it took about 30 to 45 seconds to take him into custody. Agent Newburn was not injured

during the arrest, although the male suspect was bleeding from his left elbow.

       14.     On July 6, 2020, I returned to the Hatfield Courthouse and located what I believe

was the shield BLANK used to strike Agent Smilo. The shield was in the front lobby area, by

the security screening area. The shield is flat, is white on one side with two black nylon straps,

and has a mirrored finish on the opposite side. The shield is octagonal and made mostly of a

plastic-type material. I texted pictures of the shield to Agents Smilo and Newburn. Agent

Newburn was unable to identify the shield. Agent Smilo confirmed the shield was the one

BLANK used to strike him. Photos of the shield appear below.




 Page 6 – Affidavit of SA Brian Desens
    Case
      Case
         1:21-cr-00119-CJN
            3:20-cr-00224-IM Document
                              Document32-1
                                        1-1 Filed
                                             Filed06/24/21
                                                   07/06/20 Page
                                                             Page133
                                                                  7 of
                                                                     of9248




Page 7 – Affidavit of SA Brian Desens
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page134
                                                                    8 of
                                                                       of9248




                                           Conclusion

       15.     Based on the foregoing, I have probable cause to believe that Gretchen Margaret

BLANK forcibly assaulted, impeded, resisted, and interfered with federal law enforcement

agents who were performing their official duties, in violation of 18 U.S.C. § 111(a)(1). I

therefore request that the Court issue a criminal complaint and arrest warrant charging BLANK

with that offense.

       16.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Gary

Sussman. AUSA Sussman advised me that in his opinion, the affidavit and complaint are legally

 Page 8 – Affidavit of SA Brian Desens
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00224-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/06/20 Page
                                                               Page135
                                                                    9 of
                                                                       of9248




and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.


                                                     (By telephone)
                                                     Brian Desens
                                                     Special Agent
                                                     Federal Protective Service

       Sworn to by telephone or other reliable means in accordance with Fed. R. Crim. P. 4.1 at

  3:03. Xxx
_______                 6 2020.
        am/pm on July _____,



                                                     ________________________________
                                                     HONORABLE JOLIE RUSSO
                                                     United States Magistrate Judge




 Page 9 – Affidavit of SA Brian Desens
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 136 of 248




            ATTACHMENT 16
                 Case
                    Case
                      1:21-cr-00119-CJN
                         3:20-cr-00212-MODocument
                                            Document
                                                  32-11 Filed
                                                         Filed06/24/21
                                                               07/06/20 Page
                                                                         Page137
                                                                              1 ofof9248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                  CHRISTOPHER FELLINI
                                                                    )      Case No. 3:20-mj-00150
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 5, 2020,                in the county of             Multnomah         in the
                       District of            Oregon            , the defendant(s) violated:

            Code Section                                                       Offense Description
18 USC 111(a)(1)                                Assaulting a federal officer




         This criminal complaint is based on these facts:
See the attached affidavit of Senior Special Agent David Miller, Federal Protective Service.




         ✔ Continued on the attached sheet.
         u

                                                                                                  (By telephone)
                                                                                               Complainant’s signature

                                                                                    David Miller, Senior Special Agent, FPS
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              3:14pmxxxxxx
WHOHSKRQHDWBBBBBBBBDPSP

Date:      July 6, 2020
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                        Honorable Jolie Russo, U.S. Magistrate Judge
                                                                                                Printed name and title
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page138
                                                                   2 ofof9248




STATE OF OREGON                        )
                                       ) ss:                  AFFIDAVIT OF DAVID MILLER
County of Multnomah                    )

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, David Miller, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am employed as a Senior Special Agent (SSA) with the Federal Protective

Service (FPS) and have been employed by FPS since October 2009. I have participated in

several investigations relating to the protection of federal facilities and personnel. I am currently

assigned to Region 10 in Portland, Oregon as a general crimes agent. I am also a Task Force

Officer for the United States Marshals Service (USMS) Pacific Northwest Violent Offender Task

Force, a part time investigator for the FPS Office of Internal Investigations (OII), and a liaison

for the Federal Bureau of Investigation (FBI) Joint Terrorism Task Force (JTTF). From April

2006 to October 2009, I was a Special Agent with the Naval Criminal Investigative Service

(NCIS) serving as a member of the Major Crimes Response Team (MCRT) and a Foreign

Counterintelligence agent. Before that, I was a Special Agent with the Bureau of Alcohol,

Tobacco, Firearms and Explosives (ATF) in Yakima, Washington, a Federal Air Marshal, an

ATF Inspector, and a police officer in several cities. I started my law enforcement career in

1991. I graduated from the FPS Advanced Individual Training Program in November 2009. I

graduated from the NCIS Advanced Individual Academy in 2006. I graduated from the ATF

National Academy in June of 2003. I graduated from the Federal Law Enforcement Training

Center Criminal Investigator Course in March of 2003. I graduated from the Federal Law

Enforcement Training Center Civil Aviation Security Specialist Course in February of 2002 and


 Page 1 – Affidavit of David Miller
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page139
                                                                   3 ofof9248




the ATF Inspector Course in January of 2001. I graduated from the U.S. Army Military

Intelligence Officer Basic Course in August of 1996 and the U.S. Army Military Intelligence

Enlisted Course in February of 1988. I received a bachelor’s degree in Social Sciences at

Emporia State University in 1992 and an Associate Degree in Criminal Justice at Barton County

Community College in 1995. As a result of my training and experience as an FPS Special

Agent, I am familiar with federal criminal laws.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Christopher FELLINI. As set forth below, I have probable cause to believe that FELLINI

committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a


 Page 2 – Affidavit of David Miller
        Case
           Case
             1:21-cr-00119-CJN
                3:20-cr-00212-MODocument
                                   Document
                                         32-11 Filed
                                                Filed06/24/21
                                                      07/06/20 Page
                                                                Page140
                                                                     4 ofof9248




felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                  Statement of Probable Cause

          5.     Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,

are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of David Miller
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page141
                                                                   5 ofof9248




       6.      Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. Most violent of these

impacting federal property occurred on May 28, 2020, when the Portland Field Office for the

Immigration and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Hatfield

Courthouse has experienced significant damage to the façade and building fixtures during the six

weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage

since then. Other federal properties in the area routinely being vandalized include the historic

Pioneer Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt

Federal Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal

law enforcement officers working to protect the Hatfield Courthouse have been subjected to


 Page 4 – Affidavit of David Miller
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page142
                                                                   6 ofof9248




threats, aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown

rocks, bottles, and balloons filled with paint, and vulgar language from demonstrators while

preforming their duties.

       7.      On July 5, 2020, FELLINI assaulted federal law enforcement officers by pointing

a laser, a device that generates an intense beam of coherent monochromatic light (or other

electromagnetic radiation) by stimulated emission of photons from excited atoms or molecules,

towards officers during the performance of their duties at the Hatfield Courthouse.

       8.      On July 5, 2020, United States Border Patrol (USBP) Tactical Agent Raymond

Kent told me he was in the area of SW Third Avenue and SW Salmon Street with his tactical

team providing security outside of the Hatfield Courthouse. When Agent Kent’s team started to

move back inside the courthouse, he saw a green laser coming from Lownsdale Park target his

upper body and face. Another agent announced that a laser was being pointed at the team from

Lownsdale Park. The team stopped and repositioned in front of the pillars fronting the

courthouse. Agent Kent saw FELLINI approximately 40 yards away behind some trees in the

park. Agent Kent could also see a green laser FELLINI was holding occasionally hitting the

leaves on the tree FELLINI was hiding behind. Agent Kent told me that Tactical Agent Jesse

Serio, who was standing directly next to him, saw Agent Kent get struck by the laser.

       9.      Agent Kent’s team started toward Lownsdale Park. As they did so, FELLINI ran

off towards SW Third and Salmon. Agent Kent saw FELLINI throw a black cylindrical laser on

the ground. Agent Kent grabbed FELLINI. FELLINI pulled away, causing both of them to fall

to the ground. Agent Kent sustained abrasions to his left hand and arm during the fall. FELLINI

was taken into custody and the laser was immediately recovered. FELLINI also had a small can


 Page 5 – Affidavit of David Miller
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page143
                                                                   7 ofof9248




of Mace brand Pepper Gel and a small knife on his person. FELLINI is a white male in his early

20s, who wore all black clothing with a hoodie and a white colored N95 protective mask. A

photo of Agent Kent’s injuries appears below.




                                       Agent Kent’s left hand

       10.     On July 6, 2020, I contacted FELLINI in the United States Marshals Service

detention center at the Hatfield Courthouse. I identified myself with my agency-issued

credentials and advised FELLINI of his Miranda Rights. FELLINI did not wish to make a

statement.

       11.     On July 6, 2020, FELLINI’S belongings were searched incident to arrest and the

following were found: black clothing, three pairs of gloves, a can of Mace brand Pepper gel, a

CRKT two-inch knife, and a green laser emitter that is about six inches long.




 Page 6 – Affidavit of David Miller
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page144
                                                                   8 ofof9248




                                        Fellini’s possessions




                                Pepper Gel, Knife, Laser, misc. items

                                           Conclusion

       11.    Based on the foregoing, I have probable cause to believe, and I do believe, that

Christopher FELLINI assaulted a federal employee or officer, in violation of Title 18 U.S.C




 Page 7 – Affidavit of David Miller
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00212-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    07/06/20 Page
                                                              Page145
                                                                   9 ofof9248




§ 111. I therefore request that the Court issue a criminal complaint and arrest warrant charging

FELLINI with that offense.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Gary

Sussman. AUSA Sussman advised me that in his opinion, the affidavit and complaint are legally

and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.


                                                     (By telephone)
                                                     David MILLER
                                                     Senior Special Agent
                                                     Federal Protective Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______ am/pm on July ________,
   3:14pmxxxxxx             6      2020.



                                                     ________________________________
                                                     HONORABLE JOLIE RUSSO
                                                     United States Magistrate Judge




 Page 8 – Affidavit of David Miller
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 146 of 248




            ATTACHMENT 17
                 Case Case
                      1:21-cr-00119-CJN
                           3:20-mj-00166 Document
                                          Document32-1
                                                   1 Filed
                                                       Filed07/27/20
                                                             06/24/21 Page
                                                                      Page 1147
                                                                             of 6of 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:20-mj-00166
            STEPHEN EDWARD ODONNELL                                )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/26/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of Federal Protective Service SA Brian Desens attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                              FPS SA Brian Desens
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
                 8:03
WHOHSKRQHDWBBBBBBBBDPSP

Date:             July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00166 Document
                               Document32-1
                                        1 Filed
                                            Filed07/27/20
                                                  06/24/21 Page
                                                           Page 2148
                                                                  of 6of 248




DISTRICT OF OREGON                     )
                                       ) ss: AFFIDAVIT OF SPECIAL AGENT
County of Multnomah                    )     BRIAN DESENS



             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Brian Desens, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am employed as a Special Agent (SA) with the Federal Protective Service (FPS)

and have been employed by FPS since October 2017. I have participated in several

investigations relating to the protection of federal facilities and personnel. I am currently

assigned to the FPS Headquarters Rapid Protection Force (RPF). Prior to being a Special Agent

with FPS, I was employed as a Uniformed Inspector with the FPS since 2013. I graduated from

the Federal Law Enforcement Training Academy (FLETC) Criminal Investigator Training

Program in 2018, and FLETC’s Uniformed Police Training Program in 2013. I received a

bachelor’s degree in Law and Justice from Central Washington University in 2015. I am

currently assigned to the Rapid Protection Force out of Auburn, WA, and augment the Region 10

Investigations Branch as a general crime agent.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Stephen Edward ODONNELL. As set forth below, there is probable cause to believe that

ODONNELL committed the offense of Assaulting a Federal Officer (Felony), in violation of 18

U.S.C. ௗ(a)(1).

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00166 Document
                               Document32-1
                                        1 Filed
                                            Filed07/27/20
                                                  06/24/21 Page
                                                           Page 3149
                                                                  of 6of 248




records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under § 111(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau’s (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the




 Page 2 – Affidavit of Brian Desens
        Case Case
             1:21-cr-00119-CJN
                  3:20-mj-00166 Document
                                 Document32-1
                                          1 Filed
                                              Filed07/27/20
                                                    06/24/21 Page
                                                             Page 4150
                                                                    of 6of 248




Mark O.Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, and assault. The Mark O. Hatfield

Courthouse has experienced significant damage to the façade, glass, and building fixtures during

the weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage

at the Mark O. Hatfield Courthouse is in excess of $50,000. Other federal properties in the area

routinely being vandalized include the historic Pioneer Federal Courthouse, the Gus Solomon

Courthouse, and the Edith Green Wendall Wyatt Federal Office Building. FPS law enforcement


1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland Oregon area.
The federal government owns the entire city block occupied by the Mark O. Federal Courthouse. Easements have
been granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks and into
the streets surrounding the courthouse.

    Page 3 – Affidavit of Brian Desens
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00166 Document
                               Document32-1
                                        1 Filed
                                            Filed07/27/20
                                                  06/24/21 Page
                                                           Page 5151
                                                                  of 6of 248




officers, U.S. Marshal Service Deputies and other federal law enforcement officers working in

the protection of the Mark O. Hatfield Courthouse have been subjected to assault, threats, aerial

fireworks including mortars, high intensity lasers targeting officer’s eyes, thrown rocks, bottles

and balloons filled with paint, and vulgar language from demonstrators while performing their

duties.

          6.   On July 26, 2020, at approximately 01:02 a.m., protesters attempted to breach into

the Mark O. Hatfield Federal United States Courthouse (USCH) by damaging and removing the

protective fencing around the west entrances of the USCH. A section of the fence was pushed

over and protestors started to make their way onto federal property, U.S. Customs and Border

Protection (CBP), U.S. Marshals Service (USMS), and FPS tactical teams deployed outside to

prevent further breaches and property damage on the property.

          7.   At approximately 01:30 a.m., ODONNELL was taken into custody by CBP on an

allegation of violation of 18 U.S.C. ௗ(a)(1) and taken to the USCH for processing.

          8.   At approximately 01:15 a.m. to 01:20 a.m. CBP agents were moving through the

park (Lownsdale Square) to push back protestors after the breach of the fence at the USCH.

While pushing through the park CBP Agent 1 (victim) observed ODONNELL by the monument

who was shining a flashlight at CBP Agent 1. CBP Agent 1 did not see any other protestors in

the immediate area. The agent announced himself as a “Border Patrol Agent” and gave verbal

commands to have ODONNELL show his hands. CBP Agent 1 saw the beam of the flashlight in

ODONNELL’s hand move down and observed ODONNELL throw an object in the agent’s

direction from approximately 10 feet. The object struck CBP Agent 1 in the face. The object was

hard, but the agent was not sure exactly what the object was. CBP Agent 1 was wearing his



 Page 4 – Affidavit of Brian Desens
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00166 Document
                               Document32-1
                                        1 Filed
                                            Filed07/27/20
                                                  06/24/21 Page
                                                           Page 6152
                                                                  of 6of 248




gasmask at the time of the attack and was not injured. After the object struck CBP Agent 1, he

moved in on ODONNELL and arrested him. CBP Agent 1 escorted ODONNELL to the USCH

and transferred him to other officers for further processing.

       9.      Law enforcement attempted to interview ODONNELL in the US Marshals’

interview rooms at the USCH. I read ODONNELL his rights from an FPS Miranda Statement of

Rights form. ODONNELL stated he understood his rights. I asked if he was willing to waive his

rights and speak with me. ODONNELL declined to waive his rights and I ended the interview

with ODONNELL.

                                            Conclusion

       10.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Stephen Edward ODONNELL committed a violation of 18 U.S.C. ௗ(a), and in so doing

made physical contact with a federal officer using a hard object from approximately 10 feet.

       11.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight, who advised that in her opinion the affidavit and complaint are legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                                      /s/ Sworn to by telephone
                                                      Brian Desens
                                                      Special Agent, Federal Protective Service

       Sworn to by telephone or other reliable means at _____a.m./p.m.
                                                         8:03          in accordance with

Fed. R. Crim. P. 4.1 this _______
                             27 day of July 2020.
                                                      ________________________________
                                                      HONORABLE JOLIE A. RUSSO
                                                      United States Magistrate Judge

 Page 5 – Affidavit of Brian Desens
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 153 of 248




            ATTACHMENT 18
                 Case
                    Case
                      1:21-cr-00119-CJN
                          3:20-cr-00293-JODocument
                                            Document
                                                   32-1
                                                      1 Filed
                                                        Filed 06/24/21
                                                              07/27/20 Page
                                                                        Page154
                                                                             1 ofof1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-167
             NATHAN ONDERDONK-SNOW                                 )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/26/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Christopher Tomayo attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                      USMS DUSM Christopher Tamayo
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
               8:03
Date:        July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00293-JO Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page155
                                                                     1 of
                                                                       of 6248

                                                                          3:20-mj-167

STATE OF OREGON                        )
                                       ) ss: AFFIDAVIT OF CHRISTOPHER TAMAYO
County of Multnomah                    )



              Affidavit in Support of a Criminal Complaint and Arrest Warrant

         I, Christopher Tamayo, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

         1.     I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since 2013. I am assigned to the Pacific

Northwest Violent Offender Task Force where I am responsible for conducting fugitive and sex

offender investigations that result in arrest and prosecutions of individuals who are facing

criminal charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I

am authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States.

My training and experience includes completion of a California Peace Officer Standard Training

Academy, the Federal Criminal Investigator Training Program and the U.S. Marshals Service

Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia. I have

also attended additional training provided by other law enforcement entities relating to fugitive

investigations and sex offender investigations.

         2.     I submit this affidavit in support of a criminal complaint and arrest warrant for

Nathan ONDERDONK-SNOW. As set forth below, I have probable cause to believe that

ONDERDONK-SNOW committed an assault upon a federal officer, in violation of 18 U.S. Code

§ 111.




 Page 1 – Affidavit of Christopher Tamayo
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00293-JO Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page156
                                                                     2 of
                                                                       of 6248




       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,


 Page 2 – Affidavit of Christopher Tamayo
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00293-JO Document
                                  Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       07/27/20 Page
                                                                 Page157
                                                                       3 of
                                                                         of 6248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Christopher Tamayo
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00293-JO Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page158
                                                                     4 of
                                                                       of 6248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.      Specifically, on July 26, 2020, federal law enforcement officers attempted to

disperse a crowd on SW Salmon Street between 4th and 5th streets in Portland, OR. The crowd

was part of a protest that was declared an unlawful assembly by the Federal Protective Service

and a riot by the Portland Police Bureau. This occurred after violent opportunists destroyed the

security fence in front of the Mark Hatfield Federal Courthouse, and attacked law enforcement

officers by throwing hard objects, throwing explosive devices, and physically attacking them.

During the dispersal Deputy United States Marshal (DUSM) Victim 1, 2, and 3 were all dressed

in a clearly marked police tactical uniform and were wearing protective equipment to include a

gas mask, helmet, and body armor.

        8.      At approximately 0135 hours three DUSMs were walking as a group of officers

attempting to clear and disperse the street when they were approached by a subject later

identified as Nathan ONDERDONK-SNOW. While DUSMs were giving general orders to clear

the area ONDERDONK-SNOW shoved DUSM Victim 1 from behind with a blue shield. At the

same time DUSM 2 witnessed the assault and attempted to intervene by grabbing

ONDERDONK-SNOW with DUSM Victim 1. DUSM Victim 1 pulled ONDERDONK-

SNOW’s head down attempting to bring him to the ground with DUSM 2. In the process of


 Page 4 – Affidavit of Christopher Tamayo
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00293-JO Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page159
                                                                     5 of
                                                                       of 6248




trying to bring ONDERDONK-SNOW to the ground DUSM Victim 1’s gas mask was knocked

loose and he had to adjust the mask while DUSM 2 struggled with ONDERDONK-SNOW

alone. ONDERDONK-SNOW continued to lean forward while keeping his arms tight to his

waist preventing officers from gaining control. DUSM Victim 1 physically re-engaged the

subject to gain control of an arm. A third DUSM witnessed and assisted in the arrest until all

three DUSMs were able to gain control and restrain ONDERDONK-SNOW.

       9.      On July 26, 2020, I contacted ONDERDONK-SNOW in the United States

Marshals Service detention center at the Hatfield Courthouse. I identified myself as a Deputy

with the U.S. Marshals Service wearing my agency issued badge displayed on my duty belt and

advised ONDERDONK-SNOW of his Miranda Rights. ONDERDONK-SNOW stated that he

understood his rights but wanted to speak to a lawyer before making a statement.

       10.     On July 26, 2020, ONDERDONK-SNOW’s belongings were searched incident

to arrest and the following were found: green backpack filled with personal items such as first

aid kit, keys, and mask.




                                    Onderdonk-Snow’s possessions


 Page 5 – Affidavit of Christopher Tamayo
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00293-JO Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                               Page160
                                                                     6 of
                                                                       of 6248




                                           Conclusion

       11.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Nathan ONDERDONK-SNOW assaulted a federal employee or officer, in violation of Title 18

U.S.C § 111. I therefore request that the Court issue a criminal complaint and arrest warrant

charging ONDERDONK-SNOW with that offense.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Chris Tamayo
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
    8:03 am/pm on July ________,
                          27     2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Christopher Tamayo
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 161 of 248




            ATTACHMENT 19
                 CaseCase
                      1:21-cr-00119-CJN
                          3:20-cr-00330-SIDocument
                                            Document
                                                   32-1
                                                     1 Filed 06/24/21
                                                             07/27/20 Page
                                                                      Page162
                                                                           1 ofof
                                                                                1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.       3:20-mj-00173
                                                                   )
                        Brodie Storey                              )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/27/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Kyle Cozart attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                          USMS DUSM Kyle Cozart
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
              12:10

Date:               July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00330-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                               Page163
                                                                    1 ofof6248
                                                              3:20-mj-00173


STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF KYLE COZART
County of Multnomah                   )




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Kyle Cozart, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since August of 2017. I am assigned to the

District of Oregon where I am responsible for conducting fugitive and sex offender

investigations that result in arrest and prosecutions of individuals who are facing criminal

charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I am

authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States. My

training and experience includes completion of the Federal Criminal Investigator Training

Program and the U.S. Marshals Service Basic Academy at the Federal Law Enforcement

Training Center in Glynco, Georgia. I have also attended additional training provided by other

law enforcement entities relating to fugitive investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Brodie STOREY. As set forth below, I have probable cause to believe that Brodie STOREY

committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00330-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                              Page164
                                                                   2 ofof6248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Kyle Cozart
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00330-SI Document
                                  Document32-1
                                           1-1 Filed
                                                Filed06/24/21
                                                      07/27/20 Page
                                                                Page165
                                                                     3 ofof6248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00330-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                              Page166
                                                                   4 ofof6248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while performing

their duties.

        7.      Specifically, on July 27, 2020, federal law enforcement officers attempted to

disperse a crowd on 3rd Avenue between Main and Salmon streets in Portland, OR after the

Federal Protective Service (FPS) declared an unlawful assembly multiple times. This occurred

after violent opportunists attempted to destroy the security fence in front of the Mark Hatfield

Federal Courthouse with power tools. Additionally, violent opportunists attacked law

enforcement officers by throwing hard objects, throwing explosive devices, and physically

attacking them. During the dispersal Deputy United States Marshal (DUSM) Victim 1 was

dressed in a clearly marked police tactical uniform and was wearing protective equipment to

include a gas mask, helmet, and body armor.

        8.      At approximately 01:30 hours, DUSM Victim 1 was walking with a group of

officers when a group of subjects formed a line in front of them. Officers were ordering the

subjects to disperse, and they failed to comply with repeated orders. As the United States

Marshals Service (USMS) line approached, individuals holding shields began to group in

Lownsdale park. As deputies approached, an individual, later identified as Brodie STOREY

lurched forward and attempted to tackle DUSM Victim 1. DUSM Victim 1 struggled and went to

the ground. Subsequently, DUSM Victim 1 attempted to place STOREY under arrest, but


 Page 4 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00330-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                              Page167
                                                                   5 ofof6248




STOREY was violently resisting. DUSM Victim 1 instructed STOREY to place his hands behind

his back. STOREY continued to resist, refused to comply with orders, and squeezed his arms

under his chest. During this time, DUSM Victim 1 was being hit with bottles and other

projectiles from members of the crowd. As DUSM Victim 1 was attempting to gain control of

STOREY’s arms, another individual later to be known as Patrick Stafford, assaulted DUSM

Victim 1 with a shield. Stafford was restrained by another responding DUSM and placed under

arrest. Once on the ground, Stafford was compliant and obeyed all commands. STOREY

continued to refuse to comply with orders and fought with officers, resulting in DUSM Victim 1

utilizing his taser. DUSM Victim 1 was able to gain compliance after the application of the taser

and STOREY was placed under arrest.


                                           Conclusion

       9.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Brodie STOREY assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111. I

therefore request that the Court issue a criminal complaint and arrest warrant charging Brodie

STOREY with that offense.

//



//



//




 Page 5 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00330-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    07/27/20 Page
                                                              Page168
                                                                   6 ofof6248




       10.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Kyle Cozart
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______
     12:10 am/pm on July ________,
                           27      2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 6 – Affidavit of Kyle Cozart
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 169 of 248




            ATTACHMENT 20
                 Case
                    Case
                      1:21-cr-00119-CJN
                          3:20-cr-00329-BRDocument
                                            Document
                                                   32-1
                                                      1 Filed
                                                        Filed06/24/21
                                                              07/27/20 Page
                                                                        Page170
                                                                             1 ofof1248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-00174
                                                                   )
                          Jeffrie Cary                             )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/27/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Kyle Cozart attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                          USMS DUSM Kyle Cozart
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              12:40
WHOHSKRQHDWBBBBBBBBDPSP

Date:          July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00329-BR Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                                Page
                                                                   171
                                                                     1 of
                                                                       of 5248

                                                                         3:20-mj-00174

STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF KYLE COZART
County of Multnomah                   )




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Kyle Cozart, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since August of 2017. I am assigned to the

District of Oregon where I am responsible for conducting fugitive and sex offender

investigations that result in arrest and prosecutions of individuals who are facing criminal

charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I am

authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States. My

training and experience includes completion of the Federal Criminal Investigator Training

Program and the U.S. Marshals Service Basic Academy at the Federal Law Enforcement

Training Center in Glynco, Georgia. I have also attended additional training provided by other

law enforcement entities relating to fugitive investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Jeffrie CARY. As set forth below, I have probable cause to believe that Jeffrie CARY

committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


 Page 1 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00329-BR Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                                Page
                                                                   172
                                                                     2 of
                                                                       of 5248




investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




 Page 2 – Affidavit of Kyle Cozart
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00329-BR Document
                                  Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       07/27/20 Page
                                                                  Page
                                                                     173
                                                                       3 of
                                                                         of 5248




are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

    Page 3 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00329-BR Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                                Page
                                                                   174
                                                                     4 of
                                                                       of 5248




Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.      Specifically, on July 27, 2020, federal law enforcement officers attempted to

disperse a crowd on 3rd Avenue between Main and Salmon streets in Portland, OR after the

Federal Protective Service (FPS) declared an unlawful assembly multiple times. This occurred

after violent opportunists attempted to destroy the security fence in front of the Mark Hatfield

Federal Courthouse with power tools. Additionally, violent opportunists attacked law

enforcement officers by throwing hard objects, throwing explosive devices, and physically

attacking them. During the dispersal Deputy United States Marshal (DUSM) Victim 1 was

dressed in a clearly marked police tactical uniform and was wearing protective equipment to

include a gas mask, helmet, and body armor.

        8.      At approximately 01:30 hours, DUSM Victim 1 was walking with a group of

officers and a group of subjects formed a line in front of them. Officers were ordering the

subjects to disperse, and they failed to comply with repeated orders. As the United States

Marshals Service (USMS) line approached, individuals holding shields began to group in

Lownsdale park. As Deputies approached, an individual later identified as Jeffrie CARY used a

shield to make physical contact with DUSM Victim 1. The contact knocked DUSM Victim 1




 Page 4 – Affidavit of Kyle Cozart
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00329-BR Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     07/27/20 Page
                                                                Page
                                                                   175
                                                                     5 of
                                                                       of 5248




back as he was in the performance of his duties. DUSM Victim 1 was able to detain Jeffrie

CARY and place him under arrest.

                                           Conclusion

       9.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Jeffrie CARY assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111. I

therefore request that the Court issue a criminal complaint and arrest warrant charging Jeffrie

CARY with that offense.

       10.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Kyle Cozart
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1
    12:40 am/pm on July ________,
at _______                 27     2020.


                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




 Page 5 – Affidavit of Kyle Cozart
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 176 of 248




            ATTACHMENT 21
                 Case Case
                      1:21-cr-00119-CJN
                           3:20-mj-00179 Document
                                          Document32-1
                                                   1 Filed
                                                       Filed07/30/20
                                                             06/24/21 Page
                                                                      Page 1177
                                                                             of 1of 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.       3:20-mj-179
                                                                   )
             JORDAN MATTHEW JOHNSON                                )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/30/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM JONATHAN LOBELL attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                      USMS DUSM JONATHAN LOBELL
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
               10:36
WHOHSKRQHDWBBBBBBBBDPSP

Date:             07/30/2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00179 Document
                             Document 32-1
                                      1-1 Filed 07/30/20
                                                06/24/21 Page
                                                         Page 178
                                                              1 of of
                                                                   7 248

                                                                                3:20-mj-179

DISTRICT OF OREGON                       )
                                         ) ss: AFFIDAVIT OF DEPUTY MARSHAL
County of Multnomah                      )     JONATHAN LOBELL




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Jonathan Lobell, being duly sworn, do hereby depose and state as follows:

                                Introduction and Agent Background

       1.         I am a Deputy with the United States Marshals Service and have been since 2008.

I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the United States

Marshals Service. I am assigned to the Pacific Northwest Violent Offender Task Force where I

am responsible for conducting fugitive investigations that result in arrest and prosecutions of

individuals who are facing criminal charges in state and federal court. As a Criminal

Investigator Deputy U.S. Marshal, I am authorized under 28 U.S.C. § 564 to enforce the federal

criminal laws of the United States. My training and experience include completion of the Federal

Criminal Investigator Training Program and the U.S. Marshals Service Basic Academy at the

Federal Law Enforcement Training Center in Glynco, Georgia. I have also attended additional

training provided by other law enforcement entities relating to fugitive investigations and drug

investigations.

       2.         I submit this affidavit in support of a criminal complaint and arrest warrant for

Jordan Matthew JOHNSON. As set forth below, there is probable cause to believe, and I do

believe, that JOHNSON committed the offense of Assaulting a Federal Officer (felony), in

violation of 18 U.S.C. §ௗ111(a)(1).



 Page 1 – Affidavit of Jonathan Lobell
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00179 Document
                             Document 32-1
                                      1-1 Filed 07/30/20
                                                06/24/21 Page
                                                         Page 179
                                                              2 of of
                                                                   7 248




       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under § 111(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau’s (PPB) Central


 Page 2 – Affidavit of Jonathan Lobell
       CaseCase
            1:21-cr-00119-CJN
                3:20-mj-00179 Document
                              Document 32-1
                                       1-1 Filed 07/30/20
                                                 06/24/21 Page
                                                          Page 180
                                                               3 of of
                                                                    7 248




Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the

Mark O.Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, assaults, and the use of molotov cocktail

explosives. The Mark O. Hatfield Courthouse has experienced significant damage to the façade,

glass, and building fixtures during the weeks following this incident. Additionally, mounted

building security cameras and access control devices have been vandalized or stolen. The most

recent repair estimate for the damage at the Mark O. Hatfield Courthouse is in excess of $50,000.



         1
          As part of my duties, I am familiar with the property boundaries for federal facilities in the Portland
Oregon area. The federal government owns the entire city block occupied by the Mark O. Federal Courthouse.
Easements have been granted for the sidewalks surrounding the facility. The property boundary extends past the
sidewalks and into the streets surrounding the courthouse.

 Page 3 – Affidavit of Jonathan Lobell
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00179 Document
                             Document 32-1
                                      1-1 Filed 07/30/20
                                                06/24/21 Page
                                                         Page 181
                                                              4 of of
                                                                   7 248




Other federal properties in the area routinely being vandalized include the historic Pioneer

Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. Federal Protective Service (FPS) law enforcement officers, U.S. Marshal

Service Deputies and other federal law enforcement officers working in the protection of the

Mark O. Hatfield Courthouse have been subjected to assault, threats, aerial fireworks including

mortars, high intensity lasers targeting officer’s eyes, thrown rocks, bottles and balloons filled

with paint, and vulgar language from demonstrators while preforming their duties.

       6.      On July 29, 2020 at approximately 10:45 PM a crowd of approximately 500

protestors were gathered on the 3rd Avenue side of the Hatfield USCH between SW Main and

SW Salmon streets. Individuals in the crowd started to tamper with the perimeter fence by

attempting to cut it. Officers from FPS deployed inside of the fenced perimeter to deter one of

the individuals who was attempting to cut the fence. While FPS officers were successful at

deterring breach of the fence, violent offenders (VOs) from within the crowd began throwing

glass bottles and other hard objects at FPS officers. At approximately 11:00 PM FPS made

announcements over the Long-Range Acoustic Device (LRAD) that if the crowd continued to

throw objects at officers, the gathering would be considered an unlawful assembly. At

approximately 11:22 the same individual returned to the fence and attempted to cut it open. FPS

deployed from the courthouse, inside the fenced perimeter, to deter the individual while VO’s

continued to throw glass bottles and point lasers at the FPS officers.

       7.      At approximately 11:30 PM FPS declared an unlawful assembly and at 11:45 pm

federal law enforcement tactical teams deployed from the USCH to disperse the crowd.




 Page 4 – Affidavit of Jonathan Lobell
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00179 Document
                             Document 32-1
                                      1-1 Filed 07/30/20
                                                06/24/21 Page
                                                         Page 182
                                                              5 of of
                                                                   7 248




        8.     At approximately 1:30 AM on 07/30/2020 I interviewed DUSM 1, DUSM

2(Victim), DUSM 3(Victim) and DUSM 4 regarding an assault on two DUSMs that occurred

during the crowd dispersal at the corner of SW 3rd Avenue and SW Salmon Street. At the time of

the assault all the DUSMs involved were in uniform with “POLICE US Marshal” patches on

their vests.

        9.     At approximately 12:34 AM on July 30, 2020 a male in the crowd, later identified

as Jordan Matthew JOHNSON, DOB xx/xx/1987 was observed by federal officers attempting to

pick up a smoke grenade, deployed by federal law enforcement to assist in dispersing the crowd.

Law enforcement attempted to stop JOHNSON with rubber munitions, but he was undeterred.

DUSM 2 (Victim 1) ran toward JOHNSON and brought him to the ground to prevent him from

grabbing the smoke grenade and placed him under arrest for failing to disperse. JOHNSON

struck DUSM 2 in the neck and attempted to get off the ground. DUSM 3(Victim 2) observed

JOHNSON strike DUSM 2 and attempted to restrain JOHNSON. While DUSM 2 and DUSM 3

attempted to place JOHNSON under arrest, JOHNSON struck DUSM 3 in the head and

continued to resist. DUSM 4 observed the struggle between JOHNSON, DUSM 2 and DUSM 3

and grabbed JOHNSON by the back of his shirt and used force to restrain JOHNSON.

Subsequently, DUSM 1 and DUSM 4 were able to place JOHNSON under arrest without further

incident. JOHNSON was escorted into the USCH and taken to the U.S. Marshal cell block.

        10.    At approximately 2:50 AM on 07/30/2020 law enforcement conducted an in-

custody recorded interview of JOHNSON. JOHNSON was advised of his Miranda Warnings and

voluntarily chose to speak with law enforcement regarding the assault. JOHNSON stated that he

has been attending the protest in downtown Portland for two weeks and had learned of the


 Page 5 – Affidavit of Jonathan Lobell
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00179 Document
                             Document 32-1
                                      1-1 Filed 07/30/20
                                                06/24/21 Page
                                                         Page 183
                                                              6 of of
                                                                   7 248




protests through various news sources. JOHNSON stated his reason for attending the protest was

to make sure his friends get home safe. JOHNSON stated that he did not hear any

announcements made by any law enforcement while he was outside. JOHNSON stated that he

was standing at the corner of SW 3rd Ave and SW Salmon Street and observed a smokey object

on the ground and went to pick it up and then he was tackled by individuals in camouflage

uniforms. I asked JOHNSON if he recalled any police markings and he said no. JOHNSON

stated that he was doing nothing when he was tackled. I explained to JOHNSON that I had

interviewed the DUSM’s that were struck by JOHNSON and he stated that he never struck

anyone. JOHNSON stated that once the individuals in camouflage uniforms placed handcuffs on

him, he did not resist. I did not ask JOHNSON any further questions at that time and stopped

recording the interview.

       11.     At approximately 3:00AM on July 30, 2020, I began a new recorded interview.

JOHNSON signed a Miranda waiver form and was notified he was being charged with assault. I

informed JOHNSON of his rights again and he acknowledged them and agreed to waive them to

continue to speak with myself and DUSM Cozart. JOHNSON stated that he was concerned about

the charges and asked why, if he was tackled from behind how he could be charged with assault.

I explained to JOHNSON that four DUSMS were involved in his arrest and all observed

JOHNSON resist and strike DUSM 2 and DUSM 3. No further questions were asked of

JOHNSON regarding the assault at that time and the interview was concluded.

       12.     I conducted a criminal history check on JOHNSON after the interview and

learned that JOHNSON has a criminal history in Oregon from 2007 to 2013 to include DUI,

Failure to Appear, Probation violations.


 Page 6 – Affidavit of Jonathan Lobell
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00179 Document
                             Document 32-1
                                      1-1 Filed 07/30/20
                                                06/24/21 Page
                                                         Page 184
                                                              7 of of
                                                                   7 248




                                           Conclusion

       13.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Jordan Matthew JOHNSON committed a violation of 18 U.S.C. ௗ(a), and in so doing made

physical contact with DUSM 2 and DUSM 3.

       14.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight, who advised that in her opinion the affidavit and complaint are legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                                     /s/ Sworn to by telephone
                                                     In accordance with Fed. R. Crim. P. 4.1
                                                     Jonathan Lobell
                                                     Deputy U.S. Marshal
                                                     U.S. Marshals Service

       Sworn to by telephone or other reliable means at _____a.m./p.m.
                                                        10:36          in accordance with

                             30 day of July 2020.
Fed. R. Crim. P. 4.1 this _______


                                                     ________________________________
                                                     HONORABLE Jolie A. Russo
                                                     United States Magistrate Judge




 Page 7 – Affidavit of Jonathan Lobell
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 185 of 248




            ATTACHMENT 22
                 CaseCase
                      1:21-cr-00119-CJN
                          3:20-cr-00435-SIDocument
                                            Document
                                                   32-1
                                                     1 Filed 06/24/21
                                                             08/25/20 Page
                                                                      Page186
                                                                           1 ofof
                                                                                1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                           )
                             v.                                      )
                    Jesse Herman Bates
                                                                     )      Case No. 3:20-mj-215
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 13, 2020                 in the county of             Multnomah        in the
                       District of            Oregon             , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. 231(a)(3)                             Civil Disorder




         This criminal complaint is based on these facts:
Please see attached affidavit by FBI Special Agent Kevin Strauss.




         ✔ Continued on the attached sheet.
         u

                                                                                                    (By Phone)
                                                                                                Complainant’s signature

                                                                                                Kevin Strauss, FBI SA
                                                                                                 Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
                                                                                          \
              [[[[
WHOHSKRQHDWBBBBBBBBDPSP

Date:             08/25/2020
                                                                                                   Judge’s signature

City and state:                         Portland, Oregon                            Youlee Yim You, U.S. Magistrate Judge
                                                                                                 Printed name and title
        CaseCase
              1:21-cr-00119-CJN
                 3:20-cr-00435-SI Document
                                   Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       08/25/20 Page
                                                                 Page187
                                                                      1 ofof4248
3:20-mj-215


  DISTRICT OF OREGON, ss:                                       AFFIDAVIT OF KEVIN STRAUSS

               Affidavit in Support of a Criminal Complaint and Arrest Warrant

         I, Kevin Strauss, being duly sworn, do hereby depose and state as follows:

                                Introduction and Agent Background

         1.      I am a Special Agent with the Federal Bureau of Investigation and have been for

  16 years. I am trained in investigating a wide variety of violations of federal criminal law. I am

  currently assigned to the FBI Portland Division Violent Crimes squad, where I have investigated

  Crimes Against Children, Bank Robbery, Kidnapping, Assault on Federal Employees, and Crime

  Aboard Aircraft. I am part of the Human Trafficking Task Force which also includes other FBI

  Special Agents and Task Force Officers. This task force is an intelligence-driven, proactive,

  multi-agency investigative initiative to combat the proliferation of various forms of human

  trafficking to include child exploitation and trafficking facilitated by an online computer.

         2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

  Jesse Herman BATES, for Civil Disorder in violation of 18 U.S.C. § 231(a)(3). As set forth

  below, there is probable cause to believe, and I do believe, that BATES fired an object from a

  slingshot at a firefighter for the intended purpose of obstructing, impeding, or interfering in a

  violent manner with such firefighter, that he did so knowingly and willfully, and that he did so

  during a civil disorder that adversely affected interstate commerce.

                                            Applicable Law

         4.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

  commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

  lawfully engaged in the lawful performance of his official duties incident to and during the

  commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

  Page 1 – Affidavit of Kevin Strauss                               USAO Version Rev. April 2018
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00435-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    08/25/20 Page
                                                              Page188
                                                                   2 ofof4248




commerce or the movement of any article or commodity in commerce … shall be fined under

this title or imprisoned not more than five years, or both.” Title 18 U.S.C. § 231 provides that

“[t]he term ‘civil disorder’ means any public disturbance involving acts of violence by

assemblages of three or more persons, which causes an immediate danger of or results in damage

or injury to the property or person of any other individual.”

                                  Statement of Probable Cause

       5.      At approximately 2:00 a.m. on July 13, 2020, a firefighter medic (FFM) was

working with a crew of firefighters to put out a fire burning in the middle of the intersection of

SW 3rd Avenue and SW Main Street in downtown Portland, Oregon, which blocked traffic. An

estimated crowd of 300 people were in the immediate area, some of whom were assaulting police

officers and committing acts of vandalism and property damage. The FFM, who was wearing a

grey uniform that clearly displayed a large “medic” patch, was walking across the street to brief

his team when he was shot in the chest with a round metal ball bearing. The FFM said the shot

came from a protester armed with a “wrist rocket” style slingshot. A Multnomah County

Sheriff’s Deputy saw the suspect on camera and identified BATES as the slingshot shooter.

BATES was also identified by the clothing he wore that early morning: black and white Adidas

shoes, a large white logo on his back, and white coloring on the knees of his pants.

       6.      At approximately 3:50 a.m., law enforcement officers spotted BATES near a

white tent located on Lownsdale Square, between SW 3rd Avenue and 4th Avenue and SW

Salmon Street and Main Street. BATES was holding a crowbar, and when officers told him he

was under arrest, BATES ran with the crowbar in hand. After receiving a less than lethal

munition to his backside, BATES dropped the crowbar and was taken into custody.


 Page 2 – Affidavit of Kevin Strauss                             USAO Version Rev. April 2018
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00435-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    08/25/20 Page
                                                              Page189
                                                                   3 ofof4248




                                            Conclusion

       7.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Jesse Herman BATES intentionally obstructed, impeded, and interfered with a firefighter who

was engaged in the lawful performance of his duties when Bates struck him with a metal ball

bearing; moreover, all of these actions took place during a civil disorder that adversely affected

interstate commerce in violation of 18 U.S.C. § 231(a)(3). I therefore request that the Court

issue a criminal complaint and arrest warrant for Jesse Herman BATES.

       8.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Kelly A.

Zusman, and AUSA Zusman advised me that in her opinion the affidavit and complaint are

legally and factually sufficient to establish probable cause to support the issuance of the

requested criminal complaint and arrest warrant.

                                       Request for Sealing

       9.      It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested criminal complaint and arrest

warrant. I believe that sealing these documents is necessary because the information to be seized



///



///



///


 Page 3 – Affidavit of Kevin Strauss                             USAO Version Rev. April 2018
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00435-SI Document
                                Document32-1
                                         1-1 Filed
                                              Filed06/24/21
                                                    08/25/20 Page
                                                              Page190
                                                                   4 ofof4248




is relevant to an ongoing investigation, and any disclosure of the information at this time is likely

to seriously jeopardize the ongoing investigation. Premature disclosure of the affidavit, the

criminal complaint, and the arrest warrant may adversely affect the integrity of the investigation




                                                                   (By Phone)_______________
                                                   KEVIN STRAUSS
                                                   Special Agent, Federal Bureau of Investigation



       Subscribed and sworn in accordance with the requirements of FED. R. CRIM. P. 4.1 by

telephone at _____ a.m/p.m. on _______ day of August 2020.
             [[[WK



                                                      ________________________________
                                                      HONORABLE YOULEE YIM YOU
                                                      United States Magistrate Judge




 Page 4 – Affidavit of Kevin Strauss                             USAO Version Rev. April 2018
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 191 of 248




            ATTACHMENT 23
                 Case Case
                      1:21-cr-00119-CJN
                           3:20-mj-00223 Document
                                          Document32-1
                                                   1 Filed
                                                       Filed08/31/20
                                                             06/24/21 Page
                                                                      Page 1192
                                                                             of 6of 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 3:20-mj-00223
                                                                    )
                                                                    )
               Michelle Peterson O'Connor                           )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   August 24, 2020               in the county of            Multnomah             in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description


18 U.S.C. § 231(a)(3)                           Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Landon Berryman




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Landon Berryman
                                                                                              Complainant’s signature

                                                                                     FBI Special Agent Landon Berryman
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
                                                                                          \
WHOHSKRQHDWDP

Date:             08/30/2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                         Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00223 Document
                               Document32-1
                                        1 Filed
                                            Filed08/31/20
                                                  06/24/21 Page
                                                           Page 2193
                                                                  of 6of 248




DISTRICT OF OREGON, ss:                              AFFIDAVIT OF LANDON BERRYMAN

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Landon Berryman, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been since September of 2018. I am currently assigned to the Portland Division Violent Crimes

squad, which investigates a variety of violations dealing with the Federal Criminal Code. Prior

to working in the FBI, I was a sworn peace officer in Arizona from 2011 to 2018. I am a

graduate of the FBI Academy in Quantico, Virginia, and have completed extensive training in

numerous areas of law enforcement investigations and techniques, including computer-related

crimes, search warrant execution, and violent crimes such as bank robberies and kidnappings. I

have been empowered under Title 18, United States Code, Sections 3052 and 3053, and Rule 4

of the Federal Rules of Criminal Procedure, to conduct investigations and make arrests for

federal criminal offenses, including violations of 18 U.S.C. § 231(a)(3) (civil disorder –

obstruction of law enforcement); 18 U.S.C. § 2101 (riot); and 18 U.S.C. § 371 (conspiracy).

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Michelle Peterson O’Connor, for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set

forth below, there is probable cause to believe, and I do believe, that O’Connor threw a hard

object capable of causing injury at a law enforcement officer and assaulted a public safety officer

for the purpose of obstructing, impeding, or interfering in a violent manner with such law

enforcement officers; that she did so knowingly and willfully; and that she did so during a civil

disorder that adversely affected interstate commerce.
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00223 Document
                               Document32-1
                                        1 Filed
                                            Filed08/31/20
                                                  06/24/21 Page
                                                           Page 3194
                                                                  of 6of 248




                                          Applicable Law

       3.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to and during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce . . . shall be fined under

this title or imprisoned not more than five years or both.” The term “civil disorder” means “any

public disturbance involving acts of violence by assemblages of three or more persons, which

causes an immediate danger of or results in damage or injury to the property or person of any

other individual.”

                                  Statement of Probable Cause

       4.      On August 24, 2020, Portland Police Bureau Sergeant Justin Damerville was a

member of the Portland Police Bureau (PPB) Rapid Response Team (RRT) conducting crowd

control duties in relation to a declared riot at the Portland Police Northeast Precinct located at

449 NE Emerson Street, Portland, Oregon 97211.


       5.      An unruly crowd near NE Emerson and NE Martin Luther King Jr. Blvd engaged

in criminal activity. The crowd blocked NE Martin Luther King Jr. Blvd to vehicular traffic and

set a dumpster on fire in the middle of the street. An unlawful assembly/riot was announced by

PPB. The announcements were communicated the sound truck and were made numerous times

throughout the night. The lawful orders were not followed. These orders included warnings

about the use of force. Still, the unruly crowd did not leave the area.



 Page 2 – Affidavit of Landon Berryman                            USAO Version Rev. April 2018
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00223 Document
                               Document32-1
                                        1 Filed
                                            Filed08/31/20
                                                  06/24/21 Page
                                                           Page 4195
                                                                  of 6of 248




       6.      At approximately 1:00 a.m., all mobile field forces and RRT members were

tasked to make arrests on subjects who had not left after an unlawful assembly/riot was

announced. This was the second time Portland Police Officers assigned to those unruly events

were tasked to make arrests.


       7.      PPB Officer F. Barron observed Sgt. Damerville engaged in an arrest of a male

subject on the street. While Sgt. Damerville was arresting the subject, O’Connor was seen

picking up a black helmet from the ground and, from a distance of three to five feet, throwing the

helmet at Sgt. Damerville, striking him in the head. Sgt. Damerville was wearing his PPB

helmet when he was struck. He later said his “bell was rung” from the strike to the head and he

had neck pain as a result.


       8.      PPB Officers arrested O’Connor after witnessing the assault. During the

interview and processing of O’Connor, PPB Detective B. Declercque overheard O’Connor

talking with another arrested subject who was in the same area. O’Connor said she was

attempting to “un-arrest” a friend when she hit the officer, and admitted she made a mistake.


       9.      Detective Declercque read O’Conner her Miranda warnings at 3:29 a.m. and she

agreed to be interviewed and answer his questions. O'Connor said she attended the protest

because she felt that the police needed to be defunded in order to enact criminal justice reform.

She said she was about to leave the protest near NE MLK/Killingsworth when officers began

arresting her good friend, who was standing next to her. O'Connor said officers had her friend

on the ground and one officer was physically on top of her friend. O'Connor said she was upset

and was worried her friend might be hurt while being arrested. O'Connor said she observed a

 Page 3 – Affidavit of Landon Berryman                          USAO Version Rev. April 2018
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00223 Document
                               Document32-1
                                        1 Filed
                                            Filed08/31/20
                                                  06/24/21 Page
                                                           Page 5196
                                                                  of 6of 248




helmet lying on the ground nearby. O'Connor said she picked up the helmet and intentionally

struck one of the officers in the head with the helmet. O'Connor said the officer was wearing a

helmet when she struck him. O'Connor said she intentionally targeted the officer that was on top

of her friend. O'Connor said she aimed for the officer's head and struck him on the side of his

helmet.


                                       Conclusion

          10.   Based on the foregoing, I have probable cause to believe, and I do believe, that

Michelle Peterson O’Connor intentionally obstructed, impeded, and interfered with a police

officer who was engaged in the lawful performance of his duties; and these actions took place

during a civil disorder that adversely affected interstate commerce in violation of 18 U.S.C. §

231(a)(3). I therefore request that the Court issue a criminal complaint and arrest warrant for

Michelle Peterson O’Connor.

          11.   Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Thomas S.

Ratcliffe. AUSA Ratcliffe advised me that, in his opinion, this affidavit is legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                        Request for Sealing

          12.   I respectfully request that the Court issue an order sealing, until further order of

the Court, all papers submitted in support of the requested criminal complaint and arrest warrant.

I believe that sealing these documents is necessary because any disclosure of the information at



 Page 4 – Affidavit of Landon Berryman                            USAO Version Rev. April 2018
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00223 Document
                               Document32-1
                                        1 Filed
                                            Filed08/31/20
                                                  06/24/21 Page
                                                           Page 6197
                                                                  of 6of 248




this time may endanger the life or physical safety of an individual, cause flight from prosecution,

or otherwise seriously jeopardize an investigation, including the planned arrest of the defendant.



                                                     /s/ Landon Berryman
                                                     Landon Berryman
                                                     Special Agent,
                                                     Federal Bureau of Investigation


       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at
DP on August , 2020.


                                                     ________________________________
                                                        _________________________
                                                     HONORABLE
                                                        NORABLE YOULEE YIM YOU      YO
                                                     United States Magistrate Judge




 Page 5 – Affidavit of Landon Berryman                          USAO Version Rev. April 2018
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 198 of 248




            ATTACHMENT 24
                 Case
                    Case
                      1:21-cr-00119-CJN
                         3:20-cr-00460-MODocument
                                            Document
                                                  32-11 Filed
                                                         Filed06/24/21
                                                               09/04/20 Page
                                                                         Page199
                                                                              1 ofof6248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 3:20-mj-00232
                                                                    )
                                                                    )
                   William Grant Reuland                            )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    June 13, 2020                in the county of            Multnomah             in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description


18 U.S.C. § 231(a)(3)                           Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Dominic Sanchez




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Dominic Sanchez
                                                                                              Complainant’s signature

                                                                                     FBI Special Agent Dominic Sanchez
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              10:40
WHOHSKRQHDWBBBBBBBBDPSP

Date:       September 4, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                         Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00460-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    09/04/20 Page
                                                              Page200
                                                                   2 ofof6248




DISTRICT OF OREGON, ss:               AFFIDAVIT OF DOMINIC SANCHEZ

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Dominic Sanchez, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation and have been

since November 2018. My current assignment is on the Violent Crimes Squad which includes

conducting robbery and human trafficking investigations, as well as investigations into other

violations of federal law. My training and experience includes over one thousand hours of

training and over ten years of federal law enforcement experience.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

William Grant REULAND, for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set forth

below, there is probable cause to believe, and I do believe, that REULAND shined a laser pointer

in the faces of multiple law enforcement officers for the intended purpose of obstructing,

impeding, or interfering in a violent manner with such law enforcement officers; that REULAND

did so knowingly and willfully; and that REULAND did so during a civil disorder that adversely

affected interstate commerce.

                                         Applicable Law

       3.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to an during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce . . . shall be fined under

this title or imprisoned not more than five years or both.” The term “civil disorder” means “any
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00460-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    09/04/20 Page
                                                              Page201
                                                                   3 ofof6248




public disturbance involving acts of violence by assemblages of three or more persons, which

causes an immediate danger of or results in damage or injury to the property or person of any

other individual.”

                                  Statement of Probable Cause

         4.    The information stated herein is based on my own personal involvement in this

investigation, as well as my discussions with other law enforcement officers involved in this

investigation, and information I have read that is contained in written reports pertaining to this

investigation. This affidavit does not include all facts known to me regarding this investigation

but contains only those facts which I believe are sufficient to establish the requisite probable

cause.

         5.    On May 25, 2020, George Floyd died during his arrest by law enforcement

officers in Minneapolis, Minnesota, sparking nationwide protests that eventually extended to

Portland, Oregon. The protests have, at times, included violence, civil disorder, arson, and

looting.

         6.    On June 13, 2020, at approximately 10:00 p.m., a group of individuals

congregated around the Multnomah County Justice Center (Justice Center) and proceeded to

block traffic on SW Main St, outside of Portland Police Bureau’s (PPB) Central Precinct.

According to a PPB press release, a civil disturbance was declared and the crowd was given the

opportunity to disperse and were warned if they did not do so, they were subject to arrest or

force. The same press release stated that demonstrators were throwing projectiles at officers and

lasers were being directed at officers as officers began dispersing the crowd just after 10:50 p.m.



 Page 2 – Affidavit of Dominic Sanchez                           USAO Version Rev. April 2018
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00460-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    09/04/20 Page
                                                              Page202
                                                                   4 ofof6248




       7.      A PPB officer (Officer 1) was watching the crowd from the roof of the Justice

Center and observed two individuals, one later identified as REULAND, standing in the middle

of SW Main St, just west of 3rd Ave. REULAND and the other individual repeatedly hit Officer

1 and four other officers in the face with lasers. Officer 1 was able to move to a lower floor and

use a camera to take photographs of REULAND. While taking the photographs, Officer 1 again

witnessed REULAND and the other individual pointing green lasers toward the other officers on

the roof. Officer 1 sent the photographs to a PPB Sergeant for distribution to other officers.

       8.      After the crowd was dispersed from the area of SW 3rd Ave and SE Main St.,

Officer 1 followed the crowd and kept track of REULAND. According to a PPB press release, at

approximately 12:30 a.m. on June 14, 2020, a group of individuals marched to Mayor Ted

Wheeler’s residence on SW Jackson St. This group had blocked streets as part of this

movement. REULAND was part of this group, and Officer 1 observed REULAND shining a

laser at the Mayor’s residence and at other homes in the neighborhood. Additionally, Officer 1

witnessed REULAND go to the door of the Mayor’s residence. A PPB sound truck also arrived

and provided multiple audible warnings to vacate the area.

       9.      Another PPB officer (Officer 2) was working in the vicinity of the Mayor’s

residence and saw REULAND. Officer 2 had reviewed the photographs that Officer 1 had

distributed earlier and confirmed that the photographs were of the same individual that Officer 2

saw. Officer 2 approached REULAND and took him into custody. In REULAND’s left pants

pocket, one laser pointer was located. In REULAND’s fanny pack, another three laser pointers

were located. Officer 2 conducted tests of several of the laser pointers and discovered that one

was green in color. REULAND asked Officer 2 what he was being arrested for and Officer 2

 Page 3 – Affidavit of Dominic Sanchez                          USAO Version Rev. April 2018
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00460-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    09/04/20 Page
                                                              Page203
                                                                   5 ofof6248




stated that REULAND was being arrested for pointing laser pointers at police officers.

REULAND responded “that’s not against the law.”

        10.     Officer 1 was able to observe REULAND until he was taken into custody by other

PPB officers. After the arrest, Officer 1 responded to PPB’s Detective Division where he was

able to confirm that REULAND was one of the individuals who he observed shining green lasers

at police officers.

        11.     During a post-Miranda interview, REULAND told PPB detectives that he had

gone to the Justice Center at about 8:30 p.m. REULAND stated he got out his camera and began

to film, and the police began shooting pepper balls toward him. REULAND stated the police

announced it was an unlawful assembly and he left. When questioned about whether he was at

the Mayor’s residence, REULAND initially said “no sir,” but later stated that he misspoke and

confirmed that he went to the Mayor’s residence but asserted did not go on the property.

                                            Conclusion

        12.     Based on the foregoing, I have probable cause to believe, and I do believe, that

REULAND knowingly, willfully and intentionally obstructed, impeded, and interfered with law

enforcement officers who were engaged in the lawful performance of their duties by shining a

laser pointer at officers. All of these actions took place during a civil disorder that adversely

affected interstate commerce in violation of 18 U.S.C. § 231(a)(3). I therefore request that the

Court issue a criminal complaint and arrest warrant for REULAND.

        13.     Prior to being submitted to the Court, this affidavit was reviewed by Assistant

United States Attorney (AUSA) Thomas S. Ratcliffe. AUSA Ratcliffe advised me that, in his



 Page 4 – Affidavit of Dominic Sanchez                            USAO Version Rev. April 2018
      Case
         Case
           1:21-cr-00119-CJN
              3:20-cr-00460-MODocument
                                 Document
                                       32-11 Filed
                                              Filed06/24/21
                                                    09/04/20 Page
                                                              Page204
                                                                   6 ofof6248




opinion, the affidavit is legally and factually sufficient to establish probable cause to support the

issuance of the requested criminal complaint and arrest warrant.

                                        Request for Sealing

       14.     I respectfully request that the Court issue an order sealing, until further order of

the Court, all papers submitted in support of the requested criminal complaint and arrest warrant.

I believe that sealing these documents is necessary because any disclosure of the information at

this time may endanger the life or physical safety of an individual, cause flight from prosecution,

or otherwise seriously jeopardize an investigation, including the planned arrest of the defendant.




                                                    /s/ Dominic Sanchez
                                                    Dominic Sanchez
                                                    Special Agent, Federal Bureau of Investigation



      Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at
__________
 10:40am on September _____,
                           4 2020.



                                                       ________________________________
                                                       THE HONORABLE JOLIE A. RUSSO
                                                       United States Magistrate Judge




 Page 5 – Affidavit of Dominic Sanchez                            USAO Version Rev. April 2018
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 205 of 248




            ATTACHMENT 25
                 Case Case
                      1:21-cr-00119-CJN
                           3:20-mj-00230 Document
                                          Document32-1
                                                   1 Filed
                                                       Filed09/03/20
                                                             06/24/21 Page
                                                                      Page 1206
                                                                             of 6of 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No. 3:20-mj-00230
                                                                    )
                                                                    )
                   Pedro Aldo Ramos, Jr.                            )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   August 24, 2020               in the county of             Multnomah            in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description


18 U.S.C. § 231(a)(3)                           Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Brendan M. Dennard




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Brendan M. Dennard
                                                                                               Complainant’s signature

                                                                                   FBI Special Agent Brendan M. Dennard
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
               4:47

Date:       September 3, 2020
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                                Printed name and title
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00230 Document
                               Document32-1
                                        1 Filed
                                            Filed09/03/20
                                                  06/24/21 Page
                                                           Page 2207
                                                                  of 6of 248




DISTRICT OF OREGON, ss:               AFFIDAVIT OF BRENDAN M. DENNARD

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Brendan M. Dennard, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Special Agent (SA) with the FBI and have been so employed for nine

years. I am currently assigned to a squad that is responsible for investigating violent crime,

fugitive apprehensions, and crimes against children. In 2011, I successfully completed 21 weeks

of training at the FBI Academy located in Quantico, Virginia. During that time, I was taught the

use and practical application of various investigative techniques that Federal law enforcement

officers are allowed to employ.

       2.      Prior to my current squad assignment, I was tasked with coordinating the FBI-led

Safe Streets Metro Gang Task Force (MGTF) and had done so for five plus years. Prior to that, I

was part of the Clackamas County Sheriff’s Office Inter-Agency Task Force and had been

assigned for approximately a year and a half. As a member of these task forces, as well as my

current assignment, I have been empowered under Title 18, United States Code, Sections 3052

and 3053, and Rule 4 of the Federal Rules of Criminal Procedure, to conduct investigations and

make arrests for federal criminal offenses, including violations of 18 U.S.C. § 231(a)(3) (civil

disorder – obstruction of law enforcement), 18 U.S.C. § 231(a)(1) (civil disorder - incendiary

device), 18 U.S.C. § 844(f)(1) (arson), 18 U.S.C. § 2101 (riot), and 18 U.S.C. § 371

(conspiracy). During my employment, I have been involved in the investigation and arrest of

individuals charged with the aforementioned crimes and have assisted in the execution of search

warrants and court orders based on those statutes.
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00230 Document
                               Document32-1
                                        1 Filed
                                            Filed09/03/20
                                                  06/24/21 Page
                                                           Page 3208
                                                                  of 6of 248




3.     I submit this affidavit in support of a criminal complaint and arrest warrant for PEDRO

ALDO RAMOS JR., for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set forth below,

there is probable cause to believe, and I do believe, that RAMOS assaulted a police officer for

the intended purpose of obstructing, impeding, or interfering in a violent manner with such law

enforcement officer; that RAMOS intentionally participated in blocking traffic on a public street;

that RAMOS did so knowingly and willfully, and that RAMOS did so during a civil disorder that

adversely affected interstate commerce.

                                          Applicable Law

       4.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to an during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce . . . shall be fined under

this title or imprisoned not more than five years or both.” The term “civil disorder” means any

public disturbance involving acts of violence by assemblages of three or more persons, which

causes an immediate danger of or results in damage or injury to the property or person of any

other individual.”

                                  Statement of Probable Cause

       5.      The information stated herein is based on my own personal involvement in this

investigation, as well as my discussions with other law enforcement officers involved in this

investigation, and information I have read that is contained in written reports pertaining to this

investigation. This affidavit does not include all facts known to me regarding this investigation


 Page 2 – Affidavit of BRENDAN M. DENNARD
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00230 Document
                               Document32-1
                                        1 Filed
                                            Filed09/03/20
                                                  06/24/21 Page
                                                           Page 4209
                                                                  of 6of 248




but contains only those facts which I believe are sufficient to establish the requisite probable

cause.

         6.    On May 25, 2020, George Floyd died during his arrest by law enforcement

officers in Minneapolis, Minnesota, sparking nationwide protests that extended to Portland,

Oregon. The protests have, at times, included violence, civil disorder, arson, and looting.

         7.    On August 23, 2020, a group estimated at more than 200 people, gathered around

the Portland Police Bureau (PPB) North Precinct located at 449 NE Emerson Street, Portland,

Oregon. This precinct sits on the southeast corner of NE Martin Luther King Jr (MLK)

Boulevard and NE Killingsworth Street. At this location, MLK Blvd has four lanes of travel

while Killingsworth St has two; MLK is a major road in this area that runs north and south.

Protestors were present in the streets, effectively blocking traffic in both directions.

         8.    Around 10:29 p.m., the gathering was declared an unlawful assembly due to

individuals throwing chunks of ceramic, rocks, and glass bottles at officers. Participants were

ordered to leave the area. Around 11:08 p.m., the event was deemed a riot due to the ongoing

criminal behavior. Officers were struck by bottles, paint bombs, rocks, and heavy metal screws

that were deliberately thrown at them. Participants were once again ordered to disperse.

         9.    Around 12:45 a.m. on August 24, 2020, PPB officers assigned to the Mobile Field

Force were working the ongoing riot. An officer, hereafter Victim 1 (V1), was taking a female

subject into custody who refused to follow the dispersal orders and subsequently, assaulted the

officer. While V1 was arresting the subject, RAMOS ran up to the arresting officer, grabbed

ahold of V1’s vest, and attempted to pull V1 off the arrestee. RAMOS then punched V1 on the

side of her face. The assault was observed by a fellow officer, hereafter, Witness 1 (W1).


 Page 3 – Affidavit of BRENDAN M. DENNARD
          Case Case
               1:21-cr-00119-CJN
                    3:20-mj-00230 Document
                                   Document32-1
                                            1 Filed
                                                Filed09/03/20
                                                      06/24/21 Page
                                                               Page 5210
                                                                      of 6of 248




RAMOS was subsequently arrested by police for Assault on a Public Safety Officer, among

other charges.

                                              Conclusion

           10.   Based on the foregoing, I have probable cause to believe, and I do believe, that

RAMOS intentionally obstructed, impeded, and interfered with law enforcement officers who

were engaged in the lawful performance of their duties when RAMOS assaulted a police officer

while participating in the blocking of traffic on a public street. RAMOS’s actions took place

during a civil disorder that adversely affected interstate commerce in violation of 18 U.S.C. §

231(a)(3). I therefore request that the Court issue a criminal complaint and arrest warrant for

RAMOS.

           11.   Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Pamela

Paaso, AUSA Paaso advised me that in her opinion the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.

/     /     /



/     /     /

                                         Request for Sealing

           12.   I respectfully request that the Court issue an order sealing, until further order of

the Court, all papers submitted in support of the requested criminal complaint and arrest warrant.

I believe that sealing these documents is necessary because any disclosure of the information at


    Page 4 – Affidavit of BRENDAN M. DENNARD
      Case Case
           1:21-cr-00119-CJN
                3:20-mj-00230 Document
                               Document32-1
                                        1 Filed
                                            Filed09/03/20
                                                  06/24/21 Page
                                                           Page 6211
                                                                  of 6of 248




this time may cause flight from prosecution, or otherwise seriously jeopardize an investigation,

including the planned arrest of the defendant.



                                                  /s/Brendan M. Dennard __________________
                                                  Brendan M. Dennard
                                                  Special Agent, Federal Bureau of Investigation

      Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at
__________
 4:47pm    on September _____,
                           3 2020.


                                                    ________________________________
                                                    THE HONORABLE JOLIE A. RUSSO
                                                    United States Magistrate Judge




 Page 5 – Affidavit of BRENDAN M. DENNARD
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 212 of 248




            ATTACHMENT 26
                 CaseCase
                      1:21-cr-00119-CJN
                          3:20-cr-00436-IMDocument
                                            Document
                                                   32-1
                                                      1 Filed
                                                        Filed 06/24/21
                                                              08/26/20 Page
                                                                        Page213
                                                                             1 ofof1 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                                                                    )                 3:20-mj-00216
                                                                    )
         KRISTOPHER MICHAEL DONNELLY                                )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                August 5th & 8th, 2020           in the county of            Multnomah             in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description


18 U.S.C. § 231(a)(3)                           Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Joseph Youngblood




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                  FBI Special Agent Joseph O. Youngblood
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
               [[[
WHOHSKRQHDWBBBBBBBBDPSP

Date:             08/26/2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                         Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00436-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     08/26/20 Page
                                                               Page214
                                                                    1 of
                                                                       of4248
                                                                                        3:20-mj-00216


',675,&72)25(*21VV               $)),'$9,72)-RVHSK2<RXQJEORRG

                                      

             $IILGDYLWLQ6XSSRUWRID&ULPLQDO&RPSODLQWDQG$UUHVW:DUUDQW

                                                  

       ,-RVHSK2<RXQJEORRGEHLQJGXO\VZRUQGRKHUHE\GHSRVHDQGVWDWHDVIROORZV

                              ,QWURGXFWLRQDQG$JHQW%DFNJURXQG

            ,DPD6SHFLDO$JHQWZLWKWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQDQGKDYHEHHQ

HPSOR\HGDVVXFKVLQFH-XO\RI,VXFFHVVIXOO\FRPSOHWHGZHHNVRIWUDLQLQJDWWKH)%,

$FDGHP\ORFDWHGLQ4XDQWLFR9LUJLQLD'XULQJWKDWWLPH,ZDVWDXJKWWKHXVHDQGSUDFWLFDO

DSSOLFDWLRQRIYDULRXVLQYHVWLJDWLYHWHFKQLTXHVWKDWIHGHUDOODZHQIRUFHPHQWRIILFHUVDUHDOORZHG

WRHPSOR\6LQFH'HFHPEHURI,KDYHEHHQDVVLJQHGWRWKH3RUWODQG'LYLVLRQ9LROHQW

&ULPH6TXDG0\WUDLQLQJDQGH[SHULHQFHLQFOXGHP\WLPHLQWKH)%,DVZHOODVIRXU\HDUVRI

SUHYLRXVIHGHUDOODZHQIRUFHPHQWH[SHULHQFHDVD0LOLWDU\3ROLFH2IILFHULQWKH8QLWHG6WDWHV

0DULQH&RUSV,KDYHEHHQHPSRZHUHGXQGHU7LWOH8QLWHG6WDWHV&RGH6HFWLRQVDQG

DQG5XOHRIWKH)HGHUDO5XOHVRI&ULPLQDO3URFHGXUHWRFRQGXFWLQYHVWLJDWLRQVDQGPDNH

DUUHVWVIRUIHGHUDOFULPLQDORIIHQVHVLQFOXGLQJYLRODWLRQVRI86& D   FLYLOGLVRUGHU

±REVWUXFWLRQRIODZHQIRUFHPHQW 86& D   FLYLOGLVRUGHULQFHQGLDU\GHYLFH 

86& I   DUVRQ 86& ULRW DQG86& FRQVSLUDF\ 

            ,VXEPLWWKLVDIILGDYLWLQVXSSRUWRIDFULPLQDOFRPSODLQWDQGDUUHVWZDUUDQWIRU

.ULVWRSKHU0LFKDHO'RQQHOO\IRUFLYLOGLVRUGHULQYLRODWLRQRI86& D  $VVHW

IRUWKEHORZWKHUHLVSUREDEOHFDXVHWREHOLHYHDQG,GREHOLHYHWKDWRQWZRRFFDVLRQV'RQQHOO\

KDVWKURZQKDUGREMHFWVFDSDEOHRIFDXVLQJLQMXU\DWODZHQIRUFHPHQWRIILFHUVDQGKDVDVVDXOWHGD

SXEOLFVDIHW\RIILFHUDQGUHVLVWHGDUUHVWIRUWKHSXUSRVHRIREVWUXFWLQJLPSHGLQJRULQWHUIHULQJLQ
        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00436-IM Document
                                  Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       08/26/20 Page
                                                                 Page215
                                                                      2 of
                                                                         of4248




DYLROHQWPDQQHUZLWKVXFKODZHQIRUFHPHQWRIILFHUVWKDWKHGLGVRNQRZLQJO\DQGZLOOIXOO\DQG

WKDWKHGLGVRGXULQJDFLYLOGLVRUGHUWKDWDGYHUVHO\DIIHFWHGLQWHUVWDWHFRPPHUFH

                                          $SSOLFDEOH/DZ

            7LWOH86& D  SURYLGHVWKDW³ZKRHYHUFRPPLWVRUDWWHPSWVWR

FRPPLWDQ\DFWWRREVWUXFWLPSHGHRULQWHUIHUHZLWKDQ\ILUHPDQRUODZHQIRUFHPHQWRIILFHU

ODZIXOO\HQJDJHGLQWKHODZIXOSHUIRUPDQFHRIKLVRIILFLDOGXWLHVLQFLGHQWWRDQGXULQJWKH

FRPPLVVLRQRIDFLYLOGLVRUGHUZKLFKLQDQ\ZD\RUGHJUHHREVWUXFWVGHOD\VRUDGYHUVHO\DIIHFWV

FRPPHUFHRUWKHPRYHPHQWRIDQ\DUWLFOHRUFRPPRGLW\LQFRPPHUFHVKDOOEHILQHGXQGHU

WKLVWLWOHRULPSULVRQHGQRWPRUHWKDQILYH\HDUVRUERWK´7KHWHUP³FLYLOGLVRUGHU´PHDQV³DQ\

SXEOLFGLVWXUEDQFHLQYROYLQJDFWVRIYLROHQFHE\DVVHPEODJHVRIWKUHHRUPRUHSHUVRQVZKLFK

FDXVHVDQLPPHGLDWHGDQJHURIRUUHVXOWVLQGDPDJHRULQMXU\WRWKHSURSHUW\RUSHUVRQRIDQ\

RWKHULQGLYLGXDO´

                                  6WDWHPHQWRI3UREDEOH&DXVH


            2Q$XJXVW3RUWODQG3ROLFH%XUHDX2IILFHU'XVWLQ/%DUWKZDVD

PHPEHURIWKH3RUWODQG3ROLFH%XUHDX5LRW5HVSRQVHWHDPFRQGXFWLQJFURZGFRQWUROGXWLHVLQ

UHODWLRQWRDGHFODUHGULRWDWWKH3RUWODQG3ROLFH(DVW3UHFLQFWORFDWHGDW6(WK$YHQXH

3RUWODQG2UHJRQ$WDSSUR[LPDWHO\SPRQ$XJXVWWK2IILFHU%DUWKFRQGXFWHGD

ODZIXODUUHVWRIVXEMHFW.ULVWRSKHU'RQQHOO\'RQQHOO\ZDVSUHYLRXVO\REVHUYHGE\SROLFHXVLQJ

DKDPPHUWRGHVWUR\DZLQGRZDWWKH3RUWODQG3ROLFH%XUHDX(DVW3UHFLQFW,PPHGLDWHO\

SUHFHGLQJKLVDUUHVW'RQQHOO\ZDVLGHQWLILHGE\SROLFHGXHWRKLVGLVWLQFWLYHKDLUWKURZLQJ

HPSW\WHDUJDVJUHQDGHFDQLVWHUVKDUGREMHFWVFDSDEOHRIFDXVLQJLQMXU\DWSROLFHZKLOHUHIXVLQJ

WRGLVSHUVHIURP6(WK$YHQXHDQGEORFNLQJWUDIILF2IILFHU%DUWKLQIRUPHG'RQQHOO\KHZDV

    3DJH±$IILGDYLWRI-RVHSK2<RXQJEORRG                   86$29HUVLRQ5HY$SULO

        Case
          Case
             1:21-cr-00119-CJN
                3:20-cr-00436-IM Document
                                  Document32-1
                                            1-1 Filed
                                                 Filed06/24/21
                                                       08/26/20 Page
                                                                 Page216
                                                                      3 of
                                                                         of4248




XQGHUDUUHVWDQGDWWHPSWHGWRWDNHKLPLQWRFXVWRG\'RQQHOO\WKHQIRUFHIXOO\VWUXFN2IILFHU

%DUWKLQWKHIDFHXVLQJKLVHOERZ'RQQHOO\FRQWLQXHGWRUHVLVWDUUHVWUHTXLULQJVHYHUDOPRUH

RIILFHUVWRDVVLVW2IILFHU%DUWKEHIRUH'RQQHOO\ZDVVXFFHVVIXOO\WDNHQLQWRFXVWRG\'RQQHOO\

ZDVFKDUJHGXQGHU2UHJRQ6WDWHODZZLWK5LRW'LVRUGHUO\&RQGXFW,,,QWHUIHULQJZLWKD3XEOLF

6DIHW\2IILFHU$VVDXOWLQJD3XEOLF6DIHW\2IILFHU9DQGDOLVPDQG5HVLVWLQJ$UUHVW


             2Q$XJXVW'RQQHOO\ZDVDUUHVWHGE\3RUWODQG3ROLFH%XUHDX2IILFHU

-RVKXD'\NGXULQJDGHFODUHGULRWRXWVLGHRIWKH3HQXPEUD.HOO\%XLOGLQJDW(%XUQVLGH

6WUHHW3RUWODQG2UHJRQ'RQQHOO\ZDVREVHUYHGE\ODZHQIRUFHPHQWEORFNLQJWKHVWUHHW

DQGWKURZLQJIUR]HQHJJVKDUGREMHFWVFDSDEOHRIFDXVLQJLQMXU\DWRIILFHUVZKLFKSUHFLSLWDWHG

KLVDUUHVW'RQQHOO\DWWHPSWHGWRIOHHIURPRIILFHUVDQGUHVLVWHGDUUHVWEHIRUHVXFFHVVIXOO\EHLQJ

WDNHQLQWRFXVWRG\'RQQHOO\ZDVFKDUJHGXQGHU2UHJRQ6WDWHODZZLWK,QWHUIHULQJZLWKD3XEOLF

6DIHW\2IILFHU5LRWDQG'LVRUGHUO\&RQGXFW,,


                                                &RQFOXVLRQ


            %DVHGRQWKHIRUHJRLQJ,KDYHSUREDEOHFDXVHWREHOLHYHDQG,GREHOLHYHWKDW

.ULVWRSKHU0LFKDHO'RQQHOO\RQWKHDERYHWZRRFFDVLRQVLQWHQWLRQDOO\REVWUXFWHGLPSHGHGDQG

LQWHUIHUHGZLWKDSROLFHRIILFHUZKRZDVHQJDJHGLQWKHODZIXOSHUIRUPDQFHRIKLVGXWLHV

PRUHRYHUDOORIWKHVHDFWLRQVWRRNSODFHGXULQJDFLYLOGLVRUGHUWKDWDGYHUVHO\DIIHFWHGLQWHUVWDWH

FRPPHUFHLQYLRODWLRQRI86& D  ,WKHUHIRUHUHTXHVWWKDWWKH&RXUWLVVXHD

FULPLQDOFRPSODLQWDQGDUUHVWZDUUDQWIRU.ULVWRSKHU0LFKDHO'RQQHOO\

            3ULRUWREHLQJVXEPLWWHGWRWKH&RXUWWKLVDIILGDYLWWKHDFFRPSDQ\LQJFRPSODLQW

DQGWKHDUUHVWZDUUDQWZHUHDOOUHYLHZHGE\$VVLVWDQW8QLWHG6WDWHV$WWRUQH\V $86$V .HOO\$

    3DJH±$IILGDYLWRI-RVHSK2<RXQJEORRG                  86$29HUVLRQ5HY$SULO

      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00436-IM Document
                                Document32-1
                                          1-1 Filed
                                               Filed06/24/21
                                                     08/26/20 Page
                                                               Page217
                                                                    4 of
                                                                       of4248




=XVPDQDQG7KRPDV65DWFOLIIH$86$V=XVPDQDQG5DWFOLIIHDGYLVHGPHWKDWLQWKHLU

RSLQLRQVWKHDIILGDYLWDQGFRPSODLQWDUHOHJDOO\DQGIDFWXDOO\VXIILFLHQWWRHVWDEOLVKSUREDEOH

FDXVHWRVXSSRUWWKHLVVXDQFHRIWKHUHTXHVWHGFULPLQDOFRPSODLQWDQGDUUHVWZDUUDQW

                                       5HTXHVWIRU6HDOLQJ

             ,UHVSHFWIXOO\UHTXHVWWKDWWKH&RXUWLVVXHDQRUGHUVHDOLQJXQWLOIXUWKHURUGHURI

WKH&RXUWDOOSDSHUVVXEPLWWHGLQVXSSRUWRIWKHUHTXHVWHGFULPLQDOFRPSODLQWDQGDUUHVWZDUUDQW

,EHOLHYHWKDWVHDOLQJWKHVHGRFXPHQWVLVQHFHVVDU\EHFDXVHDQ\GLVFORVXUHRIWKHLQIRUPDWLRQDW

WKLVWLPHPD\HQGDQJHUWKHOLIHRUSK\VLFDOVDIHW\RIDQLQGLYLGXDOFDXVHIOLJKWIURPSURVHFXWLRQ

RURWKHUZLVHVHULRXVO\MHRSDUGL]HDQLQYHVWLJDWLRQLQFOXGLQJWKHSODQQHGDUUHVWRIWKHGHIHQGDQW


                                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                      -RVHSK2<RXQJEORRG
                                                      6SHFLDO$JHQW
                                                      )HGHUDO%XUHDXRI,QYHVWLJDWLRQ


                                                                                     DWSP
      6ZRUQLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\WHOHSKRQHBBBBB
RQ$XJXVW

                                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                         BBBBBBBBBBBBBBBBBBBBBB
                                                      +2125$%/(<28/((<,0<28
                                                         125$%/( <28/(( <,0
                                                      8QLWHG6WDWHV0DJLVWUDWH-XGJH




 3DJH±$IILGDYLWRI-RVHSK2<RXQJEORRG                     86$29HUVLRQ5HY$SULO
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 218 of 248




            ATTACHMENT 27
Case
  Case
     1:21-cr-00119-CJN
        3:20-cr-00290-YYDocument
                          Document
                                 32-1
                                   16 Filed
                                       Filed06/24/21
                                             12/07/20 Page
                                                       Page219
                                                            1 ofof4248
Case
  Case
     1:21-cr-00119-CJN
        3:20-cr-00290-YYDocument
                          Document
                                 32-1
                                   16 Filed
                                       Filed06/24/21
                                             12/07/20 Page
                                                       Page220
                                                            2 ofof4248
Case
  Case
     1:21-cr-00119-CJN
        3:20-cr-00290-YYDocument
                          Document
                                 32-1
                                   16 Filed
                                       Filed06/24/21
                                             12/07/20 Page
                                                       Page221
                                                            3 ofof4248
Case
  Case
     1:21-cr-00119-CJN
        3:20-cr-00290-YYDocument
                          Document
                                 32-1
                                   16 Filed
                                       Filed06/24/21
                                             12/07/20 Page
                                                       Page222
                                                            4 ofof4248
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 223 of 248




            ATTACHMENT 28
                 Case Case
                      1:21-cr-00119-CJN
                           3:20-mj-00235 Document
                                          Document32-1
                                                   1 Filed
                                                       Filed09/04/20
                                                             06/24/21 Page
                                                                      Page 1224
                                                                             of 1of 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                                                                    )                 3:20-mj- 00235
                                                                    )
                Charles Randolph Comfort                            )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  June 25-26, 2020               in the county of            Multnomah             in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description


18 U.S.C. § 231(a)(3)                           Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Dominic Sanchez




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Dominic Sanchez
                                                                                              Complainant’s signature

                                                                                      FBI Special Agent Dominic Sanchez
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
              6:17
WHOHSKRQHDWBBBBBBBBDPSP

Date:       September 4, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                         Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      CaseCase
            1:21-cr-00119-CJN
                3:20-mj-00235 Document
                              Document 32-1
                                       1-1 Filed 09/04/20
                                                 06/24/21 Page
                                                          Page 225
                                                               1 of of
                                                                    4 248
3:20-mj-00235


DISTRICT OF OREGON, ss:                              AFFIDAVIT OF DOMINIC SANCHEZ

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Dominic Sanchez, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation and have been

since November 2018. My current assignment is on the Violent Crimes Squad which includes

conducting robbery and human trafficking investigations, as well as investigations into other

violations of federal law. My training and experience includes over one thousand hours of

training and over ten years of federal law enforcement experience.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Charles Randolph COMFORT for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set

forth below, there is probable cause to believe, and I do believe, that COMFORT has assaulted

Portland Police Bureau (PPB) officers for the purpose of obstructing, impeding, or interfering in

a violent manner with such law enforcement officers; that he did so knowingly and willfully; and

that he did so during a civil disorder that adversely affected interstate commerce.

                                         Applicable Law

       3.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to an during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce . . . shall be fined under

this title or imprisoned not more than five years or both.” The term “civil disorder” means “any

public disturbance involving acts of violence by assemblages of three or more persons, which
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00235 Document
                             Document 32-1
                                      1-1 Filed 09/04/20
                                                06/24/21 Page
                                                         Page 226
                                                              2 of of
                                                                   4 248




causes an immediate danger of or results in damage or injury to the property or person of any

other individual.”

                                  Statement of Probable Cause

         4.    The information stated herein is based on my own personal involvement in this

investigation, as well as my discussions with other law enforcement officers involved in this

investigation, and information I have read that is contained in written reports pertaining to this

investigation. This affidavit does not include all facts known to me regarding this investigation

but contains only those facts which I believe are sufficient to establish the requisite probable

cause.

         5.    On May 25, 2020, George Floyd died during his arrest by law enforcement

officers in Minneapolis, Minnesota, sparking nationwide protests that eventually extended to

Portland, Oregon. The protests have, at times, included violence, civil disorder, arson, and

looting.

         6.    In the evening on June 25, 2020, a group of individuals blocked traffic on NE

Martin Luther King Jr Boulevard and NE Emerson Street, near PPB’s North Precinct.

Dumpsters were being taken from nearby businesses and rolled into the streets and fireworks

were thrown over the barricade on NE Emerson Street at the officers stationed there. An

unlawful assembly was declared at approximately 1:10 a.m. on June 26, 2020, and PPB made

repeated public address announcements telling the group to leave the area.

         7.    A PPB Rapid Response Team (RRT) officer was assisting with moving the crowd

that was in the middle of NE MLK Blvd and witnessed an individual, later identified as

COMFORT, carrying a black shield that covered his torso while he blocked the street. As the

 Page 2 – Affidavit of Dominic Sanchez                           USAO Version Rev. April 2018
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00235 Document
                             Document 32-1
                                      1-1 Filed 09/04/20
                                                06/24/21 Page
                                                         Page 227
                                                              3 of of
                                                                   4 248




PPB RRT line moved toward the crowd, the officer witnessed COMFORT charge at another

PPB officer while carrying the shield. The PPB officer pushed COMFORT away, but

COMFORT immediately charged at the officer again. A second PPB officer also witnessed

COMFORT charge at the officer while holding his shield. COMFORT was instructed to leave

the area by multiple officers, but instead dropped his shield and refused to leave.

        8.      Upon refusing to leave, COMFORT was advised he was being placed under arrest

by the PPB officer. When the officer and his partner attempted to restrain him, COMFORT

actively tried to pull away and kicked the PPB officer multiple times, resulting in the PPB officer

falling to his knee.

        9.      COMFORT was ultimately taken to the ground, at which point he no longer

resisted and was placed in handcuffs. COMFORT requested to call his lawyer after being

advised of his Miranda warnings.

                                            Conclusion

        10.     Based on the foregoing, I have probable cause to believe, and I do believe, that

COMFORT knowingly, willfully and intentionally obstructed, impeded, and interfered with law

enforcement officers who were engaged in the lawful performance of their duties when

COMFORT at least twice charged into a PPB officer and kicked another PPB officer. All of

these actions took place during a civil disorder that adversely affected interstate commerce in

violation of 18 U.S.C. § 231(a)(3). I therefore request that the Court issue a criminal complaint

and arrest warrant for COMFORT.

        11.     Prior to being submitted to the Court, this affidavit was reviewed by Assistant

United States Attorney (AUSA) Thomas S. Ratcliffe. AUSA Ratcliffe advised me that, in his

 Page 3 – Affidavit of Dominic Sanchez                          USAO Version Rev. April 2018
      CaseCase
           1:21-cr-00119-CJN
               3:20-mj-00235 Document
                             Document 32-1
                                      1-1 Filed 09/04/20
                                                06/24/21 Page
                                                         Page 228
                                                              4 of of
                                                                   4 248




opinion, the affidavit is legally and factually sufficient to establish probable cause to support the

issuance of the requested criminal complaint and arrest warrant.

                                        Request for Sealing

       12.     I respectfully request that the Court issue an order sealing, until further order of

the Court, all papers submitted in support of the requested criminal complaint and arrest warrant.

I believe that sealing these documents is necessary because any disclosure of the information at

this time may endanger the life or physical safety of an individual, cause flight from prosecution,

or otherwise seriously jeopardize an investigation, including the planned arrest of the defendant.


                                                    /s/ Dominic Sanchez
                                                    Dominic Sanchez
                                                    Special Agent, Federal Bureau of Investigation



       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at
__________
  6:17pm on September _____,4 2020.



                                                       ________________________________
                                                       THE HONORABLE JOLIE A. RUSSO
                                                       United States Magistrate Judge




 Page 4 – Affidavit of Dominic Sanchez                            USAO Version Rev. April 2018
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 229 of 248




            ATTACHMENT 29
                 CaseCase
                      1:21-cr-00119-CJN
                          3:20-cr-00459-SIDocument
                                            Document
                                                   32-1
                                                     1 Filed 06/24/21
                                                             09/04/20 Page
                                                                      Page230
                                                                           1 ofof
                                                                                5 248
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                 __________ District
                                                       District      of __________
                                                                of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                                                                    )                  3:20-mj- 00233
                                                                    )
                       Alexandra Eutin                              )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    July 16, 2020                in the county of            Multnomah             in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description


18 U.S.C. § 231(a)(3)                           Civil Disorder - Intentionally Obstructing, Impeding, Interfering with Law
                                                Enforcement Officers Engaged in Official Duties




         This criminal complaint is based on these facts:

           See attached affidavit of FBI Special Agent Brendan Dennard




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Brendan Dennard
                                                                                              Complainant’s signature

                                                                                      FBI Special Agent Brendan Dennard
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
              7:48

Date:      September 4, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                         Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00459-SIDocument
                                 Document
                                        32-1
                                          1 Filed 06/24/21
                                                  09/04/20 Page
                                                           Page231
                                                                2 ofof
                                                                     5 248




DISTRICT OF OREGON, ss:                        AFFIDAVIT OF BRENDAN M. DENNARD

                Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Brendan M. Dennard, being duly sworn, do hereby depose and state as follows:

                               Introduction and Agent Background

       1.        I am a Special Agent (SA) with the FBI and have been so employed for nine

years. I am currently assigned to a squad that is responsible for investigating violent crime,

fugitive apprehensions, and crimes against children. In 2011, I successfully completed 21 weeks

of training at the FBI Academy located in Quantico, Virginia. During that time, I was taught the

use and practical application of various investigative techniques that Federal law enforcement

officers are allowed to employ.

       2.        Prior to my current squad assignment, I was tasked with coordinating the FBI-led

Safe Streets Metro Gang Task Force (MGTF) and had done so for five plus years. Prior to that, I

was part of the Clackamas County Sheriff’s Office Inter-Agency Task Force and had been

assigned for approximately a year and a half. As a member of these task forces, as well as my

current assignment, I have been empowered under Title 18, United States Code, Sections 3052

and 3053, and Rule 4 of the Federal Rules of Criminal Procedure, to conduct investigations and

make arrests for federal criminal offenses, including violations of 18 U.S.C. § 231(a)(3) (civil

disorder – obstruction of law enforcement); 18 U.S.C. § 231(a)(1) (civil disorder - incendiary

device); 18 U.S.C. § 844(f)(1) (arson); 18 U.S.C. § 2101 (riot); and 18 U.S.C. § 371

(conspiracy).

       3.        I submit this affidavit in support of a criminal complaint and arrest warrant for

ALEXANDRA EUTIN, for civil disorder in violation of 18 U.S.C. § 231(a)(3). As set forth

below, there is probable cause to believe, and I do believe, that EUTIN struck a Portland Police
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00459-SIDocument
                                 Document
                                        32-1
                                          1 Filed 06/24/21
                                                  09/04/20 Page
                                                           Page232
                                                                3 ofof
                                                                     5 248




Bureau Officer's head and helmet with a piece of wood for the intended purpose of obstructing,

impeding, or interfering in a violent manner with such law enforcement officer; that she did so

knowingly and willfully; and that she did so during a civil disorder that adversely affected

interstate commerce.

                                         Applicable Law

       4.      Title 18 U.S.C. § 231(a)(3) provides that “whoever commits or attempts to

commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to an during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce . . . shall be fined under

this title or imprisoned not more than five years or both.” The term “civil disorder” means “any

public disturbance involving acts of violence by assemblages of three or more persons, which

causes an immediate danger of or results in damage or injury to the property or person of any

other individual.”

                                  Statement of Probable Cause

       5.      During the evening of July 16, 2020, approximately a couple hundred people

gathered in the general vicinity of PPB's Southeast precinct, located on the 4700 block of East

Burnside Street in Portland, Oregon. Once the group arrived at Southeast Precinct, they gathered

on East Burnside Street blocking all lanes of traffic. For about an hour, the group shined

flashlights and lasers at officers standing outside the precinct. The group was asked by the PPB

sound truck to remain peaceful.



 Page 2 – Affidavit of BRENDAN M.                               USAO Version Rev. April 2018
 DENNARD
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00459-SIDocument
                                 Document
                                        32-1
                                          1 Filed 06/24/21
                                                  09/04/20 Page
                                                           Page233
                                                                4 ofof
                                                                     5 248




       6.      At approximately 9:52 p.m., the group began making statements about wanting to

enter Southeast Precinct and burn down the property. The group was admonished by the sound

truck and told not to enter the property or they would be subject to arrest or use of force. The

group continued to stand in the street and started a small fire on East Burnside Street. Other

members of the group disregarded the messages given by the sound truck and crossed onto

Southeast Precinct property.

       7.      At 11:45 p.m., an unlawful assembly was declared due to several people in the

crowd committing criminal activity. The criminal activity consisted of throwing rocks, bottles,

and sticks, as well as pointing green lasers at officers.

       8.      A PPB Officer (Officer #1) was part of a cadre of officers making arrests at that

time. He was wearing markings on his clothing that clearly identified him as a police officer.

While attempting to make an arrest, Officer #1 was on the ground only a few feet from where

EUTIN was standing. EUTIN witnessed Officer #1 attempting to make this arrest. EUTIN had

a makeshift sign/shield made out of wood and hoses in her hand that she raised up and struck

Officer #1 with on top of his head/helmet. Another PPB Officer (Officer #2) witnessed EUTIN's

assault on Officer #1, which was also an attempt to obstruct, impede, or interfere with the arrest

Officer #1 was attempting. Officer #2 arrested EUTIN.

                                             Conclusion

       9.      Based on the foregoing, I have probable cause to believe, and I do believe, that

ALEXANDRA EUTIN knowingly, willfully and intentionally obstructed, impeded, and

interfered with a law enforcement officer who was engaged in the lawful performance of his



 Page 3 – Affidavit of BRENDAN M.                                USAO Version Rev. April 2018
 DENNARD
      CaseCase
           1:21-cr-00119-CJN
               3:20-cr-00459-SIDocument
                                 Document
                                        32-1
                                          1 Filed 06/24/21
                                                  09/04/20 Page
                                                           Page234
                                                                5 ofof
                                                                     5 248




duties when EUTIN struck a Portland Police Bureau Officer's head and helmet with a piece of

wood; these actions took place during a civil disorder that adversely affected interstate

commerce in violation of 18 U.S.C. § 231(a)(3). I therefore request that the Court issue a

criminal complaint and arrest warrant for EUTIN.

       10.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Thomas

Ratcliffe. AUSA Ratcliffe advised me that, in his opinion, the affidavit and complaint are legally

and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.

                                         Request for Sealing

       11.     I respectfully request that the Court issue an order sealing, until further order of

the Court, all papers submitted in support of the requested criminal complaint and arrest warrant.

I believe that sealing these documents is necessary because any disclosure of the information at

this time may endanger the life or physical safety of an individual, cause flight from prosecution,

or otherwise seriously jeopardize an investigation, including the planned arrest of the defendant.


                                                      /s/ Brendan Dennard
                                                      Brendan Dennard
                                                      Special Agent
                                                      Federal Bureau of Investigation

        Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone
at _______
    7:48pm on September ____,
                            4 2020.

                                                      ________________________________
                                                      HONORABLE JOLIE A. RUSSO
                                                      United States Magistrate Judge


 Page 4 – Affidavit of BRENDAN M.                                USAO Version Rev. April 2018
 DENNARD
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 235 of 248




            ATTACHMENT 30
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00497-BRDocument
                                Document
                                       32-1
                                         26 Filed
                                             Filed06/24/21
                                                   06/17/21 Page
                                                             Page236
                                                                  1 of
                                                                     of4248




SCOTT ERIK ASPHAUG
Acting United States Attorney
District of Oregon
THOMAS S. RATCLIFFE, ILSB #6243708
Assistant United States Attorney
Thomas.Ratcliffe@usdoj.gov
1000 SW Third Avenue, Suite 600
Portland, OR 97204-2902
Telephone: (503) 727-1000
Attorneys for United States of America

                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:20-cr-00497-BR

               v.                                    GOVERNMENT’S SENTENCING
                                                     MEMORANDUM
JEFFREY RICHARD SINGER,

              Defendant.


       Introduction

       The defendant stole the U.S. flag from the Gus J. Solomon federal courthouse in

Portland, carried it several blocks while marching in the streets with a crowd, and destroyed it in

front of the Portland Police Bureau’s Central Precinct building. The government asks the Court

to sentence the defendant to time served, plus one year of supervised release, and to order

restitution of $218.50.




Government’s Sentencing Memorandum                                                            Page 1
                                                                                      Revised Aug. 2019
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00497-BRDocument
                                Document
                                       32-1
                                         26 Filed
                                             Filed06/24/21
                                                   06/17/21 Page
                                                             Page237
                                                                  2 of
                                                                     of4248




       Factual Background

       A.      The Offense Conduct

       The PSR accurately describes the defendant’s conduct on September 19, 2020. (PSR ¶¶

15-18.) As part of a protest that night, the defendant stole the U.S. flag from federal property,

carried it to the PPB Central Precinct building, and destroyed it by setting it ablaze. Special

agents from Homeland Security Investigations watched him do those things. Agents also

watched him break several Starbucks windows with a baton.

       The PSR also accurately recounts the defendant’s conduct two weeks later during similar

protests that escalated into violence when the defendant charged directly at an officer who was

trying to apprehend him, injuring the officer’s thumb. (PSR ¶¶ 19-20.) That conduct, of course,

is not directly related to the defendant’s guilty plea, but indicates the defendant’s recurring role

in the nightly violence in Portland last summer and fall.

       B.      The Charges

       The defendant was indicted on October 20, 2020, for two counts: (1) Civil Disorder, in

violation of Title 18 of the United States Code, Section 231(a)(3) (a felony), and (2) Theft of

Government Property, in violation of Title 18 of the United States Code, Section 641 (as a

misdemeanor). He pled guilty in late March.

       C.      The Plea Agreement & Guideline Computations

       The government agrees with the following PSR computations:

 Guidelines Provision                                  Government’s Position
 Base - USSG § 2B1.1                                     6 (not contested)
 Acceptance of Responsibility –                        - 2 (not contested)
 USSG § 3E1.1(a)
 Total Offense Level                                    4


Government’s Sentencing Memorandum                                                           Page 2
      Case
        Case
           1:21-cr-00119-CJN
              3:20-cr-00497-BRDocument
                                Document
                                       32-1
                                         26 Filed
                                             Filed06/24/21
                                                   06/17/21 Page
                                                             Page238
                                                                  3 of
                                                                     of4248




 Resulting Guideline Range                            0 – 6 months (Zone A)
 In Criminal History Category III

       Argument

       A.      Contested Guideline Issues

       The government does not contest the guidelines calculations. The applicable

guideline range is 0 to 6 months of imprisonment in Zone A.

       B.      Government’s Recommended Sentence

       The government acknowledges and appreciates the defendant’s success during pretrial

supervision, particularly because the defendant avoided becoming involved in further protest-

related violence in Portland.

       Stealing government property from outside a federal courthouse in Portland last fall was

not the crime of the century, the decade or even the year. But it was a crime, and the defendant

deserves to be punished for it. His misdemeanor conviction and continuing supervision are

adequate to account for the seriousness of his offense.

       The government submits that, under the facts of this case, a sentence of time served and

one year of supervised release is sufficient, will promote respect for the law, and will provide

just punishment for this defendant. Such a sentence will provide adequate deterrence to criminal

conduct and protect the public.

       C.      Forfeiture & Restitution

       Forfeiture is not an issue in this case.

       Restitution is appropriate to compensate the federal government for the loss of its

property. The government recently submitted to defense counsel proof that the type of flag the

defendant destroyed costs $218.50. The government seeks restitution of $218.50.

Government’s Sentencing Memorandum                                                           Page 3
     Case
       Case
          1:21-cr-00119-CJN
             3:20-cr-00497-BRDocument
                               Document
                                      32-1
                                        26 Filed
                                            Filed06/24/21
                                                  06/17/21 Page
                                                            Page239
                                                                 4 of
                                                                    of4248




       Conclusion

       The government recommends the Court impose a sentence of time served, one year of

supervised release, a $100 special assessment, and restitution of $218.50.

Dated: June 16, 2021                                 Respectfully submitted,

                                                     SCOTT ERIK ASPHAUG
                                                     Acting United States Attorney


                                                     /s/ Thomas S. Ratcliffe
                                                     THOMAS S. RATCLIFFE, ILSB #6243708
                                                     Assistant United States Attorney




Government’s Sentencing Memorandum                                                   Page 4
Case 1:21-cr-00119-CJN Document 32-1 Filed 06/24/21 Page 240 of 248




            ATTACHMENT 31
           Case Case
                1:21-cr-00119-CJN
                     3:20-mj-00163 Document
                                    Document32-1
                                             1 Filed
                                                 Filed07/24/20
                                                       06/24/21 Page
                                                                Page 1241
                                                                       of 8of 248



AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Oregon

                  United States of America                          )
                               V.                                   )
                                                                    )      Case No. 3:20-mj-00163
                                                                    )
                  CARLY ANNE BALLARD                                )
                                                                    )
                                                                    )
                          Defendant(s)
                           CRIMINAL COMPLAINT
             BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/24/2020                  in the county of            Multnomah         in the

- - - - - - District of                       Oregon            , the defendant(s) violated:

            Code Section                                                        Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of FPS Special Agent Steven Bingley, attached hereto and incorporated by reference.




         gf Continued on the attached sheet.




                                                                                              DUSM Jonathan Lobell
                                                                                               Printed name and title

Attested to.by the applicant~cordance with the requirements of Fed. R.



       \*
teleph~neat/J :,_@ a . m ~

Date: · - ~ ~ ~ cJt)c;::::rTJ
           J
City and state:
                                            ""
                                        Portland, Oregon                          Hon. John V. Acosta, U.S. Magistrate Judge
                                                                                               Printed name and title
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 2242
                                                            of 8of 248




DISTRICT OF OREGON                       )
                                         ) ss: AFFIDAVIT OF DEPUTY MARSHAL
County of Multnomah                      )     JONATHAN LOBELL

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Jonathan Lobell, being duly sworn, do hereby depose and state as follows:

                                Introduction and Agent Background

        1.        I am a Deputy with the United States Marshals Service and have been since 2008.

I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the United States

Marshals Service. I am assigned to the Pacific Northwest Violent Offender Task Force where I

am responsible for conducting fugitive investigations that result in arrest and prosecutions of

individuals who are facing criminal charges in state and federal court. As a Criminal

Investigator Deputy U.S. Marshal, I am authorized under 28 U.S.C. § 564 to enforce the federal

criminal laws of the United States. My training and experience include completion of the Federal

Criminal Investigator Training Program and the U.S. Marshals Service Basic Academy at the

Federal Law Enforcement Training Center in Glynco, Georgia. I have also attended additional

training provided by other law enforcement entities relating to fugitive investigations and drug

investigations.

       2.         I submit this affidavit in support of a criminal complaint and arrest warrant for

Carly Anne BALLARD. As set forth below, there is probable cause to believe, and I do believe,

that BALLARD committed the offense of Assaulting a Federal Officer (Felony), in violation of

18 U.S.C. § 11 l(a)(l).

       3.         The facts set forth in this affidavit are based on the following: my own personal

knowledge; information obtained from other individuals during my participation in this


 Page 1 - Affidavit of Jonathan Lobell
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 3243
                                                            of 8of 248




investigation, including other law enforcement officers; interviews of witnesses; my review of

records related to this investigation; communication with others who have knowledge of the

events and circumstances described herein; and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

        4.      18 U.S.C. § 11 l(a)(l) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under§ 11 l(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                   Statement of Probable Cause

        5.      Since on or about May 26, 2020, protesters have gathered in Portland public areas

to protest. Three of these public areas are Lownsdale Square, Chapman Square and Terry

Schrunk Plaza. The Portland Justice Center, housing Portland Police Bureau's (PPB) Central

Precinct and the Multnomah County Detention Center (MCDC), border these parks, as does the




 Page 2 -Affidavit of Jonathan Lobell
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 4244
                                                            of 8of 248




Mark O.Hatfield United States Federal Courthouse 1. The United States of America owns the

entire city block (Block #24) occupied by the courthouse building depicted below:




Daily protests have regularly been followed by nightly criminal activity in the form of

vandalism, destruction of property, looting, arson, and assault. One violent event impacting

federal property occurred on May 28, 2020, when the Portland Field Office for the Immigration

and Customs Enforcement (ICE) was targeted by a Molotov Cocktail. The Mark 0. Hatfield

Courthouse has experienced significant damage to the fa;ade, glass, and building fixtures during

the weeks following this incident. Additionally, mounted building security cameras and access

control devices have been vandalized or stolen. The most recent repair estimate for the damage




1
  As part ofmy duties, I am familiar with the property boundaries for federal facilities in the Portland Oregon area.
The federal government owns the entire city block occupied by the Mark 0. Federal Courthouse. Easements have
been granted for the sidewalks surrounding the facility. The property boundary extends past the sidewalks and into
the streets surrounding the courthouse.

 Page 3 - Affidavit of Jonathan Lobell
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 5245
                                                            of 8of 248




at the Mark 0. Hatfield Courthouse is in excess of $50,000. Other federal properties in the area

routinely being vandalized include the historic Pioneer Federal Courthouse, the Gus Solomon

Courthouse, and the Edith Green Wendall Wyatt Federal Office Building. FPS law enforcement

officers, U.S. Marshal Service Deputies and other federal law enforcement officers working in

the protection of the Mark 0. Hatfield Courthouse have been subjected to assault, threats, aerial

fireworks including mortars, high intensity lasers targeting officer's eyes, thrown rocks, bottles

and balloons filled with paint, and vulgar language from demonstrators while prefonning their

duties.

          6.   On multiple occasions during the early morning of July 24, 2020, protesters

attempted to set fire to, and breach the exterior perimeter fence surrounding the Mark 0. Hatfield

Federal United States Courthouse (USCH). Protestors were able to breach the northwest comer

of the perimeter fencing, which allowed protestors into the fenced off area surrounding the

Federal courthouse. Prior to the protestors breaching the perimeter fence, multiple protestors

were observed throwing material into the fenced off area and starting fires on the sidewalk of the

USCH. U.S. Customs and Border Protection (CBP), U.S. Marshals Service (USMS), and FPS

tactical team deployed to the affected area to prevent further damage and a possible breach into

the USCH. Tactical teams verbally and visually identified themselves as "POLICE" and ordered

protesters to move away from the USCH.

          7.   After tactical teams dispersed the crowd, the CBP tactical team established a

perimeter in front of the USCH to maintain security while other officers repaired and secured the

fence that had been damaged in the attack.




 Page 4 - Affidavit of Jonathan Lobell
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 6246
                                                            of 8of 248




         8.      CBP Agent 12 was on duty in a fully marked law enforcement uniform at the

Mark 0. Hatfield Courthouse. AGENT 1 was advised by other federal law enforcement

personnel that an individual, later identified as Carly BALLARD was on 3rd Street in front of

the Mark 0. Hatfield Courthouse. AGENT 1 exited the courthouse onto 3rd Street through a

breach in the fence on the northwest comer of the courthouse. AGENT 1 along with multiple

agents and officers clearly gave multiple orders to BALLARD to step away from the fence while

the officers attempted to fix the breach in the fence. At the time BALLARD was on federal

property. BALLARD was not complying and started to approach the officers. BALLARD was

told she will be placed under arrest if she did not comply with our orders. BALLARD did not

comply. AGENT 1 then detained BALLARD and escorted her into the courthouse for

processing.

         9.      On July 24, 2020, I conducted an interview ofUSMS LEO l(victim) regarding

BALLARD kicking the back of the victim's leg. USMS LEO 1 was on duty in a fully marked

law enforcement uniform that had "U.S. MARSHAL AND POLICE" markings. USMS LEO 1

was assigned to receive custodies from other tactical team when arrests were brought into the

USCH. USMS LEO 1 and USMS LEO 2 were taking custody of BALLARD from AGENT 1

inside the lobby of the USCH. USMS LEOl and USMS LEO 2 observed that BALLARD was

yelling profanities and pulling away from AGENT 1. USMS LEO 1 positioned on the right side

of BALLARD to gain control of her while USMS LEO 2 positioned on the left side of

BALLARD. BALLARD attempted to pull away from USMS LEO 1 and kicked the back of LEO



2
 Identification of the CBP Agent(s) and USMS LEO(s) is known to me. For security reasons his/her name(s) will
not be included in this affidavit, but are readily available for the court if needed.

    Page 5-Affidavit of Jonathan Lobell
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 7247
                                                            of 8of 248




1's left leg. USMS LEO 1 and USMS LEO 2 regained control of BALLARD and placed her on

the ground. BALLARD continued to yell profanities and physically resist. USMS LEO 1 and

USMS LEO 2 gave BALLARD multiple commands to stop resisting and remain calm. USMS

LEO 1 and USMS LEO 2 lifted BALLARD off the floor and were able to escort her to the

USMS cellblock without further incident.

       10.    At approximately 5:40 AM on July 24, 2020 I attempted to conduct an interview

of BALLARD regarding the assault on USMS LEO 1. BALLARD stated that she did not want to

speak with me and wanted her lawyer present. I terminated contact with BALLARD at that time.

                                           Conclusion

       11.    Based on the foregoing, I have probable cause to believe, and I do believe, that

Carly ANNE BALLARD committed a violation of 18 U.S.C. § 11 l(a), and in so doing made

physical contact with USMS LEO 1.



II




II




II




 Page 6 - Affidavit of Jonathan Lobell
Case Case
     1:21-cr-00119-CJN
          3:20-mj-00163 Document
                         Document32-1
                                  1 Filed
                                      Filed07/24/20
                                            06/24/21 Page
                                                     Page 8248
                                                            of 8of 248




       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorneys Parakram Singh

and Natalie Wight, who advised that in their opinion the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.

                                                       Isl Sworn to by telephone
                                                                                            ··\r1
                                                                                           "'ft~
                                                       Jonathan Lobell
                                                       Deputy U.S. Marshal, U.S. Marshals Service

       Sworn to by telephone or other reliable means atk2.6Qro./~in accordance with

Fed. R. Crim. P. 4.1 this          day of July 2020.          / / / . t .~;
                                                                              7        //.--·)   t
                                                          (        (              I
                                                                                      1
                                                                                            I I
                                                          "'4 u,<-d t=·· -,_ ·. . ·-...
                                                                                      !



                                                       HON0J~6BI;E JOHN V. ACOSTA
                                                       United States Magistrate Judge




 Page 7 -Affidavit of Jonathan Lobell
